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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

    IN RE: ZANTAC (RANITIDINE)                                     MDL NO. 2924
    PRODUCTS LIABILITY LITIGATION                                   20-MD-2924

                                                   JUDGE ROBIN L. ROSENBERG
                                      /   MAGISTRATE JUDGE BRUCE E. REINHART


             CONSOLIDATED THIRD PARTY PAYOR CLASS COMPLAINT
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           Plaintiffs file this Consolidated Third Party Payor Class Complaint (“CTPPC”) against the

    Defendants identified below. Plaintiffs NECA-IBEW Welfare Trust Fund, Plumbers & Pipefitters

    Local Union 630 Welfare Fund and Indiana Laborers Welfare Fund (collectively, “Plaintiffs”)

    bring this consolidated action on behalf of themselves and all others similarly situated against the

    Defendants named herein (collectively, “Defendants”) for damages and equitable relief to address

    the harms caused by Defendants’ design, manufacture, false marketing, packaging, handling,

    distribution, storage, and/or sale of prescription ranitidine-containing medication, including both

    the brand-name medication, Zantac, and its various generic forms (collectively, “Ranitidine-

    Containing Products”). As more particularly set forth herein, Plaintiffs maintain that, as a direct

    and proximate result of Defendants’ actions, Plaintiffs and Third Party Payor (“TPP” or “TPPs”)

    Class members paid or reimbursed for Ranitidine-Containing Products when they otherwise would

    not have because the Ranitidine-Containing Products were defective, dangerous to human health,

    unfit and unsuitable to be sold in the United States, were manufactured improperly, stored and

    distributed improperly, and lacked proper warnings of the dangers associated with their use.

                                           INTRODUCTION

           1.      From 1983 until 2020 when Ranitidine-Containing Products were pulled from

    shelves following the U.S. Food and Drug Administration (“FDA”)’s confirmation of

    “unacceptable levels” of a known carcinogen, Defendants made billions of dollars by uniformly

    deceiving millions into purchasing and ingesting a defective, misbranded, adulterated, and harmful

    drug that would not have been available for sale in the U.S. Through their failures in design,

    manufacture, marketing, packaging, labeling, handling, distribution, storage, and/or sale of

    Ranitidine-Containing Products, each Defendant in the pharmaceutical supply chain violated

    federal law and/or state law. As a direct and proximate result of Defendants’ unlawful conduct


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    alleged herein, Plaintiffs and the Class (defined below), suffered economic losses for the

    reimbursement and/or purchase of economically worthless Ranitidine-Containing Products.

            2.      Zantac was one of the most widely prescribed prescription and Over-the-Counter

    (“OTC”) heartburn and indigestion medications on the market. 1 It was the first-ever “blockbuster”

    drug to reach $1 billion in sales. Zantac’s unprecedented sales were made possible only because

    of a deceptive and unlawful scheme to defraud the public regarding the purported safety of

    Ranitidine-Containing Products and to conceal the known dangers and risks associated with these

    products.

            3.      As alleged herein, the Brand-Name Manufacturer Defendants (defined below)

    engaged in a uniform national, pervasive, and decades-long campaign of misrepresentations and

    omissions designed to conceal the inherent dangers and risks associated with ranitidine use and to

    hide the fact that Zantac was not safe. Through product labels and packaging; print, TV, radio,

    and online advertising; Internet websites; and social media, the Brand-Name Manufacturer

    Defendants uniformly represented that Zantac was safe, e.g., so safe that it could be used

    frequently, for chronic conditions, and for fast relief with nitrite- and nitrate-rich foods (i.e. foods

    that induce heartburn).

            4.      These representations were false, deceptive, and misleading when made, and they

    omitted material facts known to Defendants regarding the true risks of Ranitidine-Containing

    Products. Contrary to the Brand-Name Manufacturer Defendants’ misrepresentations, ranitidine

    is a dangerous chemical that is unsafe and unfit for human consumption. The ranitidine molecule



    1
      The Ranitidine-Containing Products at issue in the CTPPC are prescription drugs, but much of
    the information contained in marketing and regulatory submissions were common to both
    prescription and OTC products as referenced herein.


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    itself is unstable and has a propensity to degrade into high levels of N-Nitrosodimethylamine

    (“NDMA”), a chemical the World Health Organization (“WHO”) has described as “clearly

    carcinogenic.”2

           5.      NDMA was discovered through the manufacture of rocket fuel. Its only use today

    is to cause cancer in laboratory animals. While any exposure to NDMA can be harmful, the FDA

    has set the maximum allowable daily limit of NDMA to 96 nanograms (ng). For comparison, one

    filtered cigarette contains between 5 to 43 ng of NDMA. Tests of ranitidine revealed NDMA

    levels as high as 304,500 ng per tablet, which is 3,171 times the maximum daily limit.

           6.      The breakdown process of ranitidine into NDMA is accelerated and/or exacerbated

    by exposure to heat during the manufacturing, transportation, and/or storage processes. Each

    Defendant in the pharmaceutical supply chain failed to (1) comply with “current Good

    Manufacturing Practices” (“cGMPs”) to ensure their products meet safety, quality, purity, identity,

    and strength standards; (2) conduct stability testing of their Ranitidine-Containing Products to

    assess the stability characteristics of those products and ensure bioequivalence; (3) take necessary

    steps to ensure proper manufacture, transportation, handling, and storage of their Ranitidine-

    Containing Products so as to avoid exposure to heat; and (4) to disclose these material facts to

    purchasers of the drug.

           7.      Defendants knew or should have known of the instability of the ranitidine molecule

    that has a propensity to break down under normal conditions into dangerous NDMA, and that this

    breakdown process is made worse when ranitidine is used in the directed manner or when it is



    2
        R.G. Liteplo, et al., Concise International Chemical Assessment Document 38: N-
    Nitrosodimethylamine, WORLD HEALTH ORGANIZATION (2002), available at
    https://www.who.int/ipcs/publications/cicad/en/cicad38.pdf (last accessed June 20, 2020).


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    exposed to heat. Indeed, in 1981 – two years before Zantac hit the market – Dr. Silvio de Flora

    published the results of experiments exposing ranitidine to human gastric fluid in combination

    with nitrites, which showed “toxic and mutagenic effects[.]”3 As a result, Dr. de Flora cautioned

    that “it would seem prudent to … suggest[] a diet low in nitrates and nitrites, by asking patients

    not to take these at times close to (or with) meals[.]” Id.

           8.      Brand-Name Manufacturer Defendant GlaxoSmithKline (“GSK”), the originator of

    the ranitidine molecule, had actual knowledge of this study. Rather than investigate the concerns

    raised in Dr. de Flora’s study to ensure its product was safe and not harmful to users, GSK

    attempted to discredit the study. Two weeks after its publication, GSK responded to Dr. de Flora’s

    findings, claiming that the levels of nitrite needed to induce the production of NDMA were

    unrealistic and not likely to be experienced in the real world and, thus, the results had no “practical

    clinical significance.”4 Numerous other studies raised concerns over ranitidine and cancerous

    nitroso compounds. GSK attempted to parry these studies with its own studies that were clearly

    rigged in order to avoid reaching the same undeniable conclusion: ranitidine breaks down into

    carcinogenic NDMA when used in the manner Defendants directed. In the study that was

    presented to the FDA for approval of Zantac, however, GSK admitted that ranitidine could convert

    into NDMA and cause cancer, but GSK dismissed this risk because Ranitidine-Containing

    Products were purportedly intended to be used for a short-term period. These material facts were

    known, or should have been known, by each Defendant, which was duty-bound to investigate the


    3
       Silvio de Flora, Cimetidine, Ranitidine and Their Mutagenic Nitroso Derivatives, 318 Lancet
    8253, 993-94 (Oct. 31, 1981).
    4
       Excerpted from the Summary Basis of Approval submitted to the FDA to obtain approval of
    Zantac in the early 1980s. This document was obtained through a Freedom of Information Act
    request to the FDA.


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    potential dangers and risks associated Ranitidine-Containing Products and to ensure that such

    products were safe for human consumption.

           9.      Despite Defendants’ knowledge of these material facts related to the dangers and

    risks associated with the use of Ranitidine-Containing Products, which were well known and

    widely available to the scientific community but not the public, Defendants did not disclose to

    consumers, nor to Plaintiffs and the Class, that their Ranitidine-Containing Products were unsafe,

    that the ranitidine molecule has a propensity to break down into carcinogenic NDMA, and that

    their Ranitidine-Containing Products were manufactured in such a way it rendered them

    adulterated, misbranded, and therefore illegal to sell and economically worthless. To the contrary,

    Defendants made affirmative misrepresentations to Plaintiffs and the Class regarding each of these

    material facts and the safety of ranitidine in general, which further created a duty for Defendants

    to disclose these material facts.

           10.     In 2019, an analytical pharmacy (“Valisure”) ran tests on Zantac and discovered

    the link between ranitidine and NDMA and that ranitidine itself is unstable and can break down

    into NDMA, particularly in the environment of the stomach. On September 13, 2019, Valisure

    filed a citizen petition with the FDA asking the agency to recall all products that contain ranitidine.

    Valisure provided copies of the petition to the WHO and the International Agency for the Research

    of Cancer (“IARC”). Less than a month later, in early October 2019, the FDA ordered testing on

    Ranitidine-Containing Products and specified the protocols for such testing. Within days of the

    FDA’s announcement, certain Brand-Manufacturing Defendants recalled all their Ranitidine-

    Containing Products in the U.S. and internationally. On November 1, 2019, the FDA announced

    that its recent testing showed “unacceptable levels” of NDMA in Ranitidine-Containing Products

    and requested that all manufacturers recall their Ranitidine-Containing Products. Ultimately, on


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    April 1, 2020, the FDA called for a withdrawal of all Ranitidine-Containing Products from in the

    United States, citing unacceptable levels of NDMA in those drugs.

            11.       By designing, manufacturing, distributing, packaging, labeling, marketing, and/or

    selling Ranitidine-Containing Products without adequate labels and warnings; failing to ensure the

    proper conditions for the manufacture, transportation, handling, and storage of Ranitidine-

    Containing Products; and misrepresenting and not disclosing material facts regarding the safety of

    Ranitidine-Containing Products, that the drugs were adulterated and misbranded, illegal to sell,

    and economically worthless, Defendants violated federal and/or state law and common law, as

    alleged herein.

            12.       As a direct and proximate result of Defendants’ violations of law, Plaintiffs and

    other members of the Class have suffered economic losses from making payments or

    reimbursements for purchases of a product that should not have been available for sale in the U.S.,

    for which they would not have made payments or reimbursements, but for Defendants’ unlawful

    conduct.

            13.       As detailed below, Plaintiffs, individually and on behalf of the Class assert claims

    for violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.

    §1962(c)-(d), the Magnuson-Moss Warranty Act, 15 U.S.C. §2301, et seq., and state consumer

    protection laws; breach of express and implied warranties; fraud; negligence; and unjust

    enrichment.

            14.       As detailed below, Plaintiffs, individually and on behalf of the Class, seek redress

    for their economic losses they suffered because they made payments or reimbursements for a

    product that was economically worthless, and to strongly deter the type of misconduct that gave

    rise to their injuries suffered by Plaintiffs and the Class.


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                                      JURISDICTION AND VENUE

           15.     This Court has original subject-matter jurisdiction over this action under 28 U.S.C.

    §1331 (federal question) and 18 U.S.C. §1964 (civil remedies). This Court also has subject matter

    jurisdiction over this action pursuant to 28 U.S.C. §1332, as amended by the Class Action Fairness

    Act of 2005, 28 U.S.C. §1332(d)(2), because: (a) there are at least 100 class members; (b) the

    matter in controversy exceeds $5 million, exclusive of interest and costs; and (c) at least one

    Plaintiff is a citizen of a different state than at least one Defendant. In addition, this Court has

    supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. §1367.

           16.     This Court has personal jurisdiction over Defendants under Fla. Stat. Ann. §48.193

    and 18 U.S.C. §1965(b) and (d).          This Court also has pendent personal jurisdiction over

    Defendants.

           17.     In addition and/or in the alternative, Defendants and/or their agents or alter egos

    each have significant contacts with each of the States and territories of the United States because

    they designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored,

    and/or sold Ranitidine-Containing Products within each of the States and territories of the United

    States, and/or they derived revenue from the sale of their Ranitidine-Containing Products in each

    of the States and territories of the United States, through the purposeful direction of their activities

    to the States and territories of the United States and purposeful availment of the protections of the

    laws of the States and territories of the United States, such that personal jurisdiction would be

    proper in those States and territories under traditional notions of fair play and substantial justice.

           18.     In addition and/or in the alternative, the district to which each Plaintiff’s action may

    be remanded upon conclusion of these pretrial proceedings pursuant to 28 U.S.C. §1407(a) will

    have personal jurisdiction over the Defendants who themselves or through an agent or alter ego


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    are incorporated within that district, have a principal place of business in that district, or conduct

    a substantial amount of business in that district, such that they are essentially at home in that

    district, or who have sufficient minimum contacts with that district through the purposeful

    direction of their activities to that district and/or purposeful availment of the protections of the

    laws of that district, such that personal jurisdiction would be proper in that district under traditional

    notions of fair play and substantial justice.

            19.      Venue is proper in this District under 28 U.S.C. §1391(b) because a substantial

    part of the events or omissions giving rise to Plaintiffs’ claims occurred in this District. Defendants

    designed, manufactured, tested, marketed, labeled, packaged, handled, distributed, stored, and/or

    sold Ranitidine-Containing Products, and otherwise conducted extensive business, within this

    District, and Plaintiffs reimbursed for Defendants’ Ranitidine-Containing Products in this District.

    In addition and/or in the alternative, venue is proper under 28 U.S.C. §1407(a) and the Conditional

    Transfer Orders of the Judicial Panel on Multidistrict Litigation.

                                                    PARTIES

      I.    PLAINTIFFS

            A.      NECA-IBEW Welfare Trust Fund

            20.     Plaintiff, NECA-IBEW Welfare Trust Fund (“NECA-IBEW”), is a duly organized

    and existing 501(c)(9) tax-exempt trust that qualifies as a multiple employer welfare benefit plan.

    NECA-IBEW was organized in Illinois and has its principal place of business in Decatur, Illinois.

            21.     NECA-IBEW is established for the sole purpose of funding a plan of benefits, both

    on a self-funded basis and through the purchase of policies of insurance. NECA-IBEW provides

    eligible members and their dependents with retirement and health and welfare benefits, including

    prescription drug care benefits.


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           22.     NECA-IBEW pays for and/or reimburses prescription drugs on behalf of its 29,000

    members and their dependents throughout the country, and has members who have filled

    prescriptions requiring reimbursement for Defendants’ Ranitidine-Containing Products in at least

    Alabama, Arizona, Colorado, Florida, Georgia, Iowa, Illinois, Indiana, Kentucky, Louisiana,

    Maine, Michigan, Minnesota, Missouri, Mississippi, Montana, North Carolina, Nebraska, New

    Jersey, New Mexico, Nevada, Ohio, Oregon, Pennsylvania, South Carolina, Tennessee, Texas,

    Utah, Wisconsin, and Wyoming.

           B.      Plumbers & Pipefitters Local Union 630

           23.     Plaintiff, Plumbers & Pipefitters Local Union 630 Welfare Fund (“Plumbers 630”),

    is a duly organized and existing 501(c)(3) tax-exempt trust that qualifies as a not for profit self-

    funded welfare benefit plan. Plumbers 630 was organized in Florida and has its principal place of

    business in West Palm Beach, Florida.

           24.     Plumbers 630 is established for the sole purpose of funding a plan of benefits on a

    self-funded basis. Plumbers 630 provides eligible members with health and welfare benefits,

    including prescription drug care benefits.

           25.     Plumbers 630 pays for and/or reimburses prescription drugs on behalf of its 1,000

    members and their dependents throughout the country and has members who have filled

    prescriptions requiring reimbursement for Defendants’ Ranitidine-Containing Products in at least

    Alabama, Florida, Georgia, Illinois, Louisiana, Maryland, North Carolina, Pennsylvania,

    Tennessee, and Texas.




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           C.      Indiana Laborers Welfare Fund

           26.     Plaintiff, Indiana Laborers Welfare Fund (“Indiana Laborers”), is a duly organized

    and existing 501(c)(9) tax-exempt trust that administers a self-funded employee welfare benefit

    plan. The Fund was organized in Indiana and has its principal place of business in Indiana.

           27.     Indiana Laborers is established for the sole purpose of funding a plan of benefits,

    both on a self-funded basis and through the purchase of policies of insurance. Indiana Laborers

    provides eligible members with various retirement, health and welfare benefits, including

    prescription drug care benefits.

           28.     Indiana Laborers pays for and/or reimburses prescription drugs on behalf of its

    23,000 members and their dependents throughout the country and has members who have filled

    prescriptions requiring reimbursement for Defendants’ Ranitidine-Containing Products in at least

    Alabama, Arizona, Florida, Georgia, Illinois, Indiana, Kentucky, Maryland, Michigan, Missouri,

    Ohio, and Texas.

     II.   DEFENDANTS

           29.     Defendants are collectively composed of entities that invented, made, distributed,

    labeled, marketed, advertised, distributed, stored, and sold ranitidine.

           A.      Brand-Name Manufacturer Defendants

                   1.      GlaxoSmithKline (GSK)

           30.     Defendant GlaxoSmithKline LLC is a Delaware limited liability company with its

    principal place of business located at Five Crescent Drive, Philadelphia, Pennsylvania 19112.

    GlaxoSmithKline LLC’s sole member is GlaxoSmithKline (America) Inc., a Delaware corporation

    with its principal place of business in that state. GlaxoSmithKline LLC is a citizen of Delaware.




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           31.     Defendant GlaxoSmithKline (America) Inc. is a Delaware corporation with its

    principal place of business located at 1105 North Market Street, Suite 622, Wilmington, Delaware

    19801. Defendant GlaxoSmithKline (America) Inc. is a citizen of Delaware.

           32.     Defendant GlaxoSmithKline plc is a public limited company formed and existing

    under the laws of the United Kingdom, having a principal place of business at 980 Great West

    Road, Brentford Middlesex XO, TW8 9GS, United Kingdom. GlaxoSmithKline plc is a citizen of

    the United Kingdom.

           33.     GlaxoSmithKline LLC and GlaxoSmithKline (America) Inc. are subsidiaries of

    GlaxoSmithKline plc. Collectively, these entities shall be referred to as “GSK.”

                   2.     Boehringer Ingelheim (BI)

           34.     Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a Delaware corporation

    with its principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim Pharmaceuticals, Inc., is a citizen of Delaware and Connecticut.

           35.     Defendant Boehringer Ingelheim Corporation is a Nevada corporation with its

    principal place of business located at 900 Ridgebury Road, Ridgefield, Connecticut 06877.

    Defendant Boehringer Ingelheim Corporation is a citizen of Nevada and Connecticut.

           36.     Defendant Boehringer Ingelheim USA Corporation is a Delaware corporation with

    its principal place of business located at 900 Ridgebury Road, Ridgebury, Connecticut 06877.

    Boehringer Ingelheim USA Corporation is a citizen of Delaware and Connecticut.

           37.     Defendant Boehringer Ingelheim International GmbH is a limited liability company

    formed and existing under the laws of Germany, having a principal place of business at Binger

    Strasse 173, 55216 Ingelheim AM Rhein, Rheinland-Phalz, Germany. Boehringer Ingelheim

    International GmbH is a citizen of Germany.


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           38.     Defendant Boehringer Ingelheim Promeco, S.A. de C.V. is a foreign corporation

    organized and existing under the laws of Mexico with its principal place of business located at

    Maiz No. 49, Barrio Xaltocan, Xochimilco, Ciudad de Mexico, 16090, Mexico. Boehringer

    Ingelheim Promeco, S.A. de C.V. is a citizen of Mexico.

           39.     Boehringer Ingelheim Pharmaceuticals, Inc. is a direct or indirect subsidiary of

    Boehringer Ingelheim Corporation and Boehringer Ingelheim USA Corporation, which are

    themselves wholly owned, directly or indirectly, by Boehringer Ingelheim USA Corporation.

    Collectively, these entities shall be referred to as “Boehringer Ingelheim” or “BI.” 5

                   3.      Pfizer

           40.     Defendant Pfizer Inc. (“Pfizer”) is a Delaware corporation with its principal place

    of business located at 235 East 42nd Street, New York, New York 10017. Pfizer Inc. is a citizen

    of Delaware and New York.

                   4.      Sanofi

           41.     Defendant Sanofi-Aventis U.S. LLC is a Delaware limited liability company with

    its principal place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807.

    Sanofi-Aventis U.S. LLC’s sole member is Sanofi U.S. Services, Inc., a Delaware Corporation

    with its principal place of business in New Jersey. S.A. Sanofi-Aventis U.S. LLC is a citizen of

    Delaware and New Jersey.




    5
        Boehringer Ingelheim also manufactured generic ranitidine under ANDA 074622, as well as
    through its former subsidiary Ben Venue Laboratories, Inc., d/b/a Bedford Laboratories (ANDA
    074764). Ben Venue Laboratories Inc. is no longer in operation.


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           42.     Defendant Sanofi US Services Inc., is a Delaware corporation with its principal

    place of business located at 55 Corporate Drive, Bridgewater, New Jersey 08807. Sanofi US

    Services Inc. is a citizen of Delaware and New Jersey.

           43.     Defendant Sanofi S.A. is a corporation formed and existing under the laws of

    France, having a principal place of business at 54 Rue La Boetie, 8th Arrondissement, Paris, France

    75008. Sanofi S.A. is a citizen of France.

           44.     Sanofi-Aventis U.S. LLC and Sanofi US Services Inc. are subsidiaries of Sanofi

    S.A.. Collectively, these entities shall be referred to as “Sanofi.”

                                      *               *               *

           45.     Defendants BI, GSK, Pfizer, and Sanofi, shall be referred to collectively as the

    “Brand-Name Manufacturer Defendants.” At all relevant times, the Brand-Name Manufacturer

    Defendants have conducted business and derived substantial revenue from their design,

    manufacture, testing, marketing, labeling, packaging, handling, distribution, and sale of Zantac

    within each of the States of the United States, the District of Columbia, and Puerto Rico.6

           B.      GENERIC MANUFACTURER DEFENDANTS

                   1.      Ajanta

           46.     Defendant Ajanta Pharma USA Inc. is a New Jersey corporation with its principal

    place of business located at 440 U.S. Highway 22, Suite 150, Bridgewater, New Jersey 08807.

    Ajanta Pharma USA Inc.is a citizen of New Jersey.




    6
        All references to “States” herein includes the District of Columbia and Puerto Rico.


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           47.     Defendant Ajanta Pharma Ltd. is a corporation organized and existing under the

    laws of India with its principal place of business located in 9 Ajanta House Charkop, Kandivili

    (West), Mumbai, Maharashtra, India. Ajanta Pharma Ltd. is a citizen of India.

           48.     Ajanta Pharma USA Inc. is a subsidiary of Ajanta Pharma Ltd. Collectively, these

    entities shall be referred to as “Ajanta.”

           49.     Defendant Ajanta Pharma Ltd. purchased ranitidine and repackaged and/or

    relabeled it under Defendant Ajanta Pharma Ltd.’s own brand, therefore all allegations referring

    to “Repackagers” apply to Defendant Ajanta.

                   2.      Amneal

           50.     Defendant Amneal Pharmaceuticals LLC is a Delaware limited liability company

    with its principal place of business located at 400 Crossing Boulevard, Bridgewater, New Jersey

    08807. The sole member of Amneal Pharmaceuticals, LLC is Amneal Pharmaceuticals, Inc., a

    Delaware Corporation with its principal place of business in New Jersey. Amneal Pharmaceuticals

    LLC is a citizen of Delaware and New Jersey.

           51.     Defendant Amneal Pharmaceuticals of New York, LLC is a Delaware limited

    liability company with its principal place of business located at 50 Horseblock Road, Brookhaven,

    New York 11719. The membership interest of Amneal Pharmaceuticals of New York, LLC is

    owned by Amneal Pharmaceuticals, Inc., through an intervening limited liability company.

    Amneal Pharmaceuticals of New York, LLC is a citizen of Delaware and New Jersey.

           52.     Defendant Amneal Pharmaceuticals, Inc., is a Delaware corporation with its

    principal place of business located at 400 Crossing Boulevard, Bridgewater, New Jersey 08807.

    Defendant Amneal Pharmaceuticals, Inc. is a citizen of Delaware and New Jersey.




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           53.     Amneal Pharmaceuticals LLC and Amneal Pharmaceuticals of New York, LLC,

    are subsidiaries of Amneal Pharmaceuticals, Inc. Collectively, these entities shall be referred to as

    “Amneal.”

           54.     Defendant Amneal purchased ranitidine and repackaged and/or relabeled it under

    Defendant Amneal’s own brand. Therefore all allegations referring to the “Repackagers” apply to

    Defendant Amneal.

                   3.      Apotex

           55.     Defendant Apotex Corporation is a Delaware corporation with its principal place

    of business located at 2400 N. Commerce Parkway, Suite 400, Weston, Florida 33326. Apotex

    Corporation is a citizen of Delaware and Florida.

           56.     Defendant Apotex Inc. is a corporation organized and existing under the laws of

    Canada with its principal place of business located at 150 Signet Drive, Toronto, Ontario, M9L

    1T9 Canada. Apotex Inc. is a citizen of Canada.

           57.     Apotex Corporation is a subsidiary of Apotex Inc. Collectively, these entities shall

    be referred to as “Apotex.”

           58.     Defendant Apotex purchased ranitidine and repackaged and/or relabeled it under

    Defendant Apotex’s own brand. Therefore all allegations referring to the “Repackagers” apply to

    Defendant Apotex.

                   4.      Aurobindo

           59.     Defendant Auro Health LLC is a New Jersey limited liability company with is

    principal place of business located at 2572 U.S. Highway 1, Lawrenceville, New Jersey 08648.

    The sole member of Aurohealth LLC is Aurobindo Pharma USA, Inc., a Delaware corporation




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    with its principal place of business located in New Jersey. Auro Health LLC is a citizen of

    Delaware and New Jersey.

           60.     Aurobindo Pharma USA, Inc. is a Delaware corporation with its principal place of

    business located at 279 Princeton Highstown Road, East Windsor, New Jersey 08520. Aurobindo

    Pharma USA, Inc. is a citizen of Delaware and New Jersey.

           61.     Defendant Aurobindo Pharma, Ltd. is a corporation organized and existing under

    the laws of India with its principal place of business located at Plot No. 2, Maitrivihar, Ameerpet,

    Hyderabad-500038, Telangana, India. Aurobindo Pharma, Ltd. is a citizen of India.

           62.     Aurohealth LLC and Aurobindo Pharma USA, Inc. are subsidiaries of Aurobindo

    Pharma, Ltd. Collectively, these entities shall be referred to as “Aurobindo.”

           63.     Defendant Aurobindo purchased ranitidine and repackaged and/or relabeled it

    under Defendant Aurobindo’s own brand. Therefore all allegations referring to the “Repackagers”

    apply to Defendant Aurobindo.

                   5.      Contract Pharmacal

           64.     Defendant Contract Pharmacal Corp. is a New York corporation with its principal

    place of business located at 135 Adams Avenue, Hauppauge, New York 11788. Contract

    Pharmacal Corp. is a citizen of New York.

                   6.      Dr. Reddy’s

           65.     Defendant Dr. Reddy’s Laboratories Inc. is a New Jersey corporation with its

    principal place of business located at 107 College Road East, Princeton, New Jersey 08540. Dr.

    Reddy’s Laboratories Inc. is a citizen of New Jersey.




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           66.     Defendant Dr. Reddy’s Laboratories, Ltd. is corporation organized and existing

    under the laws of India with its principal place of business located at 8-2-337, Road No. 3, Banjara

    Hills, Hyderabad Telangana 500 034, India. Dr. Reddy’s Laboratories, Ltd. is a citizen of India.

           67.     Dr. Reddy’s Laboratories Inc. and Dr. Reddy’s Laboratories, Ltd. are subsidiaries

    of Dr. Reddy’s Laboratories SA. Collectively, these entities shall be referred to as “Dr. Reddy’s.”

           68.     Defendant Dr. Reddy’s purchased ranitidine and repackaged and/or relabeled it

    under Defendant Dr. Reddy’s own brand. Therefore all allegations referring to the “Repackagers”

    apply to Defendant Dr. Reddy’s.

                   7.      Geri-Care

           69.     Defendant Geri-Care Pharmaceuticals, Corp. is a New York corporation with its

    principal place of business located at 1650 63rd Street, Brooklyn, New York 11204. Geri-Care

    Pharmaceuticals, Corp. is a citizen of New York.

           70.     Defendant Geri-Care Pharmaceuticals, Corp. purchased ranitidine and repackaged

    and/or relabeled it under Defendant Geri-Care Pharmaceutical’s own brand.            Therefore all

    allegations referring to the “Repackagers” apply to Defendant Geri-Care Pharmaceuticals, Corp.

                   8.      Glenmark

           71.     Defendant Glenmark Pharmaceuticals, Inc., USA is a Delaware corporation with

    its principal place of business located at 750 Corporate Drive, Mahwah, New Jersey 07430.

    Glenmark Pharmaceuticals, Inc., USA is a citizen of Delaware and New Jersey

           72.     Glenmark Pharmaceuticals, Inc., USA is a subsidiary of Glenmark Pharmaceuticals

    Ltd. Collectively, these entities shall be referred to as “Glenmark.”




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           73.     Defendant Glenmark purchased ranitidine and repackaged and/or relabeled it under

    Defendant Glenmark’s own brand. Therefore all allegations referring to the “Repackagers” apply

    to Defendant Glenmark.

                   9.     Heritage

           74.     Defendant Heritage Pharma Labs Inc. is a New Jersey corporation with its principal

    place of business located at 21 Cotters Lane, Suite B, East Brunswick, New Jersey, 08816-2050.

    Heritage Pharma Labs Inc. is a citizen of New Jersey.

           75.     Defendant Heritage Pharmaceuticals, Inc. is a New Jersey corporation with its

    principal place of business located at 21 Cotters Lane, Suite B, East Brunswick, New Jersey 08816-

    2050. Heritage Pharmaceuticals, Inc. is a citizen of New Jersey.

           76.     Heritage Pharma Labs Inc. and Heritage Pharmaceuticals, Inc. are subsidiaries of

    Emcure Pharmaceuticals Ltd. Collectively, these entities shall be referred to as “Emcure.”

                   10.    Hi-Tech

           77.     Defendant Hi-Tech Pharmacal Co., Inc. is a Delaware corporation with its principal

    place of business located at 369 Bayview Avenue, Amityville, New York 11701. Hi-Tech

    Pharmacal Co., Inc. is a citizen of Delaware and New York.

                   11.    Lannett

           78.     Defendant Lannett Co., Inc. is a Delaware corporation with its principal place of

    business located at 9000 State Road, Philadelphia, Pennsylvania 19136. Lannett Co., Inc. is a

    citizen of Delaware and Pennsylvania.

           79.     Defendant Lannett purchased ranitidine and repackaged and/or relabeled it under

    Defendant Lannett’s own brand. Therefore all allegations referring to the “Repackagers” apply to

    Defendant Lannett.


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                   12.     Mylan

           80.     Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its

    principal place of business located at 781 Chestnut Ridge Road, Morgantown, West Virginia

    26505. Mylan Pharmaceuticals, Inc. is a citizen of West Virginia.

           81.     Defendant Mylan Institutional LLC is a Delaware limited liability company with

    its principal place of business located at 1718 Northrock Court, Rockford, Illinois 61103. The sole

    member of Mylan Institutional LLC is Mylan, Inc., a Pennsylvania corporation with is principal

    place of business in that state. Mylan Institutional LLC is a citizen of Pennsylvania.

           82.     Defendant Mylan, Inc. is a Pennsylvania corporation with its principal place of

    business located at 1000 Mylan Boulevard, Canonsburg, Pennsylvania 15317. Mylan, Inc. is a

    citizen of Pennsylvania.

           83.     Defendant Mylan Laboratories Ltd. is a corporation organized and existing under

    the laws of India with its principal place of business located at Plot No. 564/A/22, Road No. 92,

    Jubilee Hills 500 034, Hyderabad, India. Mylan Laboratories Ltd. is a citizen of India.

           84.     Mylan Pharmaceuticals, Inc., Mylan Institutional LLC, Mylan Laboratories Ltd.,

    and Mylan, Inc. are subsidiaries of Mylan N.V., a non-party. Collectively, these entities shall be

    referred to as “Mylan.”

           85.     Defendant Mylan purchased ranitidine and repackaged and/or relabeled it under

    Defendant Mylan’s own brand. Therefore all allegations referring to the “Repackagers” apply to

    Defendant Mylan.




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                   13.     Nostrum

           86.     Defendant Nostrum Laboratories Inc. is a New Jersey corporation with its principal

    place of business located at 1370 Hamilton Street, Somerset, New Jersey 08873. Nostrum

    Laboratories Inc. is a citizen of New Jersey.

           87.     Nostrum Laboratories Inc. is a subsidiary of Nostrum Investments, Inc., a non-

    party. These entities shall be referred to as “Nostrum.”

           88.     Defendant Nostrum purchased ranitidine and repackaged and/or relabeled it under

    Defendant Nostrum’s own brand. Therefore all allegations referring to the “Repackagers” apply

    to Defendant Nostrum.

                   14.     PAI

           89.     Defendant PAI Holdings, LLC f/k/a Pharmaceutical Associates, Inc., is a South

    Carolina limited liability company with its principal place of business located at 1700 Perimeter

    Road, Greenville, South Carolina 29605. Upon information and belief, the member(s) of PAI

    Holdings, LLC and the company itself are citizens of South Carolina.

                   15.     Par Pharmaceutical

           90.     Defendant Par Pharmaceutical Inc. is a New York corporation with its principal

    place of business located at 6 Ram Ridge Road, Chestnut Ridge, New York 10977. Par

    Pharmaceutical Inc. is a citizen of New York.

           91.     Par Pharmaceutical Inc. is a subsidiary of Endo International PLC, a non-party.

    Collectively, these entities are referred to as “Par.”




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                   16.     Sandoz

           92.     Defendant Sandoz Inc. is a Colorado corporation with its principal place of business

    located at 100 College Road West, Princeton, New Jersey 08540. Sandoz Inc. is a citizen of

    Colorado and New Jersey.

           93.     Sandoz Inc. is a subsidiary of Novartis AG, a non-party; and these entities shall be

    referred to as “Novartis.”

                   17.     Strides

           94.     Defendant Strides Pharma, Inc. is a New Jersey corporation with its principal place

    of business located at 2 Tower Center Boulevard, Suite 1102, East Brunswick, New Jersey 08816.

    Strides Pharma, Inc. is a citizen of New Jersey.

           95.     Defendant Strides Pharma Global Pte. Ltd. is a corporation organized and existing

    under the laws of Singapore with its principal place of business located at 8 Eu Tong Sen Street,

    #15-93, The Central, Singapore 059818. Strides Pharma Global Pte. Ltd. is a citizen of Singapore.

           96.     Defendant Strides Pharma Science Ltd. is a corporation organized and existing

    under the laws of India with its principal place of business located at Strides House, Bilekahalli,

    Bannerghatta Road, Bangalore 560 076, India. Strides Pharma Science Ltd. is a citizen of India.

           97.     Strides Pharma, Inc., Strides Pharma Global Pte. Ltd, and Strides Pharma Science

    Ltd. are subsidiaries of Strides Arcolab International Ltd., a non-party. Collectively, these entities

    shall be referred to as “Strides.”

           98.     Defendant Strides purchased ranitidine and repackaged and/or relabeled it under

    Defendant Strides’ own brand. Therefore all allegations referring to the “Repackagers” apply to

    Defendant Strides.




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                    18.     Taro

            99.     Defendant Taro Pharmaceuticals U.S.A., Inc. is a New York corporation with its

    principal place of business located at Three Skyline Drive, Hawthorne, New York 10532. Taro

    Pharmaceuticals U.S.A., Inc. is a citizen of New York.

            100.    Defendant Ranbaxy Inc. is a Texas corporation with its principal place of business

    located at 2 Independence Way, Princeton, New Jersey 08540. Ranbaxy Inc. is a citizen of Texas

    and New Jersey.

            101.    Defendant Sun Pharmaceutical Industries, Inc., f/k/a Ranbaxy Pharmaceuticals

    Inc., is a Delaware corporation with is principal place of business located at 2 Independence Way,

    Princeton, New Jersey 08540. Sun Pharmaceutical Industries, Inc. is a citizen of Delaware and

    New Jersey.

            102.    Defendant Sun Pharmaceutical Industries Ltd. is corporation organized and existing

    under the laws of India with its principal place of business located at Western Express Highway

    Sun House, CTS No 201 B/1 Goregaon East, Mumbai, 400 063 India. Sun Pharmaceutical

    Industries Ltd. is a citizen of India.

            103.    Defendant Taro Pharmaceutical Industries Ltd. is a corporation organized and

    existing under the laws of Israel with its principal place of business located at 14 Hakitor Street,

    Haifa Bay 2624761, Israel. Taro Pharmaceutical Industries Ltd. is a citizen of Israel.

            104.    Taro Pharmaceuticals U.S.A., Inc., Ranbaxy Inc., Sun Pharmaceutical Industries,

    Inc. (f/k/a Ranbaxy Pharmaceuticals Inc.), and Sun Pharmaceutical Industries Ltd. are subsidiaries

    of Taro Pharmaceutical Industries Ltd. Collectively, these entities shall be referred to as “Taro

    Pharmaceutical.”




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                   19.     Teva

           105.    Defendant Actavis Mid Atlantic LLC is a Delaware limited liability company with

    its principal place of business located at 1877 Kawai Rd., Lincolnton, North Carolina 28092. The

    membership interest of Actavis Mid Atlantic LLC is owned by Teva Pharmaceuticals U.S.A., Inc.,

    either directly or through an intervening limited liability company. Teva Pharmaceuticals U.S.A.,

    Inc. is a Delaware corporation with its principal place of business in Pennsylvania. Actavis Mid

    Atlantic LLC is a citizen of Delaware and Pennsylvania.

           106.    Defendant Teva Pharmaceuticals U.S.A., Inc. is a Delaware corporation with its

    principal place of business located at 400 1090 Horsham Road, North Wales, Pennsylvania 19454.

    Teva Pharmaceuticals U.S.A., Inc. is a citizen of Delaware and Pennsylvania.

           107.    Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

    place of business located at 400 Interpace Parkway, Building A, Parsippany, New Jersey 07054.

    Watson Laboratories, Inc. is a citizen of Nevada and New Jersey.

           108.     Defendant Teva Pharmaceutical Industries Ltd. is a corporation organized and

    existing under the laws of Israel with its principal place of business located at 5 Basel Street, Petach

    Tikva, Israel, 4951033. Teva Pharmaceutical Industries Ltd. is a citizen of Israel.

           109.    Actavis Mid Atlantic LLC, Teva Pharmaceuticals U.S.A., Inc., and Watson

    Laboratories, Inc. are subsidiaries of Teva Pharmaceutical Industries Ltd. Collectively, these

    entities shall be referred to as “Teva.”

                   20.     Torrent

           110.    Defendant Torrent Pharma Inc. is a Delaware corporation with its principal place

    of business located at 150 Allen Road, Suite 102, Basking Ridge, New Jersey 07920. Torrent

    Pharma Inc. is a citizen of Delaware and New Jersey.


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           111.    Torrent Pharma Inc. is a subsidiary of Torrent Pharmaceuticals, Ltd., a non-party,

    and shall be referred to as “Torrent.”

                   21.     Wockhardt

           112.    Defendant Wockhardt USA LLC is a Delaware limited liability company with its

    principal place of business located at 20 Waterview Boulevard, Parsippany, New Jersey 07054.

    Upon information and belief, the sole member of Wokhardt USA LLC is Wockhardt USA, Inc., a

    Delaware corporation with its principal place of business in New Jersey. Wockhardt USA LLC is

    a citizen of Delaware and New Jersey.

           113.    Wockhardt USA, Inc. is a Delaware corporation with its principal place of business

    located at 135 Route 202/206, Bedminster, New Jersey 07921. Wockhardt USA, Inc. is a citizen

    of Delaware and New Jersey.

           114.    Defendant Wockhardt, Ltd. is a corporation organized and existing under the laws

    of India with its principal place of business located at Wockhardt Towers, Bandra Kurla Complex,

    Bandra (East), Mumbai 400051, Maharashtra, India. Wockhardt, Ltd. is a citizen of India.

           115.    Wockhardt USA LLC and Wockhardt USA, Inc. are subsidiaries of Wockhardt,

    Ltd. Collectively, these entities shall be referred to as “Wockhardt.”

           116.    Defendant Wockhardt purchased ranitidine and repackaged and/or relabeled it

    under Defendant Wockhardt’s own brand. Therefore all allegations referring to the “Repackagers”

    apply to Defendant Wockhardt.

                   22.     Zydus-Cadila

           117.    Defendant Zydus Pharmaceuticals (USA) Inc. is a New Jersey corporation with its

    principal place of business located at 73 Route 31 North, Pennington, New Jersey 08534. Zydus

    Pharmaceuticals (USA) Inc. is a citizen of New Jersey.


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           118.    Cadila Healthcare Ltd. is a corporation organized and existing under the laws of

    India with its principal place of business located at Zydus Tower, Satellite Cross Roads, Sarkhej-

    Gandhinagar Highway, Amedabad 380 015, India. Cadila Healthcare Ltd. is a citizen of India.

           119.    Zydus Pharmaceuticals (USA) Inc. is a subsidiary of Cadila Healthcare Ltd. These

    entities operate under the trade name of, and shall be referred to as, “Zydus-Cadilla.”

           120.    Defendant Zydus-Cadilla purchased ranitidine and repackaged and/or relabeled it

    under Defendant Zydus-Cadilla’s own brand.           Therefore all allegations referring to the

    “Repackagers” apply to Defendant Zydus-Cadilla.

                                             *       *      *

           121.    The Defendants identified in paragraphs 36 to 120 above shall be referred to

    collectively as the “Generic Manufacturer Defendants.” At all relevant times, the Generic

    Manufacturer Defendants have conducted business and derived substantial revenue from their

    design, manufacture, testing, marketing, labeling, packaging, distribution, storage and/or sale of

    Ranitidine-Containing Products within each of the States and Territories of the United States.

                                      FACTUAL ALLEGATIONS

      I.   Pharmaceutical Drug Reimbursement

           122.    The pharmaceutical supply chain in the United States consists of the following

    major actors: pharmaceutical manufacturers, repackagers, relabelers, wholesale distributors,

    pharmacies, and Pharmacy Benefit Managers (“PBMs”).

           123.    Pharmaceutical manufacturers produce drugs which they distribute to wholesale

    distributors, who further distribute to retail or mail-order pharmacies. Pharmacies dispense the

    prescription drugs to beneficiaries for consumption. TPPs reimburse for these drugs.




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           124.    TPP refers to those entities, other than government agencies, that pay the vast

    majority of the purchase price of prescription medications on behalf of a group of beneficiaries.

    TPPs include health insurance plans, as well as Taft-Hartley union health and welfare funds, and

    self-funded employers with active employee and/or retiree benefit programs.

           125.    TPPs provide medical and pharmacy benefits to a wide range of organizations

    nationally, including employers, state and local governments and Medicaid programs.

           126.    PBMs are organizations that provide services to TPPs, such as Plaintiffs, for the

    purpose of providing pharmacy benefits. Rather than processing their own pharmacy claims, most

    health plans contract with a PBM for this purpose. Likewise, some employers choose to contract

    directly with a PBM for the management of their pharmacy benefit, rather than acquiring pharmacy

    benefits through a health plan.

           127.    There are more than fifty-five PBMs currently operating in the United States and

    the range of services provided by these individual companies is substantially similar. All PBMs

    provide point-of-service claim processing services as described below. In addition, PBMs may

    contract with retail pharmacies, provide mail order pharmacy services, negotiate rebates with drug

    manufacturers, develop formularies, and conduct drug utilization review activities.

           128.    Electronic data interchanges (“EDIs”) serve to route the pharmacy claim from the

    pharmacy, where the claim is generated, to the appropriate payer. This process is completed in the

    same manner as many forms of electronic claim transmission for credit card and banking

    procedures through direct managed network connection options, frame relay and Virtual Private

    Network (“VPN”) technology.




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           A.      Coverage of Pharmaceutical Drugs

           129.    A drug formulary is a list of brand-name and generic prescription drugs that are

    approved to be prescribed by a particular health insurance policy, or in a specific health system or

    hospital. Drug formularies are developed based on the efficacy, safety and cost of the drugs.

    Formularies list both generic and brand-named pharmaceutical products for coverage.

           130.    The Pharmacy & Therapeutics Committee (“P&T Committee”) is an entity

    established by TPPs and/or PBMs for the purpose of evaluating products that are being considered

    for formulary placement and developing programs to promote appropriate utilization of

    pharmaceuticals. The use of P&T Committees is a requirement for health plan accreditation and

    is widely used and accepted as the basis for decisions related to a TPP or PBM’s formulary. P&T

    Committees are an established component of health care delivery throughout the TPP sector,

    including at PBMs, health plans, and government agencies.




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           131.   The following chart, published by the Wall Street Journal7, broadly illustrates the

    pharmaceutical supply chain:




           132.   When a patient presents his/her prescription at a pharmacy, the drug’s placement

    on the TPP’s formulary will determine the amount of the patient’s co-payment. Once the patient’s

    prescription is filled, the pharmacy submits a claim to the PBMs for reimbursement. PBMs then

    cumulate those individual reimbursements and present them to TPPs for payment.

           B.     Drug Manufacturers Provide Marketing Materials to TPPs for Formulary
                  Placement

           133.   Placing a drug on a formulary is primarily a clinical decision. The TPP’s P&T

    Committee and/or the P&T Committee of its contracted PBM will review the product indications,

    Manufacturer labeling information, and Manufacturer medication guides for the product and any

    comments associated with the approval of the products.




    7
        Joseph Walker, Drugmakers Point Finger at Middlemen for Rising Drug Prices, WALL ST. J.
    (Oct. 3, 2016), available at https://www.wsj.com/articles/drugmakers-point-finger-at-middlemen-
    for-rising-drug-prices-1475443336 (last accessed June 15, 2020).


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           134.    Also, when available, the P&T Committee compares the product to other agents in

    the appropriate therapeutic category or with comparable clinical uses.

           135.    Drug Manufacturers often submit a formulary dossier (also called “monograph”)

    about the product, which is used by the P&T Committee during the review process.             These

    formulary dossiers and/or monographs are often referred to as “AMCP Dossiers.” AMCP stands

    for the Academy of Managed Care Pharmacy.

           136.    Drug Manufacturers use various common strategies to influence plans’ decisions

    to allow access to their drug formularies. Among those strategies are (a) direct marketing to TPPs

    and/or their contracted PBMs and (b) marketing through third parties.

           137.    The formulary placement corresponds with the amount that a plan participant must

    contribute as a co-payment when purchasing a drug—the higher the placement, the lower the co-

    payment, and the higher the likelihood that the drug will be purchased by plan beneficiaries in lieu

    of a more expensive alternative, and vice versa. As such, higher formulary placement increases the

    likelihood that a doctor will prescribe the drug. TPPs provide copies of their PBMs’ formularies

    to providers, pharmacists, and patients in their network to aid prescribers’ adherence to the

    formulary.

           138.    For new pharmaceutical products, obtaining widespread formulary access is a key

    driver to determining the ultimate success or failure of the product.

           139.    For example, in 2009, GSK stopped its development of a type 2 diabetes drug

    during phase 2 testing based on feedback from TPPs on the drug class for diabetes medication, and

    an assessment of the competitive environment. 8


    8
       https://www.formularywatch.com/view/drug-manufacturers-seek-payer-feedback-new-
    products (last accessed June 19, 2020).


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           140.    Pharmaceutical companies consequently invest millions of dollars and have entire

    divisions dedicated to calling on TPPs who cover and reimburse for pharmaceutical drugs.

           141.    Upon the entry of generic competition, many TPPs automatically cover the generic

    version of brand name drugs, with the assurance provided by the drug application process with the

    FDA that these products are safe, effective, and bioequivalent to the brand name drug, and

    manufactured in such a way that they are not misbranded and/or adulterated.

           142.    As is the case with all generic drugs, TPPs seek to include the lowest cost generic

    drugs possible in their formularies. This is only made possible because of the manufacturers’ and

    distributors’ representations that these drugs, such as the Defendants’ Ranitidine-Containing

    Products, comply with their respective NDAs and ANDAs, which state that the Ranitidine-

    Containing Products have been manufactured in compliance with the Food and Drug Cosmetic

    Act (FDCA) which requires the Defendants to assure their Ranitidine-Containing Products met

    legal requirements for safety, and that they have the quality, purity, identity and strength that they

    are represented to possess.

           143.    Thus, the TPPs permitted the Ranitidine-Containing Products to be included on

    their formularies based on the Defendants’ misrepresentations that their Ranitidine-Containing

    Products complied with their drug applications, were safe for consumption, and were not

    manufactured in such a way to render them adulterated and/or misbranded.

           C.      Drugs in the Drug Supply Chain Must be Manufactured According to Current
                   Good Manufacturing Practices (“cGMPs”)

           144.    Under federal law, the pharmaceutical drugs placed on Plaintiffs’ formularies and

    paid for, or reimbursed by, Plaintiffs must be manufactured in accordance with “current Good




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    Manufacturing Practices” (“cGMPs”) to ensure they meet safety, quality, purity, identity, and

    strength standards. See 21 U.S.C. §351(a)(2)(B).

           145.    21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

    manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

    manufacture, processing, packing, or holding of a drug to assure that such drug meets the

    requirements of the act as to safety, and has the identity and strength and meets the quality and

    purity characteristics that it purports or is represented to possess.” In other words, entities at all

    phases of the design, manufacture, and distribution chain are bound by these requirements.

           146.    The FDA’s cGMP regulations are found in 21 C.F.R. Parts 210 and 211. These

    detailed regulations set forth minimum standards regarding: organization and personnel (Subpart

    B); buildings and facilities (Subpart C); equipment (Subpart D); control of components and drug

    product containers and closures (Subpart E); production and process controls (Subpart F);

    packaging and label controls (Subpart G); holding and distribution (Subpart H); laboratory controls

    (Subpart I); records and reports (Subpart J); and returned and salvaged drug products (Subpart K).

    The FDA has worldwide jurisdiction to enforce these regulations if the facility is making drugs

    intended to be distributed in the United States.

           147.    Any drug not manufactured in accordance with cGMPs is deemed “adulterated

    and/or misbranded” or “misbranded” and may not be distributed or sold in the United States. See

    21 U.S.C. §§331(a), 351(a)(2)(B). States have enacted laws adopting or mirroring these federal

    standards.

           148.    Per federal law, cGMPs include “the implementation of oversight and controls over

    the manufacture of drugs to ensure quality, including managing the risk of and establishing the

    safety of raw materials, materials used in the manufacturing of drugs, and finished drug products.”


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    21 U.S.C. §351(j). Accordingly, it is a cGMP violation for a manufacturer to contract out

    prescription drug manufacturing without sufficiently ensuring continuing quality of the

    subcontractors’ operations.

           149.    FDA regulations require a “quality control unit” to independently test drug products

    manufactured by another company on contract:

                   There shall be a quality control unit that shall have the responsibility and
                   authority to approve or reject all components, drug product containers,
                   closures, in-process materials, packaging material, labeling, and drug
                   products, and the authority to review production records to assure that no
                   errors have occurred or, if errors have occurred, that they have been fully
                   investigated. The quality control unit shall be responsible for approving or
                   rejecting drug products manufactured, processed, packed, or held under
                   contract by another company. 21 C.F.R. §211.22(a).

           150.    Indeed, FDA regulations require a drug manufacturer to have “written procedures

    for production and process control designed to assure that the drug products have the identity,

    strength, quality, and purity they purport or are represented to possess.” 21 C.F.R. §211.100.

           151.    A drug manufacturer’s “[l]aboratory controls shall include the establishment of

    scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

    designed to assure that components, drug product containers, closures, in-process materials,

    labeling, and drug products conform to appropriate standards of identity, strength, quality, and

    purity.” 21 C.F.R. §211.160.

           152.    “Laboratory records shall include complete data derived from all tests necessary to

    assure compliance with established specifications and standards, including examinations and

    assays” and a “statement of the results of tests and how the results compare with established

    standards of identity, strength, quality, and purity for the component, drug product container,

    closure, in-process material, or drug product tested.” 21 C.F.R. §211.194.



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     II.   Drug Approval Framework

           A.      Regulatory Process for the Approval of New Drugs

           153.    As part of the research and development (“R&D”) for new pharmaceutical products

    to be distributed and sold in the United States, drug manufacturers, such as Defendant GSK, are

    required to prepare Investigational New Drug applications (“IND”).

           154.    The purpose of this regulatory filing is to request authorization from the FDA to

    administer an investigational or biological drug to humans. 21 C.F.R. §312.1, et seq.

           155.    Contained within the IND, an applicant must provide any preclinical testing animal

    pharmacology and toxicology studies to assess whether the drug is safe for testing in humans, as

    well as documentation regarding any previous experiences with the drug in humans in foreign

    countries. 21 C.F.R. §312.8, et seq.

           156.    The IND applicant is also required to include detailed information regarding the

    manufacture of the drug, such as composition, facility and manufacturers, stability of, and the

    controls used for the manufacturing of the drug, and whether the facilities are in compliance with

    cGMPs. 21 C.F.R. §312.23, et seq.

           157.    While an IND is required in order to receive approval from the FDA for the

    administration of a new drug in human patients through clinical trials in the United States, a New

    Drug Application (“NDA”) is required and necessary for commercial approval to sell new drugs

    in the United States. 21 C.F.R. §314.1, et seq.

           158.    The NDA requires the applicant to provide patent information, drug safety and

    efficacy information, information regarding clinical trial designs, reports regarding the clinical

    trials, and the ultimate conclusion of those trials, as well as proposed labeling. 21 C.F.R. §314.50




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           159.    Information in the NDA regarding the chemistry, manufacturing and controls

    section is required to contain data and information in sufficient detail to permit the agency to make

    a knowledgeable judgment about whether to approve the NDA. 21 C.F.R. §314.50

           160.    This information includes a description of the drug substance including its physical

    and chemical characteristics and stability, the method of synthesis (or isolation) and purification

    of the drug substance, the process controls used during manufacture and packaging, and the

    specifications necessary to ensure the identity, strength, quality, and purity of the drug substance.

    21 C.F.R. §314.50.

           161.    Additionally, the NDA applicant is required to provide analytical procedures, and

    acceptance criteria relating to sterility, dissolution rate, container closure systems; and stability

    data with proposed expiration dating. 21 C.F.R. §314.50.

           B.      Regulatory Process for Approval of Generic Drugs

           162.    The Drug Price Competition and Patent Term Restoration Act of 1984 – more

    commonly referred to as the Hatch-Waxman Act – is codified at 21 U.S.C. §355(j).

           163.    The stated purpose of Hatch-Waxman is to strike a balance between rewarding

    genuine innovation and drug discovery by affording longer periods of brand drug marketing

    exclusivity while at the same time encouraging generic patent challenges and streamlining generic

    drug competition so that consumers gain the benefit of generic drugs at lower prices as quickly as

    possible.

           164.    Brand drug companies submitting a NDA are required to demonstrate clinical

    safety and efficacy through well-designed clinical trials. 21 U.S.C. §355 et seq.

           165.    By contrast, generic drug companies are allowed to submit an Abbreviated New

    Drug Application (“ANDA”). Instead of demonstrating clinical safety and efficacy, generic drug


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    companies need only demonstrate bioequivalence to the brand or reference listed drug (“RLD”).

    Bioequivalence is the “absence of significant difference” in the pharmacokinetic profiles of two

    pharmaceutical products. 21 C.F.R. §320.1(e).

                   1.     ANDA Applicants Must Demonstrate Bioequivalence and Stability

           166.    The bioequivalence basis for ANDA approval is premised on the generally accepted

    proposition that equivalence of pharmacokinetic profiles of two drug products is evidence of

    therapeutic equivalence. In other words, if (1) the RLD is proven to be safe and effective for the

    approved indication through well-designed clinical studies accepted by the FDA, and (2) the

    generic company has shown that its ANDA product is bioequivalent to the RLD, then (3) the

    generic ANDA product must be safe and effective for the same approved indication as the RLD.

           167.    As part of its showing of bioequivalence pursuant to 21 C.F.R. §314.50(d), the

    ANDA must also contain specific information establishing the drug’s stability, including:

                  a full description of the drug’s substance, including its physical and chemical
                   characteristics and stability; and

                  the specifications necessary to ensure the identity strength, quality and purity of
                   the drug substance and the bioavailability of the drug products made from the
                   substance, including, for example, tests, analytical procedures, and acceptance
                   criteria relating to stability.

           168.    Generic drug manufacturers have an ongoing federal duty of sameness in their

    products. Under 21 U.S.C. §355(j), the generic manufacturer must show that the the active

    ingredient(s) are the same as the RLD, §355(j)(2)(A)(ii); and, that the generic drug is

    “bioequivalent” to the RLD and “can be expected to have the same therapeutic effect,” id. at

    (A)(iv). A generic manufacturer (like a brand manufacturer) must also make “a full statement of

    the composition of such drug” to the FDA. Id. at (A)(vi); see also §355(b)(1)(C).




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            169.     Though an ANDA applicant’s drug must be bioequivalent to the RLD, no two

    manufacturers’ drugs will be exactly the same. For that reason, generic manufacturers are

    responsible for conducting their own, independent stability testing, which must be “designed to

    assess the stability characteristics of drug products.” 21 C.F.R. §314.94(a)(8)(iv)

            170.     Because a generic manufacturer’s drug must be bioequivalent to the RLD, a

    compliant generic label should be “the same as the labeling of the reference listed drug” in many

    respects. But because a generic drug may not be exactly the same as the RLD, the generic label

    “may include differences in expiration date, formulation, bioavailability, or pharmacokinetics,

    labeling revisions made to comply with current FDA labeling guidelines or other guidance…” Id.

            171.     Pursuant to this regulation, it is common for a generic drug’s label to differ from

    the RLD by setting a different expiration date, requiring the drug to be shipped and stored under

    different temperature conditions, and/or requiring the drug to receive different (or no) exposure to

    light. Several of the Generic Manufacturer Defendants relied on 21 C.F.R. §314.94(a)(8)(iv) and

    their independent stability studies to sell approved, generic ranitidine with labels that differed from

    the RLD label.

            C.       NDA and ANDA Applicants Must Comply with cGMPs

            172.     All new drug applications (including both NDA and ANDAs) must include

    information about the manufacturing facilities of the product, including the name and full address

    of the facilities, contact information for an agent of the facilities, and the function and

    responsibility of the facilities.

            173.     Under federal law, a manufacturer filing for a new drug application (either an NDA

    or ANDA) must attest that it will manufacture, store, warehouse, and distribute pharmaceutical




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    drugs in accordance with cGMPs to ensure they meet safety, quality, purity, identity, and strength

    standards.9

            174.   21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

    manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

    manufacture, processing, packing, or holding of a drug to assure that such drug meets the

    requirements of the act as to safety, and has the identity and strength and meets the quality and

    purity characteristics that it purports or is represented to possess.” Entities at all phases of the

    design, manufacture, and distribution chain are bound by these requirements.

            175.   Pursuant to 21 C.F.R. §211.142(b), procedures for the warehousing of drug

    products shall provide for “[s]torage of drug products under appropriate conditions of temperature,

    humidity, and light so that the identity, strength, quality, and purity of the drug products are not

    affected.” In other words, Defendants had a duty and were obligated to properly store, handle, and

    warehouse ranitidine.

            176.   Any drug not manufactured in accordance with cGMPs is deemed “adulterated

    and/or misbranded” and may not be distributed or sold in the United States.10 State common law

    and statutory law mirror these federal standards.

            177.   The new drug application is required to contain certifications of compliance with

    cGMPs for both the applicant itself, and also the drug product manufacturer (if they are different

    entities).




    9
         21 U.S.C. §351(a)(2)(B).
    10
         21 U.S.C. §§331(a), 351(a)(2)(B).


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             D.     New Drug Application Approval is Contingent upon Continuing Compliance
                    with Representations Made in the Application

             178.   After final approval by the FDA, NDAs and ANDAs are required to continually

    comply with the representations made in their applications.

             179.   Indeed, this ongoing and continuing compliance is codified by a drug

    manufacturers’ obligation to provide annual submissions indicating continuing compliance.

             180.   If a drug manufacturer ceases to manufacture a drug that meets all terms of its NDA

    ANDA approval, then the manufacturer has created a drug which is no longer approved to be sold,

    purchased or reimbursed in the United States because it is adulterated and/or misbranded.

             E.     Drugs That Do Not Comply Are Considered Adulterated and/or Misbranded

             181.   The manufacture of any adulterated or misbranded drug is prohibited under federal

    law.11

             182.   The introduction into commerce of any misbranded or adulterated or misbranded

    drug is similarly prohibited.12

             183.   Similarly, the receipt in interstate commerce of any adulterated or misbranded or

    misbranded drug is also unlawful.13

             184.   Among the ways a drug may be adulterated and/or misbranded are:

                    (a)    “if it has been prepared, packed, or held under unsanitary conditions
                           whereby it may have been contaminated with filth, or whereby it may have
                           been rendered injurious to health;”14


    11
         21 U.S.C. §331(g).
    12
         21 U.S.C. §331(a).
    13
         21 U.S.C. §331(c).
    14
         21 U.S.C. §351(a)(2)(A).


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                    (b)       “if . . . the methods used in, or the facilities or controls used for, its
                              manufacture, processing, packing, or holding do not conform to or are not
                              operated or administered in conformity with current good manufacturing
                              practice…as to safety and has the identity and strength, and meets the
                              quality and purity characteristics, which it purports or is represented to
                              possess;”15

                    (c)       “If it purports to be or is represented as a drug the name of which is
                              recognized in an official compendium, and … its quality or purity falls
                              below, the standard set forth in such compendium. …”16

                    (d)       “If . . . any substance has been (1) mixed or packed therewith so as to reduce
                              its quality or strength or (2) substituted wholly or in part therefor.”17

            185.    A drug is misbranded:

                    (a)       “If its labeling is false or misleading in any particular.”18

                    (b)       “If any word, statement, or other information required…to appear on
                              the label or labeling is not prominently placed thereon…in such terms as to
                              render it likely to be read and understood by the ordinary individual under
                              customary conditions of purchase and use.”19

                    (c)       If the labeling does not contain, among other things, “the proportion of each
                              active ingredient…”20

                    (d)       “Unless its labeling bears (1) adequate directions for use; and (2) such
                              adequate warnings … against unsafe dosage or methods or duration of
                              administration or application, in such manner and form, as are necessary for
                              the protection of users. …”21



    15
         21 U.S.C. §351(a)(2)(B).
    16
         21 U.S.C. §351(b).
    17
         21 U.S.C. §351(d).
    18
         21 U.S.C. §352(a)(1).
    19
         21 U.S.C. §352(c).
    20
         21 U.S.C. §52(e)(1)(A)(ii).
    21
         21 U.S.C. §352(f).


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                    (e)       “If it purports to be a drug the name of which is recognized in an official
                              compendium, unless it is packaged and labeled as prescribed therein.”22

                    (f)       “if it is an imitation of another drug;”23

                    (g)       “if it is offered for sale under the name of another drug.”24

                    (h)       “If it is dangerous to health when used in the dosage or manner, or with the
                              frequency or duration prescribed, recommended, or suggested in
                              the labeling thereof.”25

                    (i)       If the drug is advertised incorrectly in any manner; 26 or

                    (j)       If the drug’s “packaging or labeling is in violation of an applicable
                              regulation…”27

    III.    Sale of Zantac and Ranitidine in the United States

            186.    Ranitidine belongs to a class of medications called histamine H2-receptor

    antagonists (or H2 blockers), which decrease the amount of acid produced by cells in the lining of

    the stomach. Other drugs within this class include cimetidine (branded Tagamet), famotidine

    (Pepcid), and nizatidine (Tazac).

            187.    GSK 28 predecessor Smith, Kline & French discovered and developed Tagamet, the

    first H2 blocker and the prototypical histamine H2 receptor antagonist from which the later



    22
         21 U.S.C. §352(g).
    23
         21 U.S.C. §352(i)(2).
    24
         21 U.S.C. §352(i)(3).
    25
         21 U.S.C. §352(j).
    26
         21 U.S.C. §352(n).
    27
         21 U.S.C. §352(p).
    28
        GSK, as currently constituted, was created through a series of mergers and acquisitions. In
    1989, Smith, Kline & French merged with the Beecham Group to form SmithKline Beecham plc.
    In 1995, Glaxo merged with the Wellcome Foundation to become Glaxo Wellcome plc. In 2000,

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    members of the class were developed. Zantac was specifically developed in response to the

    success of cimetidine.

           188.    In 1976, scientist John Bradshaw, on behalf of GSK-predecessor Allen & Hanburys

    Ltd., synthesized and discovered ranitidine.

           189.    Allen & Hanburys Ltd., a then-subsidiary of Glaxo Laboratories Ltd., is credited

    with developing ranitidine and was awarded Patent No. 4,128,658 by the U.S. Patent and

    Trademark Office in December 1978, which covered the ranitidine molecule.

           A.      GSK Introduced Zantac to the Lucrative Antacid Market to Compete with the
                   Successful Cimetidine, and Other Manufacturers Quickly Capitalized

           190.    In 1983, the FDA granted approval to Glaxo to sell Zantac, pursuant to the NDA

    No. 18-703, and it quickly became GSK’s most successful product – a “blockbuster.” Indeed,

    ranitidine became the first prescription drug in history to reach $1 billion in sales.    GSK

    manufactured its own prescription Zantac from 1983 but ceased manufacturing its own Active

    Pharmaceutical Ingredient (“API”) in 2014.29

           191.    In 1993, GSK (through Glaxo Wellcome plc) entered into a joint venture with

    Pfizer-predecessor Warner-Lambert Co. to develop an OTC version of Zantac. In 1995, the FDA

    approved OTC Zantac 75 mg tablets through NDA 20-520. In 1998, the FDA approved OTC 75

    mg effervescent tablets through NDA 20-745.




    Glaxo Wellcome plc merged with SmithKline Beecham plc to form GlaxoSmithKline plc and
    GlaxoSmithKline LLC.
    29
       In 2014, GSK began using ranitidine API manufactured by Defendant Dr. Reddy’s, Orchev
    Pharma PVT and SMS Pharmaceuticals.


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            192.    In 1998, GSK (Glaxo Wellcome plc) and Warner-Lambert Co. ended their joint

    venture.30 As part of the separation, Warner-Lambert Co. retained control over the OTC NDA for

    Zantac and the Zantac trademark in the United States and Canada, but it was required to obtain

    approval from GSK prior to making any product or trademark improvements or changes. GSK

    regained rights to sell OTC Zantac outside of the United States and Canada,31 and it retained

    control over the Zantac trademark internationally.32

            193.    In 2000, Pfizer Inc. acquired Warner-Lambert Co. Pfizer then controlled the Zantac

    OTC NDAs until December 2006.

            194.    In October 2000, GSK sold to Pfizer the full rights to OTC Zantac in the United

    States and Canada pursuant to a divestiture and transfer agreement. As part of this agreement,

    GSK divested all domestic Zantac OTC assets to Pfizer, including all trademark rights. The

    agreement removed the restrictions on Pfizer’s ability to seek product line extensions or the

    approval for higher doses of OTC Zantac. GSK retained the right to exclusive use of the Zantac

    name for any prescription Ranitidine-Containing Drug in the United States, such as those for which

    Plaintiffs made payments or reimbursemenets.

            195.    In October 2003, Pfizer submitted a application for approval to market OTC Zantac

    150 mg. The FDA approved Pfizer’s NDA on August 31, 2004.

            196.    Throughout the time that Pfizer owned the rights to OTC Zantac, GSK continued

    to manufacture the product.


    30
         Throughout the time of the joint venture, GSK continued to manufacture the Zantac product.
    31
         GSK also still held the right to sell prescription Zantac in the United States.
    32
       See Warner-Lambert and Glaxo End A Venture on Ulcer Drug Zantac, WALL ST. J. (Aug. 4,
    1998), https://www.wsj.com/articles/SB902188417685803000 (last accessed June 21, 2020).


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            197.   In 2006, pursuant to the 2006 Stock and Asset Purchase Agreement, Pfizer sold and

    divested its entire consumer health division (including employees and documents) to Johnson &

    Johnson (“J&J”). Because of antitrust issues, however, Zantac was transferred to Boehringer

    Ingelheim. Nevertheless, Pfizer has made a demand for indemnification per the Stock and Asset

    Purchase against J&J as to legal claims related to OTC Zantac products.

            198.   Pfizer, through a divestiture agreement, transferred all assets pertaining to its

    Zantac OTC line of products, including the rights to sell and market all formulations of OTC

    Zantac in the United States and Canada, as well as all intellectual property, Research and

    Development (“R&D”), and customer and supply contracts, to Boehringer Ingelheim. As part of

    that deal, Boehringer Ingelheim obtained control and responsibility over all of the Zantac OTC

    NDAs.

            199.   GSK continued marketing prescription Zantac in the United States until 2017 and

    still holds the NDAs for several prescription formulations of Zantac. GSK continued to maintain

    manufacturing and supply agreements relating to various formulations of both prescription and

    OTC Zantac. According to its recent annual report, GSK claims to have “discontinued making

    and selling prescription Zantac tablets in 2017 . . . in the U.S.”33

            200.   Boehringer Ingelheim Pharmaceuticals, Inc. owned and controlled the NDAs for

    OTC Zantac between December 2006 and January 2017, and manufactured, marketed, and

    distributed the drug in the United States during that period.

            201.   In 2017, Boehringer Ingelheim sold the rights of OTC Zantac to Sanofi pursuant to

    a Sales and Purchase Agreement (“SPA”). As part of this deal, Sanofi obtained control and


    33
       GlaxoSmithKline, plc, Annual Report 37 (2019), https://www.gsk.com/media/5894/annual-
    report.pdf.


                                                      43
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    responsibility over Boehringer Ingelheim’s entire consumer healthcare business, including the

    OTC Zantac NDAs. However, Boehringer Ingelheim and Patheon Manufacturing Services LLC

    continued to manufacture and package all drugs subject to the agreement, including Zantac.

              202.   Boehringer Ingelheim also owned and controlled ANDA 074662.

              203.   Sanofi has controlled the NDAs for OTC Zantac and has distributed Zantac in the

    United States since January 2017.34

              204.   Sanofi voluntarily recalled all brand-name OTC Zantac on October 18, 2019.

              205.   Sanofi has made a demand for indemnification from J&J pursuant to a 2016 Asset

    Purchase Agreement between J&J and Sanofi.

              B.     Obtaining Formulary Status on Plaintiffs’ Formularies Was Necessary to
                     Grow Profits

              206.   Formulary decisions of TPPs have a large effect on physicians’ prescribing

    behavior, and such decisions consequently can be the difference between a blockbuster drug and

    a bust.

              207.   In order to achieve their ultimate goal of market domination, GSK sought formulary

    placement so that TPPs, such as Plaintiffs, would pay for and reimburse for Zantac.

              208.   As part of these efforts, GSK provided dossiers, monographs, labeling information,

    medication guides, and other marketing information to TPPs (such as Plaintiffs) and PBMs (such

    as those utilized by Plaintiffs), including Express Scripts and CVS Caremark.

              209.   GSK was ultimately successful at achieving formulary coverage, as Plaintiffs

    covered and reimbursed for Zantac.



    34
        Throughout the entire time period Boehringer Ingelheim manufactured OTC Zantac, it sourced
    its API from Union Quimico Farmaceutica SA (“UQUIFA”) in Barcelona, Spain.


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           210.    Once having achieved formulary status, GSK also had to ensure that Zantac

    maintained that formulary status.

           211.    Indeed, GSK even went so far as to partner with certain PBMs, such as CVS

    Caremark35 (Plaintiff NECA-IBEW’s PBM), for their products, including Zantac.

           C.      Generic Defendants Quickly Followed Suit with Generic Ranitidine

           212.    In 1997, GSK’s patent on the original prescription Zantac product expired, allowing

    generic manufacturers to sell prescription ranitidine to consumers.

           213.    After GSK and Pfizer’s patent on the original OTC Zantac product expired, generic

    manufacturers were allowed to sell OTC ranitidine to consumers.

           214.    The FDA approved the applications of dozens of generic manufacturers for the sale

    of prescription and OTC ranitidine through the ANDA process.

           215.    Despite generic entry, Brand-Name Manufacturer Defendants continued to sell

    prescription and OTC Zantac. Although sales of Zantac declined as a result of generic competition,

    ranitidine sales remained strong over time. Zantac was still ranked among the best-selling

    prescription drugs in the United States prior to its recall.36 In 2016 alone, there were approximately

    15,285,992 prescriptions written for Zantac.37 And as recently as 2018, Zantac was one of the top

    10 antacid tablets in the United States, with sales of OTC Zantac 150 totaling $128.9 million – a

    3.1% increase from the previous year.


    35
       https://www.caremark.com/portal/asset/GSK_Zero_Copay_Prescription_Drug_List.pdf (last
    accessed June 18, 2020).
    36
       The Top 200 of 2019, ClincCalc. https://clincalc.com/DrugStats/Top200Drugs.aspx (last
    accessed June 19, 2020).
    37
       The Top 200 of 2019 ClincCalc. https://clincalc.com/DrugStats/Top200Drugs.aspx (last
    accessed June 19, 2020).


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    IV.     Plaintiffs Paid for Thousands of Prescriptions for Defendants’ Ranitidine-
            Containing Products

            216.   At all times material hereto, Plaintiffs reimbursed for Ranitidine-Containing

    Products throughout the United States, including drugs manufactured by Defendant

    GlaxoSmithKline. These reimbursements included reimbursements made for Zantac in 2011 in

    New Mexico in the amounts of $34.62, and $41.00.

            217.   With respect to Ranitidine-Containing Products manufactured by the Generic

    Manufacturer Defendants, Plaintiffs allege some exemplar payments made for generic ranitidine

    in the table below. In each instance, Plaintiffs received a request to reimburse for a prescription

    drug on behalf of an enrollee for a particular date of service indicated below. Plaintiffs then paid

    the amounts indicated for the Ranitidine-Containing Drug manufactured and sold by Generic

    Manufacturer Defendants.

            A.     Plaintiff NECA-IBEW

            218.   Between 2010 and 2019, Plaintiff NECA-IBEW reimbursed for Defendants’

    Ranitidine-Containing Products, including a sampling of the below reimbursements made between

    2010 and 2019.

          Date             Pharmacy              State     Defendant            NDC          Amount
                                                                                               Paid
     2/9/2010            WALGREENS                AZ         Sandoz         00781286531       $11.20
     3/29/2010           WALGREENS                AL         Amneal         65162066490        $9.01
     4/1/2010          CVS PHARMACY               IL        Glenmark        68462024920        $9.40
                      COUNTY MARKET                      Pharmaceutical
     4/9/2010                                     IL                        00121072716       $97.26
                          PHARMACY                          Associates
                                                  FL
     4/29/2010           WALGREENS                           Amneal         65162066490       $61.56

     4/30/2010         CVS PHARMACY               IL        Glenmark        68462024920        $9.40



                                                    46
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     6/7/2010      EXPRESS SCRIPTS     NJ          Par         49884054501   $54.32
     7/7/2010        WALGREENS         FL                      00781285505   $19.27
                                                 Sandoz

                    BIG C DISCOUNT     AL
     7/14/2010                                   Apotex        60505002603    $0.45
                        DRUGS
                     SOUTHEAST
     7/20/2010                         MO        Sandoz        00781188360    $2.68
                      PHARMACY
                    CVS PHARMACY
     7/24/2010       PHARMARCY         IN        Sandoz        00781285560   $19.27
                    PHAPHARMACY
     7/30/2010       WALGREENS         IL        Amneal        65162066490   $166.80
     8/13/2010     SARTORIS SUPER      IL      Wockhardt       64679090603    $2.79
     8/29/2010       WALGREENS         FL        Sandoz        00781285505   $19.27
                                              Pharmaceutical
     10/20/2010   ATHENS PHARMACY      AL                      00121072716   $61.56
                                                Associates
     11/12/2010    EXPRESS SCRIPTS     OH        Actavis       00472038316   $264.14
     11/30/2010   KROGER PHARMACY      IL        Actavis       00472038316   $11.56
     12/13/2010    EXPRESS SCRIPTS     OH        Actavis       00472038316   $66.91
     12/14/2010       WAL-MART         IN        Actavis       00472038316   $20.68
     12/21/2010     CVS PHARMACY       IN        Sandoz        00781285560   $19.27
     1/27/2011     RICK'S PHARMACY     KY        Amneal        65162066490   $116.64
     2/7/2011     RITE AID PHARMACY    KY      Wockhardt       64679069401   $24.24
     2/8/2011         WAL-MART         IN        Actavis       00472038316   $61.46
     3/10/2011    KROGER PHARMACY      IL        Actavis       00472038316   $44.04
     3/16/2011    CVS PHARMACY         IL       Glenmark       68462024805    $2.71
     4/8/2011      EXPRESS SCRIPTS     NV          Par         49884054501   $33.78
     4/22/2011      CVS PHARMACY       IN       Glenmark       68462024805    $2.68
     5/8/2011      EXPRESS SCRIPTS     NJ          Par         49884054501   $34.39
     6/27/2011     RICK'S PHARMACY     KY        Actavis       00472038316   $61.56
     6/28/2011      CVS PHARMACY       IN      Dr. Reddy's     55111060216   $61.56


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     7/28/2011     EXPRESS SCRIPTS     NJ      Amneal       53746025401   $34.39
                      PADUCAH
     8/8/2011                          KY      Actavis      00472038316   $166.64
                     PHARMACY
     8/23/2011       WALGREENS         FL      Amneal       65162066490   $137.25
     8/26/2011     EXPRESS SCRIPTS     NV      Amneal       53746025401   $33.85
     9/16/2011     CVS PHARMACY        IL     Dr. Reddy's   55111060216   $166.78
                    LIBERTY DRUG
     1/25/2012                         TN      Amneal       53746025402    $0.89
                      STORE INC
     1/30/2012     EXPRESS SCRIPTS     OH      Actavis      00472038316   $24.39
     2/24/2012    LYON DRUG STORE      KY        Par        00603941858   $13.94
     3/7/2012        WALGREENS         WI      Amneal       65162066490   $24.14
     6/14/2012      CVS PHARMACY       FL     Glenmark      68462024805    $3.30
     6/26/2012       WALGREENS         MN     Dr. Reddy's   55111012905   $20.21
     8/2/2012        WALGREENS         IL      Amneal       65162066490   $13.21
     8/7/2012        WALGREENS         IL      Amneal       65162066490   $18.71
     10/2/2012       WALGREENS         IN      Amneal       65162066490   $46.10
                      PEARMAN                  Lannett
     11/20/2012                        IL                   54838055080   $30.01
                     PHARMACY                  Company
     12/10/2012    CVS PHARMACY        IL       Akorn       50383005116   $46.30
                  VILLAGE DISCOUNT
     12/12/2012                        AL      Actavis      00472038316   $10.49
                       DRUGS
                   BAPTIST MEDICAL
     12/27/2012                        FL      Amneal       53746025305    $3.38
                     ARTS PHCY
                  PUBLIX PHARMACY #            Lannett
     2/20/2013                         FL                   54838055080   $13.24
                        0010                   Company
     2/21/2013       WALGREENS         WI        Teva       00172435770    $3.38
     4/29/2013     CVS PHARMACY        WI       Akorn       50383005116    $2.26
     5/14/2013    MEIJER PHARMACY      IN       Akorn       50383005116   $40.96
     5/15/2013     CVS PHARMACY        IL       Akorn       50383005116   $101.32
     5/22/2013       WALGREENS         WI     Glenmark      68462024920    $0.97


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     5/29/2013    KROGER PHARMACY      IL        Par        00603941858   $12.51
     6/25/2013       WALGREENS         TN      Amneal       65162066490   $99.76
     7/11/2013     EXPRESS SCRIPTS     OH        Par        00603941858   $79.05
     7/14/2013     CVS PHARMACY        FL     Glenmark      68462024920    $0.97
     10/3/2013    MANITO PHARMACY      IL     Wockhardt     64679069401    $2.81
     10/7/2013     CVS PHARMACY        KY       Akorn       50383005116   $46.18
     10/16/2013    CVS PHARMACY        FL     Glenmark      68462024805    $3.38
     10/18/2013      WALGREENS         WI       Sandoz      00781285505   $20.20
     12/8/2013     CVS PHARMACY        FL     Glenmark      68462024805    $4.49
                    PICK 'N SAVE
     2/26/2014                         WI      Amneal       53746025301    $4.49
                     PHARMACY
     3/10/2014     CVS PHARMACY        FL       Akorn       50383005116   $10.13
     3/24/2014     EXPRESS SCRIPTS     NV     Dr. Reddy's   55111012905   $127.44
     3/30/2014       WALGREENS         IL       Caraco      57664014134   $38.52
     4/8/2014      EXPRESS SCRIPTS     OH        Par        00603941858   $15.84
     4/12/2014       WALGREENS         FL     Dr. Reddy's   55111013001   $37.89
     4/14/2014     EXPRESS SCRIPTS     OH        Par        00603941858   $47.56
     5/9/2014        WALGREENS         IL       Caraco      57664014134   $55.51
                   ASSISTED LIVING
     5/14/2014                         WI      Amneal       53746025310   $12.43
                      PHCY SVC
     6/10/2014       WALGREENS         WI        Teva       00172435770   $13.94
     6/13/2014       WALGREENS         WI        Teva       00172435770   $13.94
     7/9/2014      CVS PHARMACY        IL       Sandoz      00781286531   $33.37
                  GIBSON DISCOUNT
     7/14/2014                         KY     Glenmark      68462024805   $10.73
                     PHARMACY
     7/21/2014       WALGREENS         IL        Teva       00172435770   $10.98
     9/2/2014      CVS PHARMACY        GA        Teva       00172435770   $10.73
     9/24/2014       WALGREENS         WI        Teva       00172435770   $10.73
     10/11/2014      WALGREENS         FL        Teva       00172435770   $10.73



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     10/17/2014         WALGREENS              WI         Teva         00172435770      $10.73
                                                         Heritage
     11/12/2014      SHOPKO PHARMACY           WI                      23155029151      $1.99
                                                         Pharma
     11/13/2014       CVS PHARMACY             KY         Teva         00172435770      $10.73
     11/19/2014      KROGER PHARMACY           KY          Par         00603941858      $31.22
     11/28/2014       EXPRESS SCRIPTS          OH          Par         00603941858     $124.11
     12/4/2014        CVS PHARMACY             IN         Teva         00172435770      $10.73
     12/8/2014          WALGREENS              WI        Sandoz        00781285505      $48.33
     12/16/2014       EXPRESS SCRIPTS          NV      Dr. Reddy's     55111012905     $151.48
     2/19/2015        EXPRESS SCRIPTS          IN      Dr. Reddy’s     55111012905     $135.52
     5/5/2015        MEIJER PHARMACY           IN      Dr. Reddy’s     55111013030      $76.17
     2/26/2016          WAL-MART               IL        Lannett       54838055080      $3.17
     4/22/2016        CVS PHARMACY             TX        Sandoz        00781285560      $29.79
                                                      Pharmaceutical
     10/31/2016       EXPRESS SCRIPTS         MO                       00121072716      $0.54
                                                        Associates
     11/30/2016         WALGREENS              WI        Sandoz        00781285505      $82.01
     12/8/2016        EXPRESS SCRIPTS          NJ      Dr. Reddy's     55111012905     $177.18
     12/9/2016        EXPRESS SCRIPTS         MO       Dr. Reddy's     55111012905     $179.20
     12/27/2016       EXPRESS SCRIPTS          AZ      Dr. Reddy's     55111013001     $277.37
     1/7/2017         CVS PHARMACY             IN      Dr. Reddy's     55111013030      $27.09
     3/1/2017           WALGREENS              TN      Dr. Reddy's     55111012905      $25.99
     6/17/2017        EXPRESS SCRIPTS          IN      Dr. Reddy's     55111013001     $244.08
     9/11/2017        CVS PHARMACY             AL      Dr. Reddy's     55111012960      $8.56
     10/25/2019       CVS PHARMACY             AL         Strides      68462024805      $34.99

           B.     Plaintiff Plumbers 630

           219.   Between 2010 and 2019, Plaintiff Plumbers 630 reimbursed for Defendants’

    Ranitidine-Containing Products, including a sampling of the below reimbursements made between

    2010 and 2019.


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                                                                            Amount
        Date          Pharmacy       State        Defendant      NDC
                                                                             Paid
                     CAREMARK
      1/13/2010       MIRAMAR         FL             Par      49884054402   $104.36
                   PHARMACY LLC
                     CAREMARK
      7/17/2010     PRESCRIPTION      AL             Par      49884054401   $38.67
                      SRVC BHM
                     CAREMARK
      10/13/2010    PRESCRIPTION      AL           Amneal     53746025301   $38.54
                      SRVC BHM

      10/7/2011     WALGREENS         FL            Teva      00172435770    $6.47


      12/2/2011    CVS PHARMACY       FL          Glenmark    68462024920    $7.92

                     CAREMARK
      12/23/2011      MIRAMAR         FL           Amneal     53746025301   $97.09
                   PHARMACY LLC

      1/30/2012    JUPITER DRUGS      FL          Wockhardt   64679090603    $1.47

                     CAREMARK
       9/4/2012     PRESCRIPTION      TX           Amneal     53746025301   $79.74
                      SVCS SAT

                    OMNICARE OF
      11/20/2012                      PA            Teva      00172435770    $1.30
                   KING OF PRUSSIA


      2/25/2013    CVS PHARMACY       FL     Akorn Hi Tech    50383005116   $154.72


      5/24/2013    CVS PHARMACY      MD      Akorn Hi Tech    50383005116   $26.66

                     CAREMARK
      12/19/2013    PRESCRIPTION      PA           Amneal     53746025301   $89.74
                      SRVC WBP

       6/5/2014     WALGREENS         LA            Teva      00172435770    $3.06




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      8/19/2014     WALGREENS       LA         Sandoz    00781285505   $52.39


                    WALMART
      10/15/2014                   GA          Sandoz    00781285560   $52.32
                    PHARMACY

                    CAREMARK
      12/17/2014   PRESCRIPTION     IL        Amneal     53746025301   $100.80
                     SVC-CHI

      10/22/2015    WALGREENS       TN        Glenmark   68462024805    $2.33

                    CAREMARK
      7/11/2016    PRESCRIPTION     PA         Sandoz    00781285560   $24.91
                     SRVC WBP

      7/18/2016    CVS PHARMACY    NC          Sandoz    00781188310    $2.33


                     RITE AID
       8/3/2016                    NC         Amneal     53746025360    $2.33
                    PHARMACY

                      PUBLIX
      8/20/2016                     FL        Lannett    54838055080   $21.42
                    PHARMACY

                      INGLES
      9/28/2016                    GA         Glenmark   68462024805    $0.00
                    PHARMACY

                    CAREMARK
      9/30/2016    PRESCRIPTION     IL         Sandoz    00781285560   $24.91
                     SVC-CHI

      11/28/2016   CVS PHARMACY     AL         Sandoz    00781188310    $2.33


      12/5/2016    CVS PHARMACY     FL         Sandoz    00781285560   $37.75


                      PUBLIX
      12/14/2016                    FL        Nostrum    70408014134   $21.42
                    PHARMACY




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                    CAREMARK
      12/22/2016   PRESCRIPTION     IL           Par        55111012960   $24.91
                     SVC-CHI

      4/15/2017    CVS PHARMACY     AL          Strides     64380080307    $1.79


                      PUBLIX
       5/2/2017                     FL         Nostrum      70408014134   $20.18
                    PHARMACY

                      PUBLIX
       6/5/2017                     FL         Nostrum      70408014134   $20.18
                    PHARMACY


      6/14/2017     WALGREENS       FL          Lannett     54838055080    $4.52


                      PARK
      9/19/2017                     FL         Amneal       53746025305    $3.80
                    PHARMACY

                    CAREMARK
      10/18/2017   PRESCRIPTION     IL        Dr. Reddy’s   55111012960   $125.45
                     SVC-CHI
                    CAREMARK
       3/9/2018    PRESCRIPTION     IL         Amneal       65162025311    $7.96
                     SVC-CHI

      11/15/2018   CVS PHARMACY     FL         Glenmark     68462024920    $7.50


                      PUBLIX
      12/17/2018                    FL          Strides     64380080308    $3.80
                    PHARMACY


      4/18/2019    CVS PHARMACY     FL         Glenmark     68462024920    $2.42


      9/13/2019    CVS PHARMACY     FL        Dr. Reddy’s   55111012960   $55.28




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            C.     Plaintiff Indiana Laborers

            220.   Between 2010 and 2019, Indiana Laborers reimbursed for Defendants’ Ranitidine-

    Containing Products, including a sampling of the below reimbursements made between 2010 and

    2019.

                      Date      State     Defendant           NDC        Amount
                                                                           Paid
                   1/3/2012      MI        Glenmark       68462024920     $14.42
                                 OH
                   1/13/2012                Amneal        53746025305      $4.09

                   1/19/2012     KY        Glenmark       68462024805     $53.62
                   2/10/2012      FL      Wockhardt       64679090603     $16.00
                   3/19/2012      IN      Wockhardt       64679090603      $3.50
                   4/17/2012      FL        Amneal        53746025430     $40.93
                   8/27/2012      IN        Amneal        53746025430     $106.85
                   9/6/2012      KY         Amneal        65162066490     $22.11
                   1/2/2013       IN       Glenmark       68462024920     $90.42
                   12/13/2013    AZ        Glenmark        6846024805     $12.48
                   6/6/2014       IL       Glenmark       68462024860      $1.91
                   9/24/2014     KY         Amneal        53746025310     $12.00
                   10/1/2014     OH       Dr. Reddy’s     55111013030      $9.88
                   1/13/2015     TX        Glenmark       68462024805     $12.48
                   3/30/2015     MI         Amneal        53746025401     $12.20
                   7/1/2015      TX         Amneal        53746025301     $15.10
                   8/10/2016      IN        Sandoz        00781188425     $81.41
                   9/8/2016       IL        Sandoz        00781188310     $10.29
                   11/16/2016    MD         Amneal        53746025360      $4.93
                   4/24/2017     TX             PAI       00121072716     $15.33
                   8/15/2017      IN            PAI       00121072716     $67.54
                   10/3/2017      IL        Strides       64380080307     $28.35


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                    11/6/2017     IN         Strides        64380080438     $70.35
                    11/15/2017    FL        Glenmark        68462024805     $27.65
                    11/18/2017    IN       Dr. Reddy’s      55111013030     $68.82
                    12/11/2017    GA       Dr. Reddy’s      55111013030     $21.91
                    7/27/2018      IL          PAI          00121072716     $31.65
                    10/20/2018    GA         Sandoz         00781286531     $59.34
                    01/07/2019     IL      Dr. Reddy’s      55111012960     $43.68
                    01/18/2019    KY           PAI         00121072716      $22.88
                    1/18/2019     KY         Lannett        54838055080     $31.13
                    3/25/2019     TX         Lannett        54838055080      $6.45
                    06/05/2019    IN         Lannett        54838055080     $28.38
                    06/24/2019    IN         Lannett        54838055080     $49.34




     V.     Defendants Knew and Had an Obligation to Further Investigate the Dangers of
            Their Ranitidine-Containing Products

            A.      Defendants Knew or Should Have Known of the NDMA Risk in Their
                    Ranitidine-Containing Products

            221.    As early as 1981, two years before Zantac entered the market, research showed

    elevated levels of NDMA in raniditine, when properly tested. This material fact was available in

    medical literature, known, or should have been known, by the Brand-Name Manufacturer

    Defendants and Generic Manufacturer Defendants, and any other maker or distributor of

    Ranitidine-Containing Products. This information would not have been easily accessible to all,

    but should have been accessed and reviewed by each company in the ranitidine chain of

    distribution.




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           222.    In 1981, GSK, the originator of the ranitidine molecule, published a study focusing

    on the metabolites of ranitidine in urine using liquid chromatography.38 Many metabolites were

    listed, though there is no indication that the study looked for NDMA. This was intentional—a

    gambit by the manufacturer to avoid detecting a carcinogen in its product. All Defendants knew

    or should have known about this study and, therefore, were obligated to investigate this issue

    properly. None did.

           223.    Indeed, in that same year, Dr. Silvio de Flora published a note discussing the results

    of his experiments showing that ranitidine was turning into mutagenic N-nitroso compounds, of

    which NDMA is one, in human gastric fluid when accompanied by nitrites—a substance

    commonly found in food and in the body. GSK was aware of this study and specifically responded

    to the note in an attempt to discredit it. The Brand-Name Manufacturers and Generic Manufacturer

    Defendants knew or should have known about this scientific event as it was published in a popular

    scientific journal, and Defendants were obligated to investigate this issue properly through due

    diligence or otherwise.

           224.    By 1987, after numerous studies raised concerns over ranitidine and cancerous

    nitroso compounds, GSK published a clinical study specifically investigating gastric contents in

    human patients and N-nitroso compounds.39 This study specifically indicated that there were no

    elevated levels of N-nitroso compounds (of which NDMA is one). But the study was rigged. It

    used an analytical system called a “nitrogen oxide assay” for the determination of N-nitrosamines,


    38
        P.F. Carey, et al., Determination of Ranitidine and Its Metabolites in Human Urine by
    Reversed-Phase Ion-Pair High-Performance Liquid Chromatography, 255 J. CHROMATOGRAPHY
    B: BIOMEDICAL SCI. & APPLICATION 1, 161-68 (1981).
    39
        J.M. Thomas, et al., Effects of one year’s treatment with ranitidine and of truncal vagotomy
    on gastric contents, 28 GUT. 6, 726-38 (1987).


                                                    56
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    which was developed for analyzing food and is a detection method that indirectly and non-

    specifically measures N-nitrosamines. Not only is that approach not accurate, but GSK also

    removed all gastric samples that contained ranitidine out of concern that samples with ranitidine

    would contain “high concentrations of N-nitroso compounds being recorded.” Without the

    chemical being present in any sample, any degradation into NDMA could not, by design, be

    observed. The inadequacy of this test was knowable from its publication in 1987. Each Defendant

    either knew or should have known about the inadequacy of this study and should have investigated

    the issue properly and/or took action to protect consumers from the NDMA risks in their products.

    None did.

           225.     Upon information and belief, no Defendant ever used a mass spectrometry assay to

    test for the presence of nitrosamines in any of the studies and trials they did in connection with

    their trials associated with the ranitidine NDA. That is so because mass spectrometry requires

    heating of up to 130 degrees Celsius, which can result in the formation of excessive amounts of

    nitrosamines.    Had the Brand-Name Manufacturer Defendants and Generic Manufacturer

    Defendants used a mass spectrometry assay, it would have revealed large amounts of NDMA in

    ranitidine. They chose not to do so.

           226.     In 2019, Valisure LLC and ValisureRX LLC (collectively “Valisure”), an

    analytical pharmacy that puts medicine and drugs through rigorous chemical analysis to screen out

    bad batches, ran tests on Zantac and discovered the link of Zantac and its generics to the carcinogen

    NDMA. Valisure first notified the FDA of its initial findings in June of 2019.

           227.     On September 13, 2019, Valisure filed a citizen petition with the FDA asking the

    agency to recall all products that contain ranitidine14 and provided the World Health Organization

    and International Agency for the Research of Cancer (“IARC”) with copies of the petition.


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           228.    Valisure conducted follow-up testing and determined that the Zantac batch tested

    was not contaminated but that the molecule within the drug itself is unstable and can form NDMA,

    particularly in the conditions found in the stomach.15

           229.    This set off a cascade of recalls by both the Brand-Name Manufacturer Defendants

    and the Generic Manufacturer Defendants.

           230.    From that point forward, Defendants could no longer ignore and/or conceal the truth

    that their Ranitidine-Containing Products are unsafe and unfit for human use.

           B.      NDMA Has Long Been Deemed a Carcinogen, with Well-Established
                   Dangerous Properties Not Suitable for Prescription Drugs

           231.    According to the Environmental Protection Agency (“EPA”), “NDMA is a

    semivolatile organic chemical that forms in both industrial and natural processes.”40 It is one of

    the simplest members of a class of N-nitrosamines, a family of potent carcinogens. Scientists have

    long recognized the dangers that NDMA poses to human health. A 1979 news article noted that

    “NDMA has caused cancer in nearly every laboratory animal tested so far.”41 NDMA is no longer

    produced or commercially used in the United States except for research. Its only use today is to

    cause cancer in laboratory animals.


    40
       U.S. Environmental Protection Agency, Technical Fact Sheet – N-Nitroso-dimethylamine
    (NDMA)          (Nov.         2017),       https://www.epa.gov/sites/production/files/2017-
    10/documents/ndma_fact_sheet_update_9-15-17_508.pdf (last accessed June 12, 2020).
    41
        Jane Brody, Bottoms Up: Alcohol in moderation can extend life, GLOBE and MAIL (CANADA)
    (Oct. 11, 1979); see Rudy Platiel, Anger grows as officials unable to trace poison in reserve’s
    water, GLOBE and MAIL (CANADA) (Jan. 6, 1990) (reporting that residents of Six Nations Indian
    Reserve “have been advised not to drink, cook or wash in the water because testing has found high
    levels of N-nitrosodimethylamine (NDMA), an industrial byproduct chemical that has been linked
    to cancer”); S.A. Kyrtopoulos, DNA adducts in humans after exposure to methylating agents, 405
    MUTATION RES. 2, 135 (1998) (noting that “chronic exposure of rats to very low doses of NDMA
    gives rise predominantly to liver tumors, including tumors of the liver cells (hepatocellular
    carcinomas), bile ducts, blood vessels and Kupffer cells”).


                                                    58
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             232.    Both the EPA and the IARC classify NDMA as a probable human carcinogen.42

             233.    The American Conference of Governmental Industrial Hygienists classifies NDMA

    as a confirmed animal carcinogen.43

             234.    The Department of Health and Human Services (“DHHS”) states that NDMA is

    reasonably anticipated to be a human carcinogen.44 This classification is based upon DHHS’s

    findings that NDMA caused tumors in numerous species of experimental animals, at several

    different tissue sites, and by several routes of exposure, with tumors occurring primarily in the

    liver, respiratory tract, kidney, and blood vessels.45

             235.    The FDA considers NDMA a chemical that “could cause cancer” in humans.46

             236.    The World Health Organization states that there is “conclusive evidence that

    NDMA is a potent carcinogen” and that there is “clear evidence of carcinogenicity.”47




    42
        See International Agency for Research on Cancer (IARC) - Summaries & Evaluations, N-
    NITROSODIMETHYLAMINE (1978),                   http://www.inchem.org/documents/iarc/vol17/n-
    nitrosodimethylamine.html (last accessed June 12, 2020).
    43
       See EPA Technical Fact Sheet, https://www.epa.gov/sites/production/files/2017-
    10/documents/ndma_fact_sheet_update_9-15-17_508.pdf (last accessed June 19, 2020).
    44
         Id. at 3.
    45
       Id. or see EPA Technical Fact Sheet, https://www.epa.gov/sites/production/files/2017-
    10/documents/ndma_fact_sheet_update_9-15-17_508.pdf (last accessed June 19, 2020).
    46
        U.S. Food & Drug Administration, Statement Alerting patients and healthcare professionals
    of NDMA found in samples of ranitidine (Sept. 13, 2019), https://www.fda.gov/news-events/press-
    announcements/statement-alerting-patients-and-health-care-professionals-ndma-found-samples-
    ranitidine (last accessed June 19, 2020).
    47
        World Health Organization, Guidelines for Drinking Water Quality, N-Nitrosodimethylamine
    (NDMA)                             (3rd                      ed.                       2008),
    https://apps.who.int/iris/bitstream/handle/10665/204411/9789241547611_eng.pdf;jsessionid=E0
    F38FD1EB0B5BADD19EDD2CA7579D9E?sequence=1 (last accessed June 19, 2020).


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           237.       As early as 1980, consumer products containing unsafe levels of NDMA and other

    nitrosamines have been recalled by manufacturers, either voluntarily or at the direction of the FDA.

           238.       Most recently, beginning in the summer of 2018, there have been recalls of several

    generic drugs used to treat high blood pressure and heart failure – Valsartan, Losartan, and

    Irbesartan – because the medications contained nitrosamine impurities that do not meet the FDA’s

    safety standards.

           239.       The no-observed-adverse-effect level (“NOAEL”) is the level of exposure at which

    there is no biologically significant increase in the frequency or severity of any adverse effects of

    the chemical. Due to NDMA’s ability to affect deoxyribonucleic acid (“DNA”) at a microscopic

    level, there is no NOAEL for NDMA. This means any amount of NDMA exposure increases the

    risk of cancer.

           240.       The FDA has set an acceptable daily intake (“ADI”) level for NDMA at 96 ng.

    This means that consumption of 96 ng of NDMA per day will increase the risk of developing

    cancer by 0.001% over the course of a lifetime. That risk increases as the level of NDMA exposure

    increases. However, any level above 96 ng is considered unacceptable.48 For comparison, one

    filtered cigarette contains between 5 to 43 ng of NDMA.

           241.       In studies examining carcinogenicity through oral administration, mice exposed to

    NDMA developed cancer in the kidney, bladder, liver, and lung. In comparable rat studies, cancers

    were observed in the liver, kidney, pancreas, and lung. In comparable hamster studies, cancers

    were observed in the liver, pancreas, and stomach. In comparable guinea-pig studies, cancers were


    48
        U.S. Food & Drug Administration, FDA updates and Press Announcements on Angiotensin II
    Receptor Blocker (ARB) Recalls (Valsartan, Losartan, and Irbesartan) (Nov. 7, 2019),
    https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
    angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan (last accessed June 19, 2020).


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    observed in the liver and lung. In comparable rabbit studies, cancers were observed in the liver

    and lung.

               242.   In other long-term animal studies in mice and rats utilizing different routes of

    exposures – inhalation, subcutaneous injection, and intraperitoneal (abdomen injection) – cancer

    was observed in the lung, liver, kidney, nasal cavity, and stomach.

               243.   Prior to the withdrawal of ranitidine, the FDA considered the drug as category B

    for birth defects, meaning it was considered safe to take during pregnancy. Yet animals exposed

    to NDMA during pregnancy birthed offspring with elevated rates of cancer in the liver and kidneys.

               244.   NDMA is, itself, a very small molecule. This allows it to freely pass through all

    areas of the body, including the blood-brain and placental barrier.

               245.   In addition, NDMA breaks down into various derivative molecules that,

    themselves, are also associated with causing cancer. In animal studies, derivatives of NDMA

    induced cancer in the stomach and intestine (including colon).

               246.   The EPA classified NDMA as a probable human carcinogen “based on the

    induction of tumors at multiple sites in different mammal species exposed to NDMA by various

    routes.”49

               247.   Pursuant to the EPA cancer guidelines, “tumors observed in animals are generally

    assumed to indicate that an agent may produce tumors in humans.”50




    49
         Id.
    50
       See U.S. Environmental Protection Agency, Guidelines for Carcinogen Risk Assessment (Mar.
    2005),                                       https://www.epa.gov/sites/production/files/2013-
    09/documents/cancer_guidelines_final_3-25-05.pdf (last accessed June 18, 2020).


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           248.     NDMA is also known to be genotoxic – meaning, it can cause DNA damage in

    human cells. Indeed, multiple studies demonstrate that NDMA is genotoxic both in vivo and in

    vitro. However, recent studies have shown that the ability of NDMA to cause mutations in cells

    is affected by the presence of enzymes typically found in living humans, suggesting that “humans

    may be especially sensitive to the carcinogenicity of NDMA.”51

           C.       How Ranitidine Transforms into NDMA

           249.     The ranitidine molecule itself contains the constituent molecules to form NDMA.

    See Figure 1.

           250.     Specifically, the O=N (Nitroso) on one side of the ranitidine molecule can combine

    with the H3C-N-CH3 (DMA) on the other side to form NDMA.

                               Figure 1 – Diagram of Ranitidine & NDMA Molecules




           251.     The formation of NDMA by the reaction of DMA and a nitroso source (such as a

    nitrite) is well characterized in the scientific literature and has been identified as a concern for




    51
        N-Nitrosodimethylamine          (NDMA)       (3rd     ed.    2008),    available      at
    https://apps.who.int/iris/bitstream/handle/10665/204411/9789241547611_eng.pdf;jsessionid=E0
    F38FD1EB0B5BADD19EDD2CA7579D9E?sequence=1.


                                                    62
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    contamination of the American water supply.52 Indeed, in 2003, alarming levels of NDMA in

    drinking water processed by wastewater treatment plants was specifically linked to the presence

    of ranitidine.53

            252.       These studies underscore the instability of the ranitidine molecule and its ability to

    form NDMA in the environment of water treatment plants, which supply many American cities

    with water.

            253.       Valisure is an online pharmacy that also runs an analytical laboratory that is ISO

    17025 accredited by the International Organization for Standardization (“ISO”) – an accreditation

    recognizing the laboratory’s technical competence for regulatory purposes. Valisure’s mission is

    to help ensure the safety, quality, and consistency of medications and supplements in the market.

    In response to rising concerns about counterfeit medications, generics, and overseas

    manufacturing, Valisure developed proprietary analytical technologies that it uses in addition to

    FDA standard assays to test every batch of every medication it dispenses.

            254.       In its September 9, 2019 Citizen’s Petition to the FDA, Valisure disclosed as part

    of its testing of Ranitidine-Containing Products that every lot tested showed exceedingly high

    levels of NDMA. Valisure’s ISO 17025 accredited laboratory used FDA recommended GC/MS




    52
        T. Ogawa, et al., Purification and Properties of a New Enzyme, NG NG-Dimethylarginine
    Dimethylaminohydrolase, from Rat Kidney, 264 J. BIOLOGICAL CHEMISTRY 17, 10205-209 (June
    15, 1989).
    53
       William A. Mitch, et al., N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant:
    A Review, 20 ENVTL. ENGINEERING SCI. 5, 389-404 (Sept. 2003).


                                                        63
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    headspace analysis method FY19-005-DPA8 for the determination of NDMA levels. As per the

    FDA protocol, this method was validated to a lower limit of detection of 25 ng.54

           255.    Valisure’s September 2019 testing shows, on average, 2,692,291 ng of NDMA in

    a 150 mg ranitidine tablet. The results from this testing (shown below in Table 1) demonstrated

    the instability of the ranitidine molecule and its propensity to break down under higher

    temperatures and in a high nitrite environment.

                    Table 1 – Ranitidine Samples Tested by Valisure Laboratory
                                       Using GC/MS Protocol

     150 mg Tablets or equivalent                 Lot #                NDMA per tablet (ng)

     Reference Powder*                            125619               2,472,531
     Zantac, Brand OTC                            18M498M              2,511,469
     Zantac (mint), Brand OTC                     18H546               2,834,798
     Wal-Zan, Walgreens                           79L800819A           2,444,046
     Wal-Zan (mint), Walgreens                    8ME2640              2,635,006
     Ranitidine, CVS                              9BE2773              2,520,311
     Zantac (mint), CVS                           9AE2864              3,267,968
     Ranitidine, Equate                           9BE2772              2,479,872
     Ranitidine (mint), Equate                    8ME2642              2,805,259
     Ranitidine, Strides                          77024060A            2,951,649

           256.    Following the September 2019 testing, Valisure developed a low temperature

    GC/MS method that could still detect NDMA but would only subject samples to 37 °C, the average




    54
        U.S. Food & Drug Administration, Combined N-Nitrosodimethlyamine (NDMA) and N-
    Nitrosodiethylamine (NDEA) Impurity Assay, by GC/MS-Headspace (Jan. 28, 2019),
    https://www.fda.gov/media/117843/download (last accessed on June 19, 2020).


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    temperature of the human body. This method was validated to a lower limit of detection of 100

    ng.

             257.   The instability of the molecule, and its propensity to degrade into NDMA is

    impacted by the factors exclusively within the control of Defendants, such as those described

    below.

             258.   The stability of finished pharmaceutical products depends on both manufacture-

    related factors (such as the chemical and physical properties of the active substance and of

    pharmaceutical excipients, the dosage form and its composition, the manufacturing process, the

    nature of the container-closure system and the properties of the packaging materials) as well as

    storage and environmental factors (such as ambient temperature, humidity and light).

                    1.     Stability of the Ranitidine Molecule is Impacted by Manufacturing
                           Choices and Practices

             259.   During the manufacturing process, the stability of Ranitidine-Containing Products

    will depend to a large extent on compliance with appropriate formulation and packaging-closure

    systems.55

             260.   Manufacturers must have intimate knowledge of the chemical and physical

    properties of the active pharmaceutical ingredient (“API”), and of the various pharmaceutical

    excipients required in the manufacturing process, in order to understand how the interactions of

    these elements impact the overall stability of the product.56

             261.   Because of the obvious importance of establishing stability in drug products,

    cGMPs require drug manufacturers to conduct extensive testing and sampling (and to have


    55
          WHO Technical Report
    56
          WHO Technical Report


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    comprehensive written control procedures and operating procedures delineating how and when a

    specific drug product must be tested), in order to establish that the drug is, in fact, stable.

            262.    As discussed more fully below in §XI, Defendants did not have the adequate

    processes, measures, or controls (due to rampant and willful violations of cGMPs), to establish

    whether their specific Ranitidine-Containing Products were initially stable, what conditions were

    required to keep their specific Ranitidine-Containing Products stable and prevent them from

    degrading into NDMA, and for how long their Ranitidine-Containing Products would remain

    stable before it began to degrade into NDMA.

            263.    In addition to impacting the stability of Ranitidine-Containing Products,

    unacceptable and substandard manufacturing practices themselves have the potential to create

    NDMA beyond that which exists in a drug because of degradation of the original molecule.

            264.    Recent testing conducted under the authority of the FDA involving a number of

    drugs within the last two years made the FDA aware that NDMA can form during the

    manufacturing process.

            265.    On July 13, 2018, the FDA announced the first of what would be many recalls of

    Valsartan and other angiotensin receptor blockers (“ARB”) drugs used to treat high blood pressure,

    such as Losartan and Irbesartan.57

            266.    Specifically, the recalls were due to NDMA and other nitrosamines being present

    in the APIs manufactured by four API manufacturers located in China and India.




    57
        U.S. Food & Drug Administration, FDA Announces Voluntary recall of several medicines
    containing valsartan following detection of impurity (July 13, 2018), https://www.fda.gov/news-
    events/press-announcements/fda-announces-voluntary-recall-several-medicines-containing-
    valsartan-following-detection-impurity.


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           267.    According to the U.S. Council on Foreign Relations, “approximately 80% of the

    APIs used to make drugs in the United States are said to come from China” as well as other foreign

    countries including India.58

           268.    As the FDA’s investigation into the ARB contamination continued, it became clear

    that NDMA had made its way into the API through the use of recovered solvents or as a result of

    using less expensive solvents during the manufacturing process.59

           269.    Similarly, API was noted as a possible source of NDMA in Ranitidine-Containing

    Products, “Lannett was notified by FDA of the potential presence of NDMA on September 17,

    2019 and immediately commenced testing of the Active Pharmaceutical Ingredient (API) and drug

    product. The analysis confirmed the presence of NDMA in Ranitidine-Containing Products.”60

           270.    Knowing the inherent instability of the ranitidine molecule, Defendants understood

    the heightened importance of compliance with cGMP requirements and failed to do so here.

                   2.      Formation of NDMA by Exposure to Heat and/or Time

           271.    In addition to the above-described manufacturing practices which contributed to

    the Manufacturer Defendants’ inherently unstable Ranitidine-Containing Products, environmental




    58
        Yanzhong Huang, U.S. Dependence on Pharmaceutical Products from China (Aug. 14, 2019),
    https://www.cfr.org/blog/us-dependence-pharmaceutical-products-china.
    59
       FDA          https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-
    announcements-angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan.
    60
        U.S. Food & Drug Administration, Lannett Issues Voluntary Nationwide Recall of Ranitidine
    Syrup (Rantitidine Oral Solution, USP), 15mg/ml due to an Elevated Level of the Unexpected
    Impurity, N-Nitrosodimethylamine (Oct. 25, 2019), https://www.fda.gov/safety/recalls-market-
    withdrawals-safety-alerts/lannett-issues-voluntary-nationwide-recall-ranitidine-syrup-ranitidine-
    oral-solution-usp-15mgml-due (last accessed June 21, 2020).


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    factors, such as exposure to heat and/or time also contribute to the propensity for the ranitidine

    molecule to degrade to NDMA.

           272.    Indeed, the risk of creating NDMA by exposing ranitidine to heat has been well-

    known and documented. Early studies, including the one conducted by GSK in the early 1980s,

    demonstrated that NDMA formed when ranitidine was exposed to heat.                 This point was

    underscored in the Valisure petition, which initially used a high-heat testing method (but also

    specifically developed a detection protocol that did not use heat).

           273.    In response to Valisure, on October 2, 2019, the FDA recommended that

    researchers use the LC-HRMS protocol for detecting NDMA in ranitidine because the “testing

    method does not use elevated temperatures” and has been proven capable of detecting NDMA.

           274.    On January 2, 2020, Emery Pharma (“Emery”), an FDA-certified pharmaceutical

    testing laboratory, conducted a series of tests on ranitidine. The researchers exposed ranitidine to

    70 ⸰C for varying periods of time. The results showed that increasing levels of NDMA formed

    based on exposure to heat. The following diagram reveals how NDMA accumulates over time

    when exposed to 70 ⸰C:




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                   Figure 4 – Rate of Development of NDMA when Exposed to Heat




           275.   The researchers cautioned that:

           NDMA accumulates in ranitidine-containing drug products on exposure to elevated
           temperatures, which would be routinely reached during shipment and during
           storage. More importantly, these conditions occur post-lot release by the
           manufacturer. Hence, while NDMA levels in ranitidine may be acceptable at the
           source, they may not be so when the drug is purchased and subsequently at the time
           of consumption.61

           276.   The results of this data demonstrate that when exposed to heat, even through normal

    transport and storage, a ranitidine molecule that has been manufactured in such a way that it is

    inherently unstable will systematically break down into NDMA, accumulating over time in the

    finished product. Considering Ranitidine-Containing Products have an approved shelf life of 36

    months, the probability of the drug accumulating dangerously high levels of NDMA was too great




    61
        Emery Pharma, Emery Pharma Ranitidine: FDA Citizen Petition (Jan. 7, 2020),
    https://emerypharma.com/news/emery-pharma-ranitidine-fda-citizen-petition/ (last accessed on
    June 12, 2020).


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    for Defendants to allow distribution of the product without proper transport and storage

    requirements – a point underscored by the FDA’s swift removal of the product from the market.

    VI.    Defendants Failed to Uphold their NDA and ANDA Obligations

           277.   During the time that Defendant GSK and the Generic Manufacturer Defendants

    (hereafter defined as “Manufacturer Defendants”) manufactured and sold Ranitidine-Containing

    Products in the United States, the weight of scientific evidence showed that ranitidine exposed

    users to unsafe levels of NDMA. Manufacturer Defendants failed to disclose this risk to consumers

    on the drug’s label—or through any other means—and they failed to report these risks to the FDA.

           278.   Manufacturer Defendants concealed the ranitidine–NDMA link by not reporting it

    to the FDA, which relies on drug manufacturers (or others, such as those who submit citizen

    petitions) to bring new information about an approved drug like ranitidine to the agency’s

    attention.

           279.   Manufacturers (brand and generic) of an approved drug are required by regulation

    to submit an annual report to the FDA containing, among other things, new information regarding

    the drug’s safety pursuant to 21 C.F.R. §314.81(b)(2):

           The report is required to contain . . . [a] brief summary of significant new
           information from the previous year that might affect the safety, effectiveness, or
           labeling of the drug product. The report is also required to contain a brief
           description of actions the applicant has taken or intends to take as a result of this
           new information, for example, submit a labeling supplement, add a warning to the
           labeling, or initiate a new study.

           280.   21 C.F.R. §314.81(b)(2)(v) provides:

           The manufacturer’s annual report also must contain copies of unpublished reports
           and summaries of published reports of new toxicological findings in animal studies
           and in vitro studies (e.g., mutagenicity) conducted by, or otherwise obtained by, the
           [manufacturer] concerning the ingredients in the drug product.




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            281.    Manufacturer Defendants ignored these regulations and, disregarding the scientific

    evidence available to them regarding the presence of NDMA in their products and the risks

    associated with NDMA, did not report to the FDA significant new information affecting the safety

    or labeling of Ranitidine-Containing Products.

            282.    Knowledge regarding the risk of NDMA in Ranitidine-Containing Products was

    sufficiently available in the publicly available scientific literature such that any maker or

    distributor, consistent with their heightened obligations to ensure the safety of their products, also

    should have known about the potential NDMA risks associated with ranitidine consumption.

            283.    Manufacturer Defendants never conducted or provided the relevant studies to the

    FDA, nor did they present the FDA with a proposed disclosure noting the link between ranitidine

    and NDMA. Accordingly, because Manufacturer Defendants never properly disclosed the risk to

    the FDA, they never proposed any labeling or storage / transportation guidelines that would have

    addressed this risk. Thus, the FDA was never able to reject any proposed warning or proposal for

    transport / storage.

            284.    When the FDA eventually learned about the NDMA risks posed by Ranitidine-

    Containing Products, it quickly ordered manufacturers to voluntarily remove the products from the

    market. Thus, had any Manufacturer Defendant alerted the FDA to the risks of NDMA, the FDA

    would have required the manufacturers to remove Ranitidine-Containing Products from the market

    and Plaintiffs and other TPPs would not have reimbursed for these Ranitidine-Containing

    Products.




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    VII.   Brand-Name Manufacturer Defendants Developed and Implemented a Marketing
           Scheme to Mislead Consumers and Health Professionals into Believing that Zantac
           Was Safe

           285.    Having created an inherently unstable and unsafe product, the Brand-Name

    Manufacturer Defendants had to mislead TPPs, consumers and health professionals into believing

    Zantac was safe, including safe for use with chronic conditions and for fast, immediate relief with

    nitrite- and nitrate-rich foods. The Brand-Name Manufacturer Defendants thus engaged in a

    pervasive and decades-long campaign of misrepresentations and omissions to convince consumers

    that Zantac was safe and to conceal the existence of and the risks posed by NDMA.

           286.    The Brand-Name Manufacturer Defendants devised and knowingly carried out a

    material scheme to defraud consumers by misrepresenting the safety, and concealing the true

    health risks, of Zantac. The marketing campaign was national in scope and spanned decades, and

    although it came via separate missives, the fundamental message was uniform: Zantac (in both

    prescription and OTC form) is safe, can be used frequently and poses no serious health risks.

           A.      Brand-Name Manufacturer Defendants Marketed Zantac as a Safe Treatment
                   Method for Chronic Conditions to Health Professionals and as a Medication
                   Trusted and Recommended by Doctors to Consumers

           287.    The Brand-Name Manufacturer Defendants presented Zantac as being a safe and

    effective treatment for chronic conditions, and touted Zantac as being the treatment method trusted

    and recommended by doctors. However, despite knowing that Ranitidine-Containing Products

    had carried unreasonable risk due to its propensity to degrade to NDMA, Brand-Name

    Manufacturer Defendants wholly omitted any information from their advertisements that disclosed

    the serious risks posed by Ranitidine-Containing Drug.




                                                    72
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            288.   For example, in 1990, GSK ran ads in Gut, an international medical journal

    published by the British Society of Gastroenterology, representing that Zantac was a medication

    that could be taken “[f]or the lifetime of the disease”:62




            289.   From at least 1994-1995, GSK also placed ads in Gut, touting Zantac as an effective

    prophylaxis to be used in conjunction with NSAIDs to prevent NSAID-associated duodenal

    ulcers:63


    62
        Advertising,         31-5          GUT           489           (May          1,       1990),
    https://gut.bmj.com/content/gutjnl/31/5/local/advertising.pdf; Advertising, 31-4 GUT 365 (Apr. 1,
    1990), https://gut.bmj.com/content/gutjnl/31/4/local/advertising.pdf; see also Advertising, 31-3
    GUT 245 (Mar. 1, 1990), https://gut.bmj.com/content/gutjnl/31/3/local/advertising.pdf
    (advertisement representing Zantac for use “[f]or the lifetime of the disease”).
    63
        Advertising,         35-9         GUT           1155          (Sept.        1,       1994),
    https://gut.bmj.com/content/gutjnl/35/9/local/advertising.pdf; Advertising, 37-1 GUT 1 (July 1,
    1995), https://gut.bmj.com/content/gutjnl/37/1/local/advertising.pdf.


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           290.    And GSK ran the following newspaper ads in 1995 and 1996, which featured

    narrative accounts of patients suffering from Acid Reflux Disease visiting their doctors and being

    prescribed Zantac:64




    64
        GSK,     Zantac     Ad,     BLUEFIELD       DAILY    TELEGRAPH,      Nov.     5,    1995,
    https://newspaperarchive.com/bluefield-daily-telegraph-nov-05-1995-p-56/ (publication located
    in Bluefield, WV); GSK, Zantac Ad, ALAMOGORDO DAILY NEWS, Feb. 25, 1996,
    https://newspaperarchive.com/alamogordo-daily-news-feb-25-1996-p-40/ (publication located in
    Alamogordo, NM).


                                                   74
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           291.    From at least 2009-2015, BI represented in Zantac OTC advertisements that the

    active ingredient ranitidine had been “prescribed by doctors for years to treat millions of patients

    safely and effectively”:65




    65
         See,    e.g.,   Zantacotc.com,   BOEHRINGER      INGELHEIM      (June    8,    2009),
    https://web.archive.org/web/20090608184215/http://www.zantacotc.com/products/zantac150coo
    l.jsp;     Zantacotc.com,       BOEHRINGER       INGELHEIM       (May      13,      2013),
    https://web.archive.org/web/20130513180645/http://www.zantacotc.com/products/zantac150coo
    l.jsp.


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           292.    In 2019, Sanofi made the same representation through its own advertising, which

    stated that Zantac OTC “has the same active ingredient ranitidine, which doctors have prescribed

    for years to treat millions of patients safely and effectively.”66

           B.      The Brand-Name Manufacturer Defendants Marketed Zantac OTC as a Safe
                   and Effective Medication to Prevent and Relieve Heartburn Caused by the
                   Consumption of Nitrite- and Nitrate-Rich Foods

           293.    The Brand-Name Manufacturer Defendants misrepresented to the public in print,

    radio, and television advertisements and on social media that Zantac OTC was safe to be taken for

    fast heartburn relief before or after consumption of nitrite- and nitrate-rich foods. The Brand-

    Name Manufacturers wholly omitted any information from their advertisements that disclosed the

    serious health risks posed by use or ingestion of Ranitidine-Containing Products – particularly

    when taken with nitrite- and nitrate-rich foods – despite knowing that Ranitidine-Containing




    66
        Zantacotc.com,              SANOFI              (Feb.            7,               2019),
    https://web.archive.org/web/20190207202602/https://www.zantacotc.com/heartburn-relief.html.


                                                      76
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    Products presented a dangerous and unreasonable risk of degrading into NDMA, a known human

    carcinogen.

            294.   For instance, in 2006, Pfizer ran a television advertisement depicting a man and a

    woman standing outside of a BBQ restaurant, with the man promising to the woman that taking

    Zantac OTC before their meal will prevent her heartburn. This advertisement also represented that

    Zantac OTC taken after a meal can provide fast-acting heartburn relief.

            295.   In 2009, BI ran a television advertisement depicting a woman drinking coffee and

    eating a burrito at work, with a voiceover saying: “Chug that coffee. Gulp that burrito. No matter

    what life throws at you, you can take the heat. Until it turns into heartburn. Good thing you’ve

    got what it takes to beat that heat too. Zantac—it’s strong. Just one pill can knock out the burn.”

    In 2011, BI also ran a similar television advertisement depicting a man drinking coffee and eating

    a hotdog, with a voiceover saying: “Chug that java. Down that dog. No matter what life throws

    at you, you can take the heat. Until it turns into heartburn. Good thing you’ve got what it takes to

    beat that heat too. Zantac—it’s strong. Just one pill can knock out the burn.”

            296.   In 2010, BI advertised its “Zantac Beat the Heat Sweepstakes,” through both radio67

    and print advertisements. BI’s newspaper advertisements included the slogan, “Zantac BEAT

    THAT HEARTBURN HEAT,” and featured the host of the television program, Man v. Food,

    holding a box of Zantac OTC in front of a basket of buffalo chicken wings.68 Another newspaper




    67
        BI advertised its “Zantac Beat the Heat Sweepstakes” via radio on at least two occasions: in
    the Cleveland, Ohio market on May 20, 2010, and in the Chicago, Illinois market on June 30, 2010.
    68
         This advertisement was placed in a Cleveland, Ohio newspaper on May 23, 2010.


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    advertisement69 placed in the same year showed a pizza with a frowning face and promised that

    Zantac products would provide “fast and long-lasting heartburn relief”:




           297.    In 2013, BI announced the introduction of Captain Zantac, “the new face of

    the…ZANTAC Brand.”70 Captain Zantac was a miniature animated fire captain who was used in

    television, radio, and print advertisements.




    69
       This advertisement was placed in newspapers in Atlanta, Georgia and Dallas, Texas on
    November 10, 2010.
    70
       https://www.prnewswire.com/news-releases/zantac-launches-innovative-integrated-
    marketing-campaign-to-educate-consumers-on-heartburn-relief-222968201.html (last accessed
    June 20, 2020).


                                                   78
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           298.    In discussing the introduction of Captain Zantac, the first animated character to

    appear in advertising for OTC heartburn medication, Ross Ullman, the Executive Director of

    Marketing for BI stated the use of an “iconic” character serves as a “persuasive and memorable

    platform to cut through the heartburn advertising clutter and educate consumers on which

    heartburn solutions are really right for them.”71 The stated goal for Captain Zantac was to “help

    heartburn sufferers understand that . . . ZANTAC rushes relief in as little as 30 minutes."72

           299.    In addition to a prolific presence on television airways, Captain Zantac was also

    used and displayed in retail pharmacies to draw attention to Zantac:




    71
       https://www.prnewswire.com/news-releases/zantac-launches-innovative-integrated-
    marketing-campaign-to-educate-consumers-on-heartburn-relief-222968201.html (last accessed
    June 20, 2020).
    72
       https://www.prnewswire.com/news-releases/zantac-launches-innovative-integrated-
    marketing-campaign-to-educate-consumers-on-heartburn-relief-222968201.html


                                                    79
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             300.   Like the radio and print advertisements involving the Zantac Heartburn Challenges,

    Captain Zantac also encouraged73 consumers to take Zantac with food:




             301.   From at least 2017-2019, Sanofi continued marketing Zantac as a safe and effective

    treatment medication for the treatment of heartburn caused by consuming nitrite- and nitrate-rich

    foods.

             302.   In furtherance of these marketing goals, Sanofi retained ownership of the Captain

    Zantac trademark74 on or around February 2018 and continued to use Captain Zantac in television,

    radio, and print advertisements.

             303.   Captain Zantac (or “Cap Z” as he was so colloquially referred in materials created

    and used by Sanofi) also maintained an active social media presence, tweeting frequently75 and

    inducing consumers to interact with the twitter account through the use of free giveaways and

    sweepstakes.


    73
       https://twitter.com/ZantacOTC/status/756858939732439041/photo/1 (last accessed June 22,
    2020).
    74
         https://trademarks.justia.com/864/26/captain-86426387.html (last accessed June 20, 2020).
    75
         https://twitter.com/zantacotc (last accessed June 20, 2020).


                                                     80
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           304.   Cap Z’s twitter presence also offered “#ZanHacks” which were tips that he offered

    to consumers to induce them to take Zantac with food consumption.




                                                 81
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            305.    Cap Z likewise encouraged consumers to take Zantac with nitrite-rich foods,

    through the use of social media engagement campaigns.




            306.    Captain Zantac was also integrated into Sanofi’s other consumer marketing piece,

    a branded website called zantacotc.com, which also served to promote the use of Zantac with

    nitrate rich foods.

            307.    For example, Sanofi presented the following on zantacotc.com:76




    76
        Zantacotc.com,              SANOFI              (Apr.            5,               2019),
    https://web.archive.org/web/20190405064719/https:/www.zantacotc.com/        Zantacotc.com,
    SANOFI                         (Feb.                       7,                         2019),
    https://web.archive.org/web/20190207202602/https://www.zantacotc.com/heartburn-relief.html.


                                                   82
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                                         83
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           308.   From at least 2018-2019, Sanofi ran a television ad campaign that featured the

    slogan, “Eat your way. Treat your way.” One of these television advertisements depicted a family

    enjoying “taco night” and a man suffering from heartburn after unexpectedly having pizza for

    lunch. Another television advertisement attached to this campaign showed a man and woman at a

    cookout both rubbing their stomachs in pain in front of a plate of hamburgers, while a voiceover

    said, “Zantac works in as little as 30 minutes. Eat your way. Treat your way.

           309.   Indeed, the Brand-Name Manufacturer Defendants ran myriad television, print,

    radio, and internet ads that communicated this misleading message:

     First Date    Brand-Name        Advertising                Title                   Market
                   Manufacturer       Medium
                    Defendant
                                                    MAN OFFERS PEOPLE               Salt Lake City,
     04/17/2006    Pfizer           Television
                                                    FAST RELIEF                     UT
                                                                                    Los Angeles,
     04/28/2006    Pfizer           Radio           Family Controls Heartburn
                                                                                    CA
                                                    Woman Calls It Here It          Tampa, FL
     01/01/2008    BI               Radio
                                                    Comes Again
                                                    Woman Calls It Here It          New York, NY
     01/01/2008    BI               Radio
                                                    Comes Again
                                                                                    Washington,
     01/01/2008    BI               Radio           Heartburn Isn’t Funny
                                                                                    D.C.
                                                    Woman Calls It Here It          Baltimore, MD
     01/01/2008    BI               Radio
                                                    Comes Again
     01/01/2008    BI               Radio           Man Goes to Bed at Nine         Phoenix, AZ
     01/03/2008    BI               Radio           Heartburn Isn’t Funny!          Atlanta, GA
     01/03/2008    BI               Radio           Heartburn! Attack It. Zantac    Tampa, FL
                                                                                    Los Angeles,
     01/03/2008    BI               Radio           I Will Go to Bed at Nine
                                                                                    CA
     01/04/2008    BI               Radio           Heartburn! Attack It. Zantac    Orlando, FL
                                                    Take Zantac to Relieve          Boston, MA
     01/04/2008    BI               Radio
                                                    Heartburn
                                                                                    Los Angeles,
     01/07/2008    BI               Radio           Heartburn! Attack It. Zantac
                                                                                    CA
                                                    The Embarrassing Part of        Los Angeles,
     01/09/2008    BI               Radio
                                                    Heartburn                       CA
     12/16-                                         Because these days,             Miami, FL
                   BI               Newspaper
     17/2008                                        breakfast while reading the

                                                   84
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     First Date   Brand-Name     Advertising                Title                  Market
                  Manufacturer    Medium
                   Defendant
                                                 morning paper may be all it
                                                 takes to trigger heartburn.
                                                 Heartburn Won’t Slow You      San Francisco,
     04/08/2009   BI             Radio
                                                 Down                          CA
                                                 Woman Gets Heartburn at       USA
     10/12/2009   BI             Television
                                                 Work
                                                 Woman Gets Heartburn at       St. Louis, MO
     11/17/2009   BI             Television
                                                 Work
                                                 BEAT THAT                     Cleveland, OH
     05/23/2010   BI             Newspaper
                                                 HEARTBURN HEAT.
     09/05/2010   BI             Television      Beat that Heartburn Heat      Orlando, FL
                                                 Can’t find your usual         Atlanta, GA;
     11/10/2010   BI             Newspaper
                                                 heartburn remedy?             Dallas, TX
     08/22/2011   BI             Television      Fast Relief in a Short Time   USA
                                                 CAPTAIN Zantac IN             US
     01/12/2015   BI             Magazine
                                                 HEARTBURN RESCUE
                                                 CAPTAIN Zantac IN             ESPN
     03/02/2015   BI             Magazine
                                                 HEARTBURN RESCUE
     09/13/2015   BI             Television      Zantac Heartburn Challenge    LMN
                                                                               YAHOOENT
     09/27/2015   BI             Online Video    Take the Challenge
                                                                               Video
     11/14/2015   BI             Television      Get Faster Relief             LMN
     12/09/2016   BI             Television      Get the Fast Heartburn Relief Denver, CO
     02/05/2017   Sanofi         Television      Fast Heartburn Relief         FNEW
                                                 Releases Cooling Sensation    Answers.com
     03/07/2017   Sanofi         Online Video
                                                 in Mouth and Throat           Video
     06/26/2017   Sanofi         Television      Better for Heartburn Relief   Portland, OR
     11/13/2017   Sanofi         Television      Best Relief from Heartburn    TVL
                                                                               San Francisco,
     04/09/2018   Sanofi         Television      The Fast Relief
                                                                               CA
                                                 No Mess Fast Relief           TLC.com Video
     07/03/2018   Sanofi         Online Video
                                                 Heartburn Night
     07/27/2018   Sanofi         Television      Best Relief from Heartburn    Raleigh, NC
                                                                               Maxpreps.com
     03/14/2019   Sanofi         Online Video    The Fast Relief
                                                                               Video
                                                                               San Francisco,
     04/08/2019   Sanofi         Television      Prevent or Relief Heartburn
                                                                               CA
                                                 Man & Boy Are Eating Taco Xfinity.com
     04/08/2019   Sanofi         Online Video
                                                 in the Dining Table           Video
     04/21/2019   Sanofi         Television      Relieves It Fast              Atlanta, GA



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             C.     BP and Sanofi Used Ostensibly Unbranded Websites to Market Zantac as Safe

             310.   BI and Sanofi also misrepresented via an ostensibly unbranded website and

    Defendant-funded journal articles purporting to offer neutral scientific evidence that Zantac had

    no long-term safety concerns or any known clinically significant integrations with other commonly

    prescribed drugs, without disclosing the instability of ranitidine--the active ingredient in Zantac.

             311.   On November 15, 2015, BI bought/registered the domain name rethinkppis.com,

    which transferred to Sanofi on February 24, 2017.          The unbranded website included data

    connecting another competitor class of antacid drugs, proton pump inhibitors (“PPIs”) with

    increased cardiovascular risks, kidney disease, low magnesium, bone fractures, and gut bacteria,

    and noted that H2 blockers were not proven to be associated with those same risks:


    PPIs have other safety concerns H2 blockers don’t

            H2 blockers like non-prescription Zantac® have no long-term safety concerns
             when used as directed or no known clinically significant interactions with other
             commonly prescribed drugs people may be taking, unlike PPIs such as
             Nexium®.
            Unlike PPIs, increased risk of fractures of the hip, wrist, and spine have not
             been reported in clinical studies with H2 blockers.77

             312.   Neither BI or Sanofi contemporaneously, or at any time, disclosed on the

    rethinkppis.com website. the dangers of NDMA or that the active ingredient in Zantac – ranitidine

    – was unstable and broke down in to cancer-causing NDMA.




    77
        RethinkPPIs.com,        BOEHRINGER        INGELHEIM        (Feb.               19,        2016),
    https://web.archive.org/web/20160219011903/http://www.rethinkppis.com/


                                                     86
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   VIII.      Defendants Made Misrepresentations and Omissions In the Labeling and
              Marketing of Their Ranitidine-Containing Products

              A.      Defendants’ Labels Were Misleading and Omitted Material Information and
                      Warnings that Should Have Been Apparent to Them through Stability Testing

              313.    A manufacturer is required to give adequate directions for the use of a

    pharmaceutical drug such that a “layman can use a drug safely and for the purposes for which it is

    intended,”78 and to conform to requirements governing the appearance of the label.79

              314.    “Labeling” encompasses all written, printed, or graphic material accompanying the

    drug or device,80 and therefore broadly encompasses nearly every form of promotional activity,

    including not only “package inserts” but also advertising.

              315.    “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the

    [FDCA] as including all printed matter accompanying any article. Congress did not, and we

    cannot, exclude from the definition printed matter which constitutes advertising.”81

              316.    All drug manufacturers (brand and generic) are also responsible for conducting

    stability testing, which must be “designed to assess the stability characteristics of drug products.”82

    Manufacturers must adopt a written testing program that includes: “(1) Sample size and test

    intervals based on statistical criteria for each attribute examined to assure valid estimates of

    stability; (2) Storage conditions for samples retained for testing; (3) Reliable, meaningful, and




    78
           21 C.F.R. §201.5.
    79
           21 C.F.R. §801.15.
    80
           Id.; 65 Fed. Reg. 14286 (March 16, 2000).
    81
           United States v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).
    82
           22 C.F.R. §211.166(a).


                                                       87
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    specific test methods; (4) Testing of the drug product in the same container-closure system as that

    in which the drug product is marketed; (5) Testing of drug products for reconstitution at the time

    of dispensing (as directed in the labeling) as well as after they are reconstituted.”83

               317.   The purpose of stability testing is, in part, to determine “the appropriate storage

    conditions and expiration dates.”84 And expiration dates, in turn, must be set to “assure that a drug

    product meets applicable standards of identity, strength, quality, and purity at the time of use.”85

    An expiration date is “related to any storage conditions stated on the labeling, as determined by

    stability studies listed in §211.166.”86

               318.   The FDA made clear when it first adopted the expiration-date provision that the

    regulation means what it says. The purpose of the expiration date is not merely to consider the

    “stability of a specific active ingredient.” Instead, a compliant expiration date must account for

    multiple factors, including “the stability of the inactive ingredients, the interaction of active and

    inactive ingredients, the manufacturing process, the dosage form, the container closure system, the

    conditions under which the drug product is shipped, stored, and handled by wholesalers and

    retailers, and the length of time between initial manufacture and final use.”87

               319.   The FDA expressly recognizes that an initial expiration date may not be the final

    expiration date: “Where data from accelerated studies are used to project a tentative expiration



    83
         Id.
    84
         Id.
    85
         21 C.F.R. §211.137(a).
    86
         21 C.F.R. §211.137(b).
    87
         43 Fed. Reg. 45059.


                                                      88
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    date that is beyond a date supported by actual shelf life studies, there must be stability studies

    conducted . . . until the tentative expiration date is verified or the appropriate expiration date

    determined.”88

            320.     After a drug is approved, a manufacturer (brand or generic) can make changes to

    its drug application. To do so, manufacturers must comply with the requirements of §§314.70 and

    314.71.89

            321.     Some of the requirements in those regulations require a brand or generic

    manufacturer of an approved drug to obtain FDA approval before implementing a label change.90

            322.     But the FDA has long recognized a “changes being effected” (“CBE”) supplement

    that permits a manufacturer to make immediate changes, subject to FDA’s post-change review.91

            323.     A manufacturer of an approved drug can use the CBE supplement to immediately

    make an “[a]ddition to a specification or changes in the methods or controls to provide increased

    assurance that the drug substance or drug product will have the characteristics of identity, strength

    quality, purity, or potency that it purports or is represented to possess.”92 “A specification is

    defined as a list of tests, references to analytical procedures, and appropriate acceptance criteria

    that are numerical limits, ranges, or other criteria for the tests described.”93




    88
         21 C.F.R. §211.166(b).
    89
         See 21 C.F.R. §§314.70, 314.97(a) (requiring generics to comply).
    90
         §314.70(b).
    91
         21 C.F.R. §314.70(c)(3), (c)(6).
    92
         21 C.F.R. §314.70(c)(6)(i).
    93
         65 Fed. Reg. 83042 (Dec. 29, 2000).


                                                      89
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            324.    A manufacturer, therefore, need not seek FDA pre-approval to make changes to its

    stability studies to identify the appropriate expiration date—which must “assure that a drug product

    meets applicable standards of identity, strength, quality, and purity at the time of use” or to ensure

    that the drug is shipped and stored under appropriate conditions. 94

            325.    A manufacturer of an approved drug can also use the CBE supplement to make

    changes “in the labeling to reflect newly acquired information” in order to: “add or strengthen a

    contraindication, warning, precaution, or adverse reaction for which the evidence of a causal

    association satisfies the standard for inclusion in the labeling under §201.57(c) of this chapter”;

    “add or strengthen an instruction about dosage and administration that is intended to increase the

    safe use of the drug product”; and “delete false, misleading, or unsupported indications for use or

    claims for effectiveness.”95

            326.    A manufacturer of an approved drug may make minor changes to a label with no

    approval or notice, so long as that change is described in an annual report. This includes “[a]

    change in the labeling concerning the description of the drug product or in the information about

    how the drug product is supplied, that does not involve a change in the dosage strength or dosage

    form.”96




    94
         21 C.F.R. §211.137(a).
    95
         21 C.F.R. §§314.70(c)(6)(iii)(A), (C), (D).
    96
         21 C.F.R. §314.71(d)(2)(ix).


                                                       90
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            327.    A “minor change” further includes “[a]n extension of an expiration dating period

    based upon full shelf life data on production batches obtained from a protocol approved in the

    NDA.”97

            328.    At no time did any Defendant attempt to include a warning about NDMA levels in

    ranitidine, and the FDA never rejected such a warning. Defendants holding the NDAs had the

    ability to unilaterally add an NDMA and/or cancer warning to the labels of Ranitidine-Containing

    Products without prior FDA approval pursuant to the CBE regulation. Had any such Defendant

    attempted to add an NDMA warning to the label of its Ranitidine-Containing Products, the FDA

    would not have rejected it.

            329.    At no time did any Defendant attempt to change its label to delete a false or

    misleading expiration date, to delete false or misleading shipping and storage conditions, to add a

    proper expiration date, or to add proper shipping and storage conditions, to ensure that the

    Ranitidine-Containing Products would not break down into NDMA prior to human consumption.

            330.    Based on the public scientific information available starting in 1983 (or earlier), the

    Defendants knew or should have known that NDMA could form from ranitidine by exposure to

    heat and/or over time in storage.

            331.    At no time did any Defendant change its label to shorten the expiration date or alter

    the safe shipping and storage temperature of its ranitidine-containing product, and the FDA never

    rejected such changes. Both Brand-Name Manufacturer Defendants and Generic Manufacturer

    Defendants had the ability to unilaterally make such label changes (for both prescription and OTC)




    97
         Id. §314.71(d)(2)(vi).


                                                      91
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    without prior FDA approval pursuant to the CBE regulation. Had any Defendant attempted such

    label changes, the FDA would not have rejected them.

             332.     Because they failed to warn that Ranitidine-Containing Products contained or broke

    down into NDMA, Defendants made false statements in the labeling of their products and omitted

    material information regarding the drug’s safety.

             333.     Because they failed to include appropriate expiration dates on their products,

    Defendants made false statements in the labeling of their products and omitted material

    information regarding the drug’s safety.

             334.     Because they failed to include proper storage instructions on their products,

    Defendants made false statements in the labeling of their products and omitted material

    information regarding the drug’s safety.

    IX.      Defendants’ Ranitidine-Containing Products Are Misbranded and Adulterated
             Because They Contain Biologically Relevant Levels of NDMA

             335.     The manufacture of any misbranded or adulterated drug is prohibited under federal

    law.98

             336.     The introduction into commerce of any misbranded or adulterated drug is also

    prohibited.99

             337.     Similarly, the receipt in interstate commerce of any adulterated or misbranded drug

    is unlawful.100




    98
          21 U.S.C. §331(g).
    99
          21 U.S.C. §331(a).
    100
          21 U.S.C. §331(c).


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          338.    Because Defendants did not disclose NDMA as an ingredient in the Ranitidine-

   Containing Products ingested by Plaintiffs, the subject drugs were misbranded.

          339.    Because Defendants did not disclose the proper directions for storage of the

   Ranitidine-Containing Products ingested by Plaintiffs, the subject drugs were misbranded.

          340.    Because Defendants did not disclose the proper directions for expiration of the

   Ranitidine-Containing Products ingested by Plaintiffs, the subject drugs were misbranded.

          341.    It is unlawful to introduce a misbranded drug into interstate commerce. Thus, the

   Ranitidine-Containing Products Plaintiffs made payments or reimbursements for were unlawfully

   distributed and sold and is economically worthless.

    X.    Defendants Made and Breached Warranties to Plaintiffs and TPP Class Members

          342.    Each Defendant’s Ranitidine-Containing Drug is accompanied by an FDA-

   approved label.     By providing TPPs with an FDA-approved label, Defendants made

   representations and express or implied warranties to TPPs like Plaintiffs and TPP Class members

   that their products were consistent with the safety, quality, purity, identity, and strength

   characteristics reflected in the FDA-approved labels and/or were not adulterated and/or

   misbranded and therefore legal to sell.

          343.    In addition, each Brand-Name Manufacturer Defendant, and Generic Manufacturer

   Defendant affirmatively misrepresented and warranted to Plaintiffs, TPP Class members, PBMs

   utilized by Plaintiffs, consumers, and physicians, through their websites, brochures, dossiers,

   monographs, social media, and other marketing or informational materials, that their Ranitidine-

   Containing Products complied with cGMPs, were manufactured in such a way to assure that they

   were of proper identity, strength, quality and purity, and did not contain (or were not likely to

   contain) any ingredients besides those identified on the products’ FDA-approved labels.


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          A.      Defendant GSK’s Warranties

          344.    GSK promises to “do the right thing” for patients and consumers and

   to “strive for the highest quality.”101 In its Code of Conduct, GSK states:

          We put [patients’ and consumers’] safety first, provide them with clear, up-to-date
          information and promote our products appropriately and ethically.

                                            *       *      *

          Our promotional activities and materials conform to high ethical, medical and
          scientific standards. They are legal, industry-compliant and evidence based.

                                            *       *      *

          We provide complete, up-to-date and evidence based product information to
          healthcare professionals and consumers, wherever they are in the world.

                                            *       *      *

          We strive to assure the safety, quality and efficacy of our products for our patients
          and consumers by ensuring that our procedures comply with Good Practice
          regulations.

          345.    Throughout the almost 4 decades that Zantac has been marketed and sold in the

   United States by GSK, GSK has frequently represented itself as a company committed to

   manufacturing quality, and safe, products, repeatedly touting that its primary focus was to

   “improve the quality of human life.” GSK touted oversight of “product quality across the supply

   chain, from suppliers and third party manufacturers through manufacturing to the supply

   operations that deliver products into the market.”102




   101
       GSK, Living Our Values and Expectations, Our Code of Conduct, at 7, 12
   https://www.gsk.com/media/4800/english-code-of-conduct.pdf (last accessed June 13, 2020).
   102
       GSK,                      2007                    Annual                  Report
   http://www.annualreports.com/HostedData/AnnualReportArchive/g/LSE_GSK_2007.pdf (last
   accessed June 20, 2020).


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          346.       This mantra was repeated throughout their annual reports when GSK represented

   that they were:

                     “generat[ing] the right information about” about products to provide to TPPs

                      including information about “safety, efficacy and quality.” (2000)103

                     “delivering quality products around the world” (2001)104

                     “improving productivity in both quality and quantity” (2002)105

                     “developing more high quality compounds than ever before” (2003)106

                     focusing on securing a supply of “high quality products” that are “best in class”

                      while being at the “leading edge of practices and performances.” (2004) 107

                     having “[s]ophisticated quality assurance and quality control procedures in place”

                      (2005)108




   103
      GSK, 2000 Annual Report, https://www.gsk.com/media/4698/annual-report-2000.pdf (last
   accessed June 20, 2020).
   104
      GSK, 2001 Annual Report, https://www.gsk.com/media/2659/annual-report-2001.pdf (last
   accessed June 20, 2020).
   105
       GSK,                      2002                     Annual                     Report,
   https://www.sec.gov/Archives/edgar/data/1131399/000102123103000405/gsk_report.pdf   (last
   accessed June 20, 2020).
   106
      GSK, 2003 Annual Report, https://www.gsk.com/media/2669/annual-report-2003.pdf (last
   accessed June 20, 2020).
   107
       GSK,                      2004                     Annual                     Report,
   https://www.sec.gov/Archives/edgar/data/1131399/000102123103000405/gsk_report.pdf   (last
   accessed June 20, 2020).
   108
      GSK, 2005 Annual Report, https://www.gsk.com/media/2676/annual-report-2005.pdf (last
   accessed June 20, 2020).


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                   having a “secure source of high quality products” (2006) 109

                   overseeing “product quality across the supply chain, from suppliers and third

                    party manufacturers through manufacturing to the supply operations that deliver

                    products into the market.” (2007)110

          347.    However, a 2010 Settlement with the Department of Justice laid bare the truth of

   GSK’s operations, which included a slew of compliance related issues, such as the distribution of

   ointments that contained microorganisms, sale of drugs that contained no active ingredient,

   contamination of sterile drugs, rendering them non-sterile, and the like. 111

          348.    In a statement from July 2012, newly minted GSK CEO Sir Andrew Witty

   conceded that GSK had made “mistakes” and that there had been employees who had “engaged in

   misconduct,” but that, as of 2012, GSK had a “clear priority to ingrain a culture of putting patients

   first, acting transparently, respecting people inside and outside the organization and displaying

   integrity in everything we do.” 112




   109
      GSK, 2006 Annual Report, https://www.gsk.com/media/2679/annual-report-2006.pdf (last
   accessed June 20, 2020).
   110
       GSK,                      2007                    Annual                  Report
   http://www.annualreports.com/HostedData/AnnualReportArchive/g/LSE_GSK_2007.pdf (last
   accessed June 20, 2020).
   111
     https://www.justice.gov/archive/usao/ma/news/2010/October/GSK%20Settlement%20Agreem
   ent10_26.pdf (last accessed June 22, 2020).
   112
      https://www.gsk.com/en-gb/media/press-releases/glaxosmithkline-concludes-previously-
   announced-agreement-in-principle-to-resolve-multiple-investigations-with-us-government-and-
   numerous-states/ (last accessed June 20, 2020).


                                                    96
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   Generic Manufacturer Defendants’ Warranties

                   1.     Amneal

            349.   Amneal states it “produce[s] quality generic, specialty and biosimilar

   medicines.”113 Amneal proudly proclaims that its “quality culture is one of the core pillars of our

   success.” 114

            350.   Amneal further touts its success in “consistently meet[ing] or exceed[ing] quality,

   industry and global regulatory standards.”115

            351.   As part of their corporate “Purpose and Commitment,” Amneal sets “a high bar for

   our products, pipeline, operations and service—always going the extra mile to exceed expectations

   and reliably execute in everything we do… because patients’ lives depend on it.” 116

            352.   Amneal’s SEC filings clearly acknowledge manufacturers are “required to comply

   with cGMP standards at all times during the production and processing of pharmaceuticals, and

   the FDA may inspect the manufacturer’s sites at any time to ensure compliance.”117 Amneal further

   recognizes “its products must be made in a manner consistent with cGMP” in the United States




   113
      Amneal, Products: Our Portfolio, https://www.amneal.com/products/our-portfolio/ (last
   accessed June 17, 2020).
   114
      Amneal, Products: Quality, https://www.amneal.com/products/quality/ (last accessed June 17,
   2020).
   115
      Amneal, Products: Quality, https://www.amneal.com/products/quality/ (last accessed June 17,
   2020).
   116
       Amneal, About: Our Purpose, https://www.amneal.com/about/our-purpose-commitments/
   (last accessed June 17, 2020).
   117
         http://www.annualreports.com/HostedData/AnnualReports/PDF/NYSE_AMRX_2019.pdf


                                                   97
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   and around the globe and maintains it is “committed to continuing to improve [its] quality control

   and manufacturing practices.”

                   1.      Aurobindo

            353.   Aurobindo insists they are “committed to quality and safety.”118

            354.   Further, Aurobindo “aspire[s] to emerge as a leading global player in high quality,

   innovative specialty generic formulations.”119

            355.   Aurobindo asserts the following “Core Strengths” in “Formulations”120:

                  Vertically integrated operations from conception to commercialization.

                  Large manufacturing capabilities for a diversified product portfolio.

                  Efficient regulatory affairs team ensuring market compliance.

                  Dedicated R&D setup for finished dosages and active ingredients.

                  Technology and expertise for specialty formulations.

            356.   As part of Aurobindo’s “Research and Development” commitment, Aurobindo

   maintains that it meets federal requirements, and is “focused on the areas of organic synthesis,

   analytical research, dosage form development, pharmacology, bio-equivalence studies and drug

   delivery systems.”121




   118
         Aurobindo, https://www.aurobindo.com/ (last accessed June 22, 2020).
   119
      Aurobindo, https://www.aurobindo.com/about-us/business-units/formulations/ (last accessed
   June 17, 2020).
   120
      Aurobindo, https://www.aurobindo.com/about-us/business-units/formulations/ (last accessed
   June 17, 2020).
   121
      Aurobindo, https://www.aurobindo.com/about-us/business-units/rd/ (last accessed June 17,
   2020).


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          357.     Aurobindo further asserts a four-point “instrumentation and analytical knowledge

   base” that the company implements122:

                  Complete impurity profiling in all products developed.

                  Development of analytical methods and specifications from raw materials, to non-

                   compendial finished products.

                  In-house synthesis of reagents for analyzing organolithiums and noble metals.

                  Accelerated and real-time stability studies.

                   2.     Dr. Reddy’s

          358.     Dr. Reddy’s asserts that its “focus on quality helps ensure product safety and

   efficacy.”123

          359.     As part of Dr. Reddy’s manufacturing of generic drugs, Dr. Reddy’s claims it

   “focuses on continual improvement aimed at optimizing processes and eliminating non-value-

   adding efforts in production. These efforts are primarily directed towards reducing variability in

   process and product quality characteristics.” 124

          360.     In order to “achieve” their “Quality Management System,” Dr. Reddy’s insists on

   the following four-step process: 125



   122
      Aurobindo, About Us, https://www.aurobindo.com/about-us/business-units/rd/ (last accessed
   June 17, 2020).
   123
      Dr. Reddy’s, Our Products: Quality, https://www.drreddys.com/our-products/quality/ (last
   accessed June 17, 2020).
   124
      Dr. Reddy’s, Our Products: Quality, https://www.drreddys.com/our-products/quality/ (last
   accessed June 17, 2020).
   125
      Dr. Reddy’s, Our Products: Quality, https://www.drreddys.com/our-products/quality/ (last
   accessed June 17, 2020).


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                          Adopt Quality by Design (QbD) approach in Manufacturing and clearly

                           identify sources of variability and minimize them on an ongoing basis.

                          Be right the first time. Identify and eliminate defects. Improve efficiency.

                          Undertake “risk-based” approach to manufacturing and mitigate risks

                           wherever they are likely to impact quality

                          Develop transparency in all areas of operations and build robust quality

                           culture across the organization.

                    3.     Glenmark

            361.    Glenmark claims to be a “global leader in the development and commercialization

   of generic drugs of the highest quality and value.” 126

            362.    As part of their “Operations”, Glenmark asserts “[our] dedicated employees and

   state-of-the-art manufacturing centers help make our vision a reality… In a highly regulated

   environment, where quality and precision are critical, our manufacturing processes are as rigorous

   as our scientific research. Our state-of-the-art global facilities include all the processes needed to

   manufacture safe products for our consumers.” 127

                    4.     Lannett

            363.    Lannett’s “generic pharmaceutical products have consistently met the highest

   standards, and [its] track record for safety and quality is nearly unmatched.” 128



   126
      Glenmark, Products: Generics, https://glenmarkpharma-us.com/products/generics/ (last
   accessed June 17, 2020).
   127
      Glenmark, Operations, https://glenmarkpharma-us.com/operations/ (last accessed June 17,
   2020).
   128
         Lannett, https://www.lannett.com/approach/ (last accessed June 17, 2020).


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            364.    Lannett maintains that “customers may rest assured that generic pharmaceuticals

   are produced with the same active ingredients and attention to quality as branded versions.” 129

                    5.     Sandoz

            365.    Sandoz insists that “quality is a key priority in every aspect of our work… We are

   committed to giving back more to society than we take. This makes it imperative that we meet and

   exceed regulatory expectations, embracing the highest standards of quality and integrity in our

   work, and ensuring that our decisions are guided always by what’s best for our patients.” 130

            366.    Sandoz commits to delivering “the highest quality products” and that the “Sandoz

   brand is a seal of quality.” 131

                    6.     Strides

            367.    Strides proudly asserts that its “presence” in the United States “enhances [their]

   ability to reach a larger base of customers and patients in need of quality treatment options.” 132

            368.    Strides is “led and driven by its expertise in Research and Development.” 133

            369.    Strides also brags about its resources, describing its “200 plus scientists, the R&D

   team offers solutions across the entire product development chain including strategic sourcing, IP




   129
      Lannett, Patient Resources: FAQ, https://www.lannett.com/patient-resources/faq/ (last
   accessed June 17, 2020).
   130
       Novartis, Our Company, Our Culture and Values: Quality Commitment,
   https://www.novartis.com/our-company/our-culture-and-values/novartis-quality-commitment
   (last accessed June 17, 2020).
   131
      Sandoz, About Us: Who We Are, https://www.sandoz.com/about-us/who-we-are/innovation-
   quality-and-supply (last accessed June 18, 2020).
   132
         Strides, http://www.strides.com/pharma-united-states.html (last accessed June 17, 2020).
   133
         Strides, http://www.strides.com/corporate-rd.html (last accessed June 17, 2020).


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   management, formulation development, analytical method development and validation… bio-

   equivalence, toxicological studies, packaging development and global regulatory submissions.”134

                    7.     Teva

            370.    Teva proudly “strive[s] to deliver quality medicines to patients around the world

   with integrity and ethical business practices.”135

            371.    Under its “Generic FAQs” webpage, Teva responds to the question “are generic

   drugs as safe” by maintaining that their generic drugs “meets…quality standards.”136

            372.    Teva proudly proclaims it is “one of the few global pharmaceutical companies that

   has integrated scientific expertise across generic and specialty (branded) R&D capabilities.” 137

            373.    Teva goes on to insist its “world-class scientists and doctors focus on being first to

   market, while ensuring the quality and affordability of our treatments and medicines. Teva’s R&D

   group has an exceptional track record in translating early drug opportunities into clinically-proven

   drug candidates by using cutting edge research in facilities that are fully equipped to support both

   good laboratory practice (GLP) and current good manufacturing practice (cGMP) regulations.” 138

            374.    Under the “Quality Products” webpage, Teva asserts the following:

                    “We validate and continually monitor our manufacturing processes to ensure they
                    perform as expected. Each of our products is tested to confirm compliance to Teva’s

   134
         Strides, http://www.strides.com/corporate-rd.html (last accessed June 17, 2020).
   135
         Teva, https://www.tevapharm.com/product-focus/generics/ (last accessed June 17, 2020).
   136
       Teva, https://www.tevapharm.com/product-focus/generics/#item(164507) (last accessed June
   17, 2020).
   137
       Teva, https://www.tevapharm.com/product-focus/research/generics-r-d/ (last accessed June
   17, 2020).
   138
       Teva, https://www.tevapharm.com/product-focus/research/generics-r-d/ (last accessed June
   17, 2020).


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                   quality specifications and compliance standards. Because Teva is vertically
                   integrated, we supply a substantial amount of our own active pharmaceutical
                   ingredients. That allows us to closely control product quality… As a result, we have
                   an enviable record of Current Good Manufacturing Practice (cGMP)
                   compliance.”139

                   8.     Wockhardt

            375.   Wockhardt claims it is a global pharmaceutical and biotechnology organization

   “providing affordable, high-quality medicines for a healthier world.”140

            376.   Wockhardt achieves its “success” having built an “international manufacturing

   footprint” that has earned the reputation of a “world-class manufacturer.”141

            377.   According to Wockhardt, its “core business is innovation.” 142 The website goes on

   to proudly proclaim that it “Spearhead[s] Research & Development” and “uses science and

   technology to develop medicines and other products that improve the quality of millions of

   people’s lives through better health.” 143

            378.   Wockhardt further asserts it “has proved its technical excellence by developing

   patented modified release formulations and recombinant biotechnology products. It has a multi-

   disciplinary R&D program with more than 607 scientists, including over 80 doctorates, in the areas

   of… Pharmaceutical Research” and “Active Pharmaceutical Ingredients Research.” 144



   139
      Teva, Products: Our Qualityhttps://www.tevapharm.com/product-focus/our-quality/ (last
   accessed June 17, 2020).
   140
         http://www.wockhardt.com/who-we-are/manufacturing.aspx (last accessed June 17, 2020).
   141
         http://www.wockhardt.com/who-we-are/manufacturing.aspx (last accessed June 17, 2020).
   142
         http://www.wockhardt.com/who-we-are/overview.aspx (last accessed June 17, 2020).
   143
         http://www.wockhardt.com/who-we-are/overview.aspx (last accessed June 17, 2020).
   144
         http://www.wockhardt.com/who-we-are/overview.aspx (last accessed June 17, 2020).


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            379.   The presence of NDMA in Defendants’ Ranitidine-Containing Products results in

   the Ranitidine-Containing Products containing an ingredient that is not also listed on each

   Defendant’s FDA-approved label, breaching warranties arising from such labels, including

   Defendants’ express warranty of compliance. Defendants willfully, recklessly, or negligently

   failed to ensure their products’ labels and other advertising or marketing statements accurately

   conveyed information about their products.

            380.   Defendants have also impliedly warranted that their Ranitidine-Containing

   Products were merchantable and fit for their ordinary purposes.

            381.   Due to its status as a probable human carcinogen as recognized by both the IARC

   and the EPA, NDMA is not an FDA-approved ingredient. The presence of NDMA in their

   Ranitidine-Containing Products means that Defendants violated implied warranties to Plaintiffs.

   The presence of NDMA in Defendants’ Ranitidine-Containing Products results in their being non-

   merchantable and not fit for its ordinary purposes, breaching Defendants’ implied warranty of

   merchantability and/or fitness for ordinary purposes.

            382.   For these and other reasons, Defendants’ Ranitidine-Containing Products are

   therefore adulterated and/or misbranded, and it was illegal for Defendants to have introduced such

   products for sale in the United States. See 21 U.S.C. §§331(a), 351(a)(2)(B), 331(g).

   XI.      Defendants Failed to Comply with Current Good Manufacturing Practices

            383.   Under federal law, a manufacturer must manufacture, store, warehouse, and

   distribute pharmaceutical drugs in accordance with cGMPs to ensure they meet safety, quality,

   purity, identity, and strength standards.145



   145
         21 U.S.C. §351(a)(2)(B).


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            384.    21 C.F.R. §210.1(a) states that the cGMPs establish “minimum current good

   manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

   manufacture, processing, packing, or holding of a drug to assure that such drug meets the

   requirements of the act as to safety, and has the identity and strength and meets the quality and

   purity characteristics that it purports or is represented to possess.” Entities at all phases of the

   design, manufacture, and distribution chain are bound by these requirements.

            385.    Pursuant to 21 C.F.R. §211.142(b), the warehousing of drug products shall provide

   for “[s]torage of drug products under appropriate conditions of temperature, humidity, and light

   so that the identity, strength, quality, and purity of the drug products are not affected.” In other

   words, Defendants had a duty and were obligated to properly store, handle, and warehouse

   ranitidine.

            386.    Any drug not manufactured in accordance with cGMPs is deemed “adulterated

   and/or misbranded” and may not be distributed or sold in the United States.146 State common law

   and statutory law mirror these federal standards.

            387.    As discussed, drugs that are adulterated and misbranded are illegal to sell in the

   United States.

            A.      GSK

            388.    In 2010, GSK signed a settlement plea agreement with the United States

   Department of Justice as part of an ongoing investigation into its compliance and quality control

   operations, including a willful and blatant disregard of the operations that are required under the




   146
         21 U.S.C. §§331(a), 351(a)(2)(B).


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   cGMPs and necessary to assure that all products manufactured are of appropriate safety, identity,

   purity and strength.

          389.    For example, the Department of Justice found that the Site Director at GSK’s Cidra

   facility “interfered with” the functioning of the Quality Unit by “directing that no investigations

   into possible process deficiencies be opened without prior approval and challenging the content of

   investigative reports prepared by the Quality Unit. 147

          390.    In a 2001 inspection the FDA likewise found that GSK was utilizing inadequate

   analytical methods to ensure that drug products could meet their purported shelf life. 148

          391.    However, even when repeatedly presented with these shocking allegations by

   Global Quality Director, Cheryl Eckard, not only did GSK c-suite executives ignore her

   information, but Eckard was eventually made redundant and escorted from the premises.

          392.    GSK endangered patient health while reaping billions of dollars in profits from

   Paxil, Wellbutrin, and Avandia. As we now know, the company was involved in covering up

   scientific data, offering illegal kickbacks to prescribing physicians, intimidating witnesses, and

   defrauding Medicare to profit from these medicines. In the wake of Congressional hearings into

   the company’s outrageous misbehavior,149 GSK’s actions resulted in a criminal investigation and




   147
       http://lib.law.virginia.edu/Garrett/corporate-prosecution-registry/agreements/sbpharmco.pdf
   (last accessed on June 20, 2020).
   148
       Eckard                     Qui                      Tam                    Complaint,
   http://s3.amazonaws.com/fcmd/documents/documents/000/002/093/original/glaxosmithkline-
   puerto-rico_complaint.pdf?1423022024 (last accessed on June 20, 2020).
   149
      Staff Report on GlaxoSmithKline and the Diabetes Drug Avandia, Senate Comm. on Finance,
   111th Cong.2d Sess. 1 (Comm. Print Jan. 2010).


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   the then-largest guilty plea by a pharmaceutical company for fraud and failure to report safety data

   in the country’s history.150

          B.      Generic Manufacturer Defendants

          393.    While generic manufacturers assure consumers that their products are just as

   effective as the RLD, anecdotal evidence suggests that the grossly inadequate manufacturing

   processes and non-compliance with cGMPs in generic manufacturing facilities, especially those

   generic manufacturers who utilize and/or rely on foreign plants are flagrantly violating and

   ignoring the cGMPs that are in place to assure that pharmaceutical drugs sold in the U.S. are not

   adulterated and/or misbranded.

          394.    Katherine Eban recently published a headline-grabbing book titled Bottle of Lies:

   The Inside Story of the Generic Drug Boom, which the New York Times recently described as an

   “invaluable expose” on the failings of the generic drug industry. In Bottle of Lies, Eban argues that

   now-routine misbranding of generic drugs has resulted in a general and justified untrustworthiness

   of the generic drug industry and of such drugs living up to their ANDAs submitted to the FDA. In

   short, the generic drug industry is plagued by what Eban describes as “substandard” drugs not of

   the same quality as what the company purports them to be in ANDA submissions to the FDA.

   Defendants’ Ranitidine-Containing Products are a case in point, and indeed Eban documents

   grossly inadequate manufacturing processes in her book related to Wockhardt, discussed infra.

          395.    Indeed, for some time it has been well documented that generic drugs manufactured

   overseas, particularly in India, were found or suspected to be less safe and effective than their


   150
       U.S. Dep’t of Justice, GlaxoSmithKline to Please Guilty and Pay $3 Billion to Resolve Fraud
   Allegations     and      Failure      to    Report      Safety  Data     (July     2,     2012),
   https://www.justice.gov/opa/pr/glaxosmithkline-plead-guilty-and-pay-3-billion-resolve-fraud-
   allegations-and-failure-report (last accessed June 21, 2020).


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   domestically-made generics due to their grossly inadequate manufacturing processes, procedures

   and compliance with cGMPs.

            396.   The Generic Manufacturer Defendants’ manufacturing operations were no

   exception to this.

                   1.     Amneal

            397.   Between November 17 and 24 of 2019, the FDA conducted inspections of

   Amneal’s New York facility.151 The FDA issued a Form 483 to Amneal on November 24, 2019

   based on its observations citing multiple violations of cGMPs. Specifically, the inspections

   revealed Amneals’s manufacturing equipment was unacceptable in facilitating operations for its

   intended use for Ranitidine-Containing Products. Amneal’s equipment was not designed properly

   based on product characteristic resulting in ill-fitting processing, packaging of products conducive

   to stability issues and degradation.

            398.   During the FDA’s inspections, the inspector observed the mandatory practices

   intended to prevent the packaging and labeling of defective products were not being documented

   at the time of performance in any packaging batch records. The FDA further found the

   responsibilities and procedures of Amneal’s quality control unit were not being fully followed and

   failing to track and maintain change control files per Amneal’s own Standard Operating Procedure

   (“SOP”) relating to filing field alert reports for recalls closed on 10/15/09 and “setup and operation

   of . . Label Inspection System” closed on 10/22/09.




   151
         FDA Form 483, Amneal (November 17, 2019).


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                   2.     Aurobindo

            399.   Aurobindo has an extensive history of deviations from FDA’s cGMP standards,

   and has been inspected an astounding 29 times since 2011, each inspection resulting in a Form 483

   finding of non-compliance with cGMPS.

            400.   After an inspection of a Hyderabad facility from June 27 to July 1, 2016, the FDA

   told Aurobindo that its “[i]investigations are inadequate.” The FDA explained that Aurobindo

   failed to initiate stability testing, and “[t]he deviation record…requires previous deviations of the

   same product or deviation type to be reported, no previous deviations were reported in this field.”

   Moreover, “[t]his is a repeat observation from the 2014 inspection.” 152

            401.   Three months later, the FDA returned to Aurobindo’s Hyderabad facilities and

   found four noteworthy manufacturing problems. First, “[a]n [redacted] Field Alert was not

   submitted within three working days of receipt of information concerning significant chemical,

   physical, or other change or deterioration in a distributed drug product.” Second, “[l]aboratory

   controls do not include the establishment of scientifically sound and appropriate test procedures

   designed to assure that conform [sic] to appropriate standards of identity, strength, quality and

   purity.” Third, “[t]here are no written procedures for production and process controls designed to

   assure that the drug products have the identity, strength, quality, and purity they purport or are

   represented to possess.” Fourth, the “use of instruments and recording devices not meeting

   established specifications was observed.”153




   152
         FDA Form 483, Aurobindo, (June 27, 2016).
   153
         FDA Form 483, Aurobindo, (September 16, 2016).


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            402.   In October 2016, the FDA observed that Aurobindo’s nearby Borpatla facility had

   inadequately validated equipment cleaning procedures. 154

            403.   In April 2017, the FDA observed that the manufacturing equipment in Aurobindo’s

   Hyderabad facilities “is not always maintained to achieve its intended purposes.” “Laboratory

   controls do not include the establishment of scientifically sound and appropriate test procedures

   designed to assure that components and drug products conform to appropriate standards of identity,

   strength, quality and purity.” “Changes to written procedures are not drafted, reviewed and

   approved by the appropriate organizational unit.” “[C]orrective and preventative actions (CAPAs),

   identified and initiated because of out of specifications (OOS) laboratory investigations, do not

   correlate to the identified root cause. In certain cases, CAPAs are not initiated at all.” “Equipment

   used in the manufacture, processing, packing or holding of drug products is not of appropriate

   design to facilitate operations for its intended use.” “Appropriate controls are not exercised over

   computers or related systems to assure that changes in master production and control records or

   other records are instituted only by authorized personnel.” “Procedures designed to prevent

   microbiological contamination of drug products purporting to be sterile are not established.” 155

            404.   Four months later, the FDA reiterated that “[t]here are no written procedures for

   production and process controls designed to assure that the drug products have the identity,

   strength, quality, and purity they purport or are represented to possess.” Second, “[c]ontrol

   procedures are not established which validate the performance of those manufacturing processes




   154
         FDA Form 483, Aurobindo, (October 25, 2016).
   155
         FDA Form 483, Aurobindo, (April 18, 2017).


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   that may be responsible for causing variability in the characteristics of in-process material and the

   drug product.”

            405.    In February 2018, the FDA made nine more disturbing observations at Aurobindo’s

   Hyderabad facilities. First, “[a]septic processing areas are deficient regarding systems for

   maintaining any equipment used to control the aseptic conditions.” Second, “[e]quipment and

   utensils are not cleaned, maintained and sanitized at appropriate intervals to prevent contamination

   that would alter the safety, identity, strength, quality or purity of the drug product.” Third,

   “[e]quipment used in the manufacture, processing, packing or holding of drug products is not of

   appropriate design to facilitate operations for its intended use.” Fourth, “[b]uildings used in

   manufacture, processing, packing or holding of drug products are not free of infestation by rodents,

   birds[,] insects, and other vermin.” Fifth, “[p]rocedures for the cleaning and maintenance of

   equipment are deficient regarding sufficient detail of the methods, equipment, and materials used

   in the cleaning and maintenance operation, and the methods of disassembly and reassembling

   equipment as necessary to assure proper cleaning and maintenance.” Sixth, “[e]mployees engaged

   in the manufacture, processing, packing and holding of a drug product lack the training required

   to perform their assigned functions.” Seventh, the “statistical quality control criteria fail to include

   appropriate acceptance levels and rejection levels.” Eighth, “[e]stablished laboratory control

   mechanisms are not followed and documented at the time of performance.” Lastly, “[a]ppropriate

   controls are not exercised over computers or related systems to assure that changes in master

   production and control records or other records are instituted only by authorized personnel.” 156




   156
         FDA Form 483, Aurobindo, (February 20, 2018).


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            406.   It is clear Aurobindo has made no efforts to correct any of the previously identified

   errors, and continues to engage in grossly inadequate manufacturing processes. During an

   inspection in May 2019, an investigator made note of a panoply of serious issues which continue

   to call the integrity of the manufacturing operations into question.

            407.   For example, in determining that the Medchal, Telangaga facility was not following

   quality control measures, and likewise did not have quality control procedures in place, the

   investigator observed “loose handwritten notebooks with what appears to be laboratory test data

   results.” 157

            408.   The investigator also found a slew of data integrity issues. The investigator

   observed “multiple sequences where interrupted sample injections were injected and showed that

   the sample did not run, shown on the chromatogram as “incomplete data.” The testing systems

   also allowed certain employees to “verify incomplete data in raw data file.” The investigator found

   that the quality control reviewers attested to practices which “contradict actual review practices

   performed by reviews.” Were these baseline data issues not enough, the investigator also noted

   that the facility did not retain adequate backup of the data, other than the assorted loose notebooks

   found lying around the facility.

            409.   The investigator also noted that in addition to all of the gross processing and data

   integrity issues, even the building itself did not have the “suitable construction to facilitate

   cleaning, maintenance and proper operations.” The investigator noted that in a stability sample

   storage room, they observed a “PVC pipe connected to an air conditioner unit on one end,” and a




   157
         FDA Form 483, Aurobindo, (May 24, 2019).


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   blue plastic bucket placed on the other end of the pipe with approximate 50% of the bucket filled

   with condensate water.” There were four other similar setups in other critical rooms in the facility.

                  3.      Dr. Reddy’s

          410.    Dr. Reddy’s blatant disregard for cGMPs runs deep, spanning the course of

   decades, with repeated FDA inspections revealing seriously flawed and unreliable manufacturing

   practices, systemic failures to investigate out of specification analyses, wholly inadequate

   validation testing and analytical methods, and a hopelessly out of order record system. Dr. Reddy’s

   inadequacies and history of recurring and ongoing cGMP violations allowed for contamination,

   degradation and instability in its Ranitidine-Containing Products.

          411.    As early as 2000, Dr. Reddy’s had already adopted manufacturing practices

   designed to turn a blind eye to failing test results and defective materials. On November 9, 2000,

   the FDA issued a Warning Letter to a Dr. Reddy’s affiliate based on its November 7 to 9, 2000

   inspections of its India based facilities regarding its woefully inadequate processes and policies in

   place related to investigations of Out-of-Trend (“OOT”) and Out-of-Spec (“OOS”) results, noting

   the “firm set a blanket policy of not employing the [OOS] procedure for batches of. . .raw material”

   with numerous out of specification results and “. . .have not conducted an investigation to evaluate

   the quality of lots” for failing results and OOT results close to the upper limits.158 Contrary to its

   own SOPs and tenets of quality manufacturing, Dr. Reddy failed to qualify its suppliers and

   shunned its responsibilities to retest and/or investigate the causes or evaluate the frequency of

   failing test results. The FDA additionally observed that Dr. Reddy’s quality control laboratory

   shockingly had no record receipt of or logging of samples tested or received, repeatedly failed to


   158
      FDA Establishment and Inspection Report, Cheminor Drugs Ltd. / Dr. Reddy’s Laboratories,
   (Nov. 9, 2000).


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   conduct periodic testing, failed to demonstrate that its testing meets EPA specifications, and had

   improper validation testing necessary for accurate testing.

               412.   On April 11, 2002, the FDA issued an Establishment Inspection Report outlining

   multiple cGMP deficiencies in Dr. Reddy’s manufacturing including improper cleaning validation

   studies, failure to investigate content uniformity, failure of the packaging line to meet established

   acceptance criteria, and deficient calibration procedures.159

               413.   During its 2002 inspections, the FDA again observed Dr. Reddy’s failing to

   properly investigate OOS results in stability testing for impurities and not following its own written

   procedures requiring “the completion of an Incident Report when incidents affecting the quality,

   purity and strength occur.” Instead, documentation and conclusory statements as to operational

   qualification studies for ranitidine were detected during the inspection and Dr. Reddy’s had failed

   to properly validate its software for the production line, a requirement of cGMPs, and a step

   necessary to insure uniformity and quality products. Dr. Reddy’s again failed to follow-up to

   correct problems detected during manufacturing of ranitidine.160           After receiving multiple

   complaints between January 2001 and January 2002 regarding physical defects with its Ranitidine-

   Containing Products, Dr. Reddy’s failed to perform any investigation into problems with rejected

   batches - “[n]o attempts were made to determine the cause of the failures (physical defects).”

               414.   Rather than learn from its mistakes, Dr. Reddy’s skirted its manufacturing

   obligations by not investigating the sources of problems and not taking corrective actions to avoid

   recurrence. On February 13, 2012, the FDA issued a Form 483 detailing Dr. Reddy’s grossly



   159
         Id.
   160
         FDA Establishment and Inspection Report, Dr. Reddy’s Laboratories Ltd., (April 11, 2002).


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   inadequate procedures and cGMP violations relating to the manufacturing of ranitidine based on

   its inspections from February 8 to 13, 2012 at a Dr. Reddy’s Louisiana facility.161 It was observed

   that Dr. Reddy’s continued to have deficiencies in terms of routine calibration precluding

   assurance of proper performance. Specifically, Dr. Reddy’s failed to monitor printing devices and

   labeling “to verify that labeled containers bearing erroneous expiration dating and lot numbering

   information will be rejected.” And contrary to proper procedures for rejection of materials which

   requires an investigation into rejected materials after 45 days, multiple drums of ranitidine, rejected

   on 12/19/2011, were observed “still in the rejection cage on 2/10/2012” - months later and Dr.

   Reddy’s had failed to initiate any investigation the observation.

            415.   Despite assurances to the FDA that it would fix issues observed in prior inspections,

   Dr. Reddy’s continued to violate cGMPs without appropriately implementing corrective actions.

   After another FDA inspection of its Louisiana facility in late August of 2013, the FDA issued a

   Form 483 relating to the “observations of objectional conditions and practices” from Dr. Reddy’s

   inspection, reported pursuant to Section 704(b) of the Federal Food Drug and Cosmetic Act (21

   U.S.C. §374(b)), which requires a written report “setting forth any conditions or practices observed

   by him, which in his judgment, indicate that any food, drug, device, or cosmetic in such

   establishment (1) consists in whole or in part of any filthy, putrid, or decomposed substance, or

   (2) has been prepared, packed, or held under insanitary conditions whereby it may have become

   contaminated with filth, or whereby it may have been rendered injurious to health.”

            416.   Dr. Reddy’s written records of investigations into failure to meet specifications do

   not include conclusions and follow-up. Between October 2012 and May 2013, Dr. Reddy’s



   161
         FDA Form 483, Dr. Reddy’s Laboratories Louisiana, LLC, (Feb. 13, 2012).


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   received over 250 complaints regarding strange odor and/or taste with its products. However, Dr.

   Reddy’s failed to keep records of all the complaints after May 2013. In August 2013 it was

   discovered “this was a result of patient conditioning and current…production practices, resulting

   in castor oil degradation.” Dr. Reddy’s investigations “do not address adverse events associated

   with complaints…no summary conclusions or closures are addressed.”162

            417.    In 2017, Dr. Reddy’s shoddy manufacturing practices resulted in a massive recall

   of over-the-counter famotidine after discovering impurities and degradation during routine

   stability testing. 163

            418.    Inspections in March of 2020 year continued to demonstrate Dr Reddy’s API

   manufacturing travesties. Dr. Reddy’s failed to appropriately validate the effective shelf lives of

   reference standards provided by third-party suppliers, which are used for Quality Control (“QC”)

   testing of API and API intermediates with “no validation studies” being performed to support such

   statements. The FDA inspector also noted that retest periods for reference standards used in QC

   laboratory analysis of API are not established with supporting analytical data. Failing to maintain

   lab equipment in analytical testing of API to ensure the equipment is suitable for execution in

   accepted USP monograph testing. 164

            419.    Contrary to Dr. Reddy’s repeated assurances to the FDA regarding its purported

   corrective and preventative actions taken over the years and its corporate brochures touting “state-

   of-the-art manufacturing facilities,” “quality beyond compliance” and “uniform manufacturing


   162
         FDA Form 483, Dr. Reddy’s Shreveport Inspection, September 6, 2013.
   163
      https://www.fiercepharma.com/manufacturing/dr-reddy-s-fighting-to-recover-from-fda-
   warning-letter-recalls-500-000-heartburn (last accessed June 21, 2020).
   164
         FDA Form 483, Dr. Reddy’s Rudraram Facility, (March 5, 2020) .


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   and quality standards for all products, regardless of their market,” Dr. Reddy’s has consistently

   and repeatedly contravened the cornerstones of quality drug manufacturing, violating cGMPs and

   encouraging impurities, degradation and instability in its ranitidine containing products.

                  4.      Glenmark

          420.    Glenmark’s manufacturing facilities have been inspected an astounding 16 times

   since 2013. Even more incredible is the fact that each and every inspection resulted in a form 483,

   detailing serious and troubling cGMP violations.

          421.    More recently, in April of 2019, the FDA issued Glenmark a Warning Letter, its

   sternest admonition. A Warning Letter is usually the first step in a process of steps ultimately

   culminates in an import alert if the deficiencies are not immediately and extensively addressed and

   corrected. An import alert would prevent a foreign manufacturer, such as Glenmark, from

   importing any of its product manufactured abroad into the United States. 165

          422.    In the Warning Letter, the FDA cited Glenmark for its failure to “adequately

   investigate multiple temperature excursions that occurred during the shipping” of their drug

   products.   The FDA described inadequate investigations into temperature excursions as an

   “ongoing issue” that was cited during a previous inspection.

          423.    The FDA also found that Glenmark’s quality system is “inadequate” and does not

   “ensure consistent production of safe and effective products.” These findings were a result of

   Glenmark’s repeated failure to “determine the root cause” of serious quality defects and

   “implement CAPA to prevent the recurrence of such defects.”



   165
       https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
   investigations/warning-letters/glenmark-pharmaceuticals-limited-582701-10032019               (last
   accessed June 21, 2020).


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               424.   In a 12-day March 2017 inspection, the FDA found that Glenmark failed to

   demonstrate that its storage warehouse was kept under the “required controlled environmental

   condition” specifically with respect to humidity. The FDA specifically identified a warehouse

   Glenmark used to store “raw materials, primary packaging materials, and finished products.”

   Glenmark had failed to record any humidity information whatsoever.

                      5.     Mylan

               425.   Throughout 2014 and 2015, the FDA began seriously investigating Mylan’s Indian

   manufacturing facilities, routinely uncovering a multitude of violations of the cGMPs, and finding

   that Mylan responded with letters that lacked corrective action. These violations included failure

   to establish and follow written procedures to prevent microbiological contamination of drug

   products, lack of assurance that the manufacturing facilities were sterile, and failures to thoroughly

   investigate unexplained discrepancies in batches or whether the components met specifications.166

               426.   In 2015, a former Mylan employee sat down with FDA employees and alleged that

   the research and development centers in Hyderabad had become a hub for data fraud.167

               427.   The Mylan whistleblower identified specific applications for drugs that were due

   to be launched into the American market, claiming that in order to generate passing results for

   some drug products, Mylan had manipulated the testing, by switching the tests from batch testing

   to pilot batches (which were easier to control, but not as reliable in ensuring the results as they

   were smaller in size).168


   166
       https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
   investigations/warning-letters/mylan-laboratories-limited-464863-08062015 (last June 20, 2020).
   167
         See Katherine Eban, Bottle of Lies (2019) at p. 328.
   168
         Id.


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               428.   The Mylan whistleblower also claimed that the Mylan team had evolved its

   fraudulent methods to evade detection. For example, instead of deleting manipulated data from

   the plant’s software systems, which would have left a trail of metadata that could be uncovered by

   the FDA, plant managers were deliberately corrupting the data they wanted to hide. 169

               429.   In July of 2016, upset by the failure of the FDA to investigate, the Mylan

   whistleblower sent an email to FDA officials that said: “I learned that Mylan’s strategy of

   providing employment to FDA members has been working very well…Perhaps the agency awaits

   a definitive tragedy to occur on U.S. soil due to sub-standard generic products not meeting the

   safety & efficacy standards.” 170

               430.   The email had the intended effect. Two months later, in September 2016, the FDA

   inspected the Mylan India facilities.171

               431.   Over the course of the week-long inspection, the FDA found evidence that the

   plant’s software system was riddled with error messages showing “instrument malfunction,” or

   “power loss,” as though Mylan was literally pulling the plug from the wall to stop the creation of

   metadata showing failed testing.

               432.   In confidential correspondence with the FDA, Mylan tried to explain the high

   number of data error messages (42 over a seven-day period), but provided insufficient and illogical

   responses, arguing that there may have been accidental knocking of cables off of tables, or through

   electronic loss of signals. For another error that was observed (150 times over seven days), the



   169
         Id.
   170
         See Katherine Eban, Bottle of Lies (2019) at p. 329.
   171
         Id.


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   partial explanation given by Mylan was that some software settings led to the “unintended

   consequence of a number of repetitive error messages.” 172

               433.   The FDA did not buy these excuses. In a stern Warning Letter sent to Mylan in

   April of 2017, the FDA effectively froze the site’s applications until the company took corrective

   actions. The letter noted that Mylan’s quality systems did not “adequately ensure the accuracy

   and integrity of the data.” 173

               434.   But Mylan’s issues were not solely limited to its India operations. Several months

   after the April 2017 letter regarding the India operations, Mylan operations in West Virginia were

   under scrutiny.       The allegations were that laboratory technicians had failed to investigate

   anomalous results and had instead falsified records to cover-up any anomalous results. Regulators

   were “stunned” by the lapses, finding the practices “egregious,” and questioned whether Mylan

   was being “transparent at all of its sites.” 174

               435.   The inspectors also found bins full of shredded documents, including quality-

   control records, in parts of the factory where every piece of paper is supposed to be saved. 175

               436.   The list of alleged infractions became so long that a fourth inspector was added. A

   Warning Letter, the FDA’s strongest rebuke, was drafted. 176



   172
         See Katherine Eban, Bottle of Lies (2019) at p. 331.
   173
         Id.
   174
         See Katherine Eban, Bottle of Lies (2019) at p. 332.
   175
      https://www.bloomberg.com/news/features/2019-01-29/america-s-love-affair-with-cheap-
   drugs-has-a-hidden-cost (last accessed June 20, 2020).
   176
      https://www.bloomberg.com/news/features/2019-01-29/america-s-love-affair-with-cheap-
   drugs-has-a-hidden-cost (last accessed June 20, 2020).


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               437.   Ultimately, the FDA’s director of the Office of Manufacturing Quality, Tom

   Cosgrove, made the controversial decision, over the strenuous objections of staff in two separate

   FDA divisions, to downgrade the investigators’ negative findings at Morgantown, WV from

   Official Action Indicated to Voluntary Action Indicated. 177

               438.   In an email to FDA colleagues, Cosgrove acknowledged their view that the

   company’s practices were “more widespread and that Mylan’s investigation was insufficient,” but

   ultimately defended his decision and said that he had no reason to believe that Mylan would not

   “remediate voluntarily.” 178

               439.   However, while Mylan’s Morgantown plant was no longer receiving intensive

   agency scrutiny, it did little to resolve the issues.

               440.   In early 2018, a whistleblower from inside the Morgantown plant reached out to

   the FDA to report deteriorating conditions, from understaffing to cleaning lapses.           The

   whistleblower from inside the plant claimed that Mylan management was focused on creating a

   “façade of documents” to fend off the FDA, according to an agency memo that detailed the

   allegations. The whistleblower also notified the FDA that Mylan had brought in a team of

   employees from India to the Morgantown, WV facility, to rapidly close a backlog of company

   investigations, and that employees were instructed not to question their work.179

               441.   Consequently, the FDA inspected the Morgantown, WV facility again in March

   and April of 2018. The inspectors found a host of new violations, including that Mylan’s



   177
         See Katherine Eban, Bottle of Lies (2019) at p. 333.
   178
         Id.
   179
         Id.


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   manufacturing equipment was not cleaned at appropriate intervals to prevent contamination, and

   that Mylan’s attempts to address the purported testing from the 2016 inspection was “not

   adequate.” 180

                    6.       Teva

            442.    Teva has been the extensive subject of FDA investigations finding repeated failures

   to follow cGMP and the core tenets of quality manufacturing of drug products. The FDA has

   commonly observed systemic problems with Teva failing to extend investigations of questionable

   or failing results to other batches of the same drug and utilizing improper analytical methods in an

   attempt to justify results.

            443.    On August 26, 2010 the FDA issued a Form 483 to Teva based on its August 23 to

   26, 2010 inspections and cGMP violations observed at its facilities located in Israel.181 During the

   inspections the FDA found a complete lack of “established procedures to ensure water meets all

   WHO and EPA standards” and protect water used in its products from contamination. In its Form

   483, the FDA notes that Teva’s “SOP for monitoring water systems does not allow for full

   investigations of the water manufacturing process when water fails to meet established

   contaminant limits.” The FDA’s inspections also pulled the curtain back on Teva’s lack of control

   procedures to “monitor the output and validate the performance of those manufacturing processes

   that may be responsible for causing variability in the characteristics of in-process material and the

   drug product.” Specifically, process control parameters to ensure “an adequate and consistent seal

   in the drug container.”


   180
      https://www.bloomberg.com/news/features/2019-01-29/america-s-love-affair-with-cheap-
   drugs-has-a-hidden-cost (last accessed June 21, 2020).
   181
         FDA Form 483, Teva Pharmaceutical Industries, Ltd., (August 26, 2010).


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            444.   Shortly thereafter, from September 12 to 16, 2010, the FDA conducted inspections

   of another Teva facility located in Israel, finding serious deficiencies in laboratory control systems

   and failures to adequately investigate OOS results.182 The FDA issued a Form 483 on September

   16, 2010 citing Teva’s cGMP violations, specifically noting Teva’s SOP “does not provide a

   scientific sound approach nor pre-determine criteria for further investigating OOS or questionable

   analytical results.” Instead of properly re-testing and re-confirming results of lots with

   questionable impurity assays, Teva employed a host of varying, unreliable and unpredictable

   analytic and stability testing methods. For example, Teva offered no justification for its decision

   to “prepare…a new sample composite and analyze it with the original sample composite” instead

   of following proper re-testing procedures. The FDA further found Teva had no logical rationale

   for its “decision…to perform a re-test using new tablets and not the original stock solution. . . [and]

   to use a different HPLC system, new standards, and solvent solutions” or conducting a re-test “with

   an average result” of percentages obtained. Such practices fly in the face of quality manufacturing

   and Teva’s “investigation failed to address the analytical variability and document appropriate

   corrections actions (CAPA).”

            445.   During its September 2010 inspections, the FDA also noticed serious and

   significant deficiencies with Teva’s manufacturing practices including improper handling of

   components and drug products in an inadequate manner and lack of documented assessments of

   defined areas and control systems necessary to avoid contamination of its drug products.

            446.   On June 6, 2012, the FDA issued yet another Form 483 to Teva based on its June 4

   to 6, 2012 inspections of its facility located in India, citing cGMP violations in the manufacturing



   182
         FDA Form 483, Teva Pharmaceutical Industries, Ltd., (September 16, 2010).


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   of API.183 The FDA inspections revealed Teva’s complete disregard for proper stability testing

   and validation reports imperative to “generate[] data to demonstrate the increase in batch size and

   change in impurity release specifications. . . for commercial manufacturing process.” Sizing up

   from small lab batches to commercial production requires diligence along the way to ensure quality

   is not lost on quantity.

            447.   Critical operating parameters must be defined in the production process. To the

   contrary, the FDA found Teva’s SOPs, initially approved in April of 2010, wholly inadequate in

   that it allows “a limited quantity to be ordered for conducting testing without defining sample size

   requirements.” Under these standards “testing to approve a supplier is only required from a

   minimum of. . .production batches to qualify the new supplier of active raw materials.” Perhaps

   most importantly, the SOP allows newly sourced raw materials to not be routinely placed on

   stability testing. Teva’s SOP for stability testing was found lacking any clearly defining

   requirements. Its SOP simply stated “stability tests will be performed in accordance with the QA

   manager” without clearly defining a requirement (emphasis in original).

            448.   During its 2012 inspections of Teva’s API facility, the FDA also discovered several

   examples of GMP related deficiencies where Teva made changes to its manufacturing process

   without documenting change controls. Specifically, Teva changed its sources of starting raw

   material, changed its release specification for impurity and changed its release specifications for

   API without documented change controls.

            449.   Teva’s trend of ignoring crucial control procedures in its manufacturing practices

   is widespread. In early September of 2016, the FDA conducted inspections of a Teva facility



   183
         FDA Form 483, Teva API India, Ltd., (June 6, 2012).


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   located in India and again issued a Form 483 to Teva, revealing the absence of established control

   procedures “which monitor the output of those manufacturing processes that may be responsible

   for causing variability in the characteristics of in-process material and the drug product.”184

            450.   As in prior FDA inspections, in 2016 the FDA again observed undocumented,

   unfinished and incomplete investigations of multiple Manufacturing Deviation Reports evidencing

   Teva’s lack of in-process controls leading to failing results and defective products. For example,

   Teva’s manufacturing lacked process controls to test the integrity of products and limit exposure

   to ambient humidity prior to use by consumers. After discovering the root cause dealt with pressure

   settings on equipment not able to detect compromised product with large holes, Teva looked back

   at 20 batches “that could potentially be affected by this issue.” During the inspection, the FDA

   determined “that additional batches that were not considered in the investigation could have been

   affected by this issue.”

            451.   FDA completed inspections in late September 2016 and issued a Form 483 to

   Teva’s Chinese affiliate on September 29, 2016, after observing Teva’s “manufacturing process is

   not in a state of control.” The FDA specifically observed that after multiple OOS batches were

   produced with impurities, none of Teva’s closed investigations “determined a root cause and no

   corrective actions were taken.” And none of Teva’s previous investigations identified effective

   corrective actions and Teva’s “[a]ctions described during investigations were not implemented

   within the quality system in a timely manner.” For example, after concluding a potential root cause

   for impurity could be the amount of a component added per batch and recommending a maximum




   184
         FDA Form 483, Teva Pharmaceutical Industries, Ltd., (Sept. 15, 2016).


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   amount per batch be use, Teva astonishingly did “not formally include[] in a change control, batch

   record update, or documented training.”

          452.    Similarly, after Teva determined a high yield range of crude product in batches was

   discovered with 7 deviations for yield since September 2015 (a year earlier), the reason for

   variability was determined to be “human error.” Teva did not document same and “no further

   action was taken to address this variability.”

          453.    In its 2016 inspections, the FDA also determined Teva’s compliance with cGMPs

   were deficient in the following manners:

         Teva failed to demonstrate that its manufacturing process “can …manufacture an API

          meeting its predetermined quality attributes”;

         Teva failed to include expanded sampling to evaluate variability for specification at almost

          all steps after manufacturing resulted in 8 OOS and 12 OOT results for unspecified

          impurities during 2014.

         Teva failed to record data contemporaneously, and failure to prevent unauthorized access

          or changes to data and to provide adequate controls to prevent manipulation and omission

          of data – key principals in quality manufacturing; and

         Teva failed to perform a thorough review of data.

          454.    FDA’s most recent inspections of Teva’s India facilities occurred from April 8 to

   16, of 2019. Based on its inspections, the FDA issued a Form 483 on April 16, 2019, citing multiple

   violations of cGMPs relating to risk assessments inadequacies and failure to evaluate all root

   causes for impurities. A FDA “For Cause” inspection of Teva affiliate from April 8 to 16, 2019

   was initiated to investigate APIs “that are implicated for potential contamination with carcinogenic




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   and mutagenic impurities” and distributed in the U.S.185 At the conclusion of the inspection, Teva

   was issued a Form 483 for “[i]nadequate risk assessment by the quality unit” for failing to

   “evaluate all potential root causes for contamination of [] APIs” and failing to “follow the

   responsibilities and procedures applicable to quality control unit.”186

            455.   The FDA found Teva “did not thoroughly assess [key starting materials] KSMs for

   the potential contamination of genotoxic and suspected human carcinogenic. . .derivatives. . .and

   other. . .impurities,” despite knowingly receiving multiple KSMs for APIs from a manufacturer of

   KSMs with processes identified as having a “high risk of forming. . . impurities.” Even after

   detecting an impurity in February 2019, Teva failed to develop a formal process to assess raw

   materials for impurities. Teva did not take, test or consider any samples of key raw materials, but

   chose to conduct a wholly inappropriate “theoretical evaluation” in order to detect impurity

   pathways.

            456.   Additionally, Teva failed to re-assess its cleaning validation program of non-

   dedicated equipment. During its inspection, the FDA discovered unwrapped production equipment

   stored outside with “what appeared to be bird feces,” in a manner wholly inadequate to “prevent

   contamination or carry-over material that would alter the quality” of the overall product.

                   7.      Wockardt

            457.   The history and story of Wockhardt’s cGMP violations were described in

   scintillating detail in Bottle of Lies.




   185
         FDA Establishment Inspection Report, Teva API India Pvt. Ltd, (April 8-16, 2019).
   186
         FDA Form 483, Teva API India Pvt. Ltd., (April 16, 2019).


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               458.   For example, on the first day of a March 2013 inspection of Wockhardt’s

   Maharashtra, India facility, an FDA Inspector named Peter Baker observed an employee hurl a

   black garbage bag beneath a stairwell. Inside the bag were torn original records, which showed

   serious deficiencies with one of Wockhardt’s products.187

               459.   Upon further inquiry into this document, Baker discovered that the records

   contained in the black garbage bag were batch records associated with a manufacturing line that

   Wockhardt had claimed did not exist, but, as it turned out, operated secretly within the plant.188

               460.   As the inspectors progressed, Baker and his team of FDA inspectors fell ill, and

   suspected they had been given unsealed water bottles that were contaminated to make them fall ill

   in order to cause the inspectors to shorten their inspection. 189

               461.   Nevertheless, the Inspectors persisted with their duties.

               462.   However, they were met with obfuscation and obstruction on the part of Wockhardt

   executives and employees.

               463.   As documented in the Establishment Inspection Report190 associated with the

   March 2013 inspection, FDA inspectors were lied to and/or mislead on at least 6 occasions:

                     Wockhardt employees lied about the existence of additional records that had been
                      placed in the trash area, claiming no further records existed. However, upon
                      additional review, the inspector found more records set to be destroyed, including
                      stability protocol records;




   187
         Katherine Eban, Bottle of Lies (2019) at p. 304.
   188
         Id.
   189
         Id. at p. 306.
   190
         FDA Establishment Inspection Report, Wockhardt, (March 2013).


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                    When asked about the contents of partially labeled glass vials Baker observed
                     strewn about, a Wockhardt employee began immediately dumping the contents of
                     the vials into a drainage sink in front of Baker, destroying the evidence, and then
                     declared that the content of the vials could not be determined;

                    Wockhardt employees lied about the contents of certain forms used to record the
                     visual inspection of products;

                    Wockhardt executives lied about the existence of a second manufacturing facility,
                     which they had previously denied ever existed, which was contaminating drugs
                     with metal pieces. Despite this being a hidden manufacturing line, and lying about
                     its existence to Baker and the other FDA inspectors, this line was manufacturing
                     product being shipped into the US;

                    Wockhardt employees lied about the destruction of samples, which were not
                     recorded in the logbook; and

                    Wockhardt lied about the company’s system and controls in place to ensure the
                     integrity of electronic data collected during testing, and company employees gave
                     contradictory answers about who was qualified to run tests on the HPLC
                     instrumentation.

             464.    On the final day and as part of the inspection’s close out, Baker presented his

   findings to the company’s vice president of manufacturing. After informing the Wockhardt

   official that he was reporting discrepancies between “unofficial” and “official” manufacturing

   batch records for product that was shipped to the United States, the executive threateningly

   demanded that Baker remove that observation from the report.191

             465.    After refusing to remove the observation from their report, and light of his

   suspicions he had been given poisoned water intended to make him sick, Baker felt unsafe at the

   facility.     However, when another inspector wanted to mail back the evidence, Wockhardt



   191
         Id. at p. 306.


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   executives changed their threatening demeanor, and offered to call DHL, the global shipping

   service, to arrange for the shipment. However, as the process to arrange for shipping unfolded,

   Baker suspected that the person was not a DHL employee, but was instead a Wockhardt facility

   employee seeking to retain possession of the records demonstrating Wockhardt’s non-compliance

   with cGMPs. This suspicion proved to be correct.

            466.    The FDA inspectors were in fear of their own personal safety and they arranged for

   their own transportation back to their hotel.192

            467.    Baker would later go on to note in his inspection report that “[d]ue to the threatening

   behavior and personal safety concerns encountered during this inspection, it is suggested that an

   inspectional team perform the follow-up inspection with a clear emergency plan in place prior to

   arrival.” 193

            468.    Undeterred, and concerned for the safety of American patients, Baker and his team

   of FDA inspectors returned several months later to inspect another Wockhardt facility in July of

   2013.

            469.    During that inspection, Baker painted an equally troubling pattern of elaborate

   fraud, extreme hazard, and filth by Wockhardt employees and executives.

            470.    Such shocking allegations detailed in the Form 483194 included:

                   Urinals that lacked adequate draining systems, leaving urine to “fall directly onto
                    the floor” where it was collected in open drains;




   192
         Katherine Eban, Bottle of Lies (2019) at p. 306.
   193
         Katherine Eban, Bottle of Lies (2019) at p. 306.
   194
         FDA Form 483, Wockhardt’s Aurangabad Facility, (July 2013).


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                 Significant mold growth in storage areas, and finished product being stored in
                  makeshift areas;

                 No written controls or procedures associated with the cleaning or temperate
                  controls for any storage areas;

                 Failure to follow written stability program, as evidenced by open bottles missing
                  pills that were in storage for stability testing; and

                 No evidence that samples are taken according to sampling plans and/or procedures
                  that are representative of the batch of material from when they are taken.

  XII.    The Truth Was Revealed When an Independent Pharmacy and Testing Laboratory
          Discovered NDMA in Defendants’ Ranitidine-Containing Products, Leading
          Defendants No Choice but to Recall and Stop Selling

          471.    On September 9, 2019, Valisure filed its Citizen Petition calling for the recall of all

   Ranitidine-Containing Products due to exceedingly high levels of NDMA found in Ranitidine-

   Containing Products. The FDA and European regulators started immediately reviewing the safety

   of ranitidine with specific focus on the presence of NDMA.195 This set off a cascade of recalls by

   the Brand Manufacturer Defendants, Generic Manufacturer Defendants, Retailers, and

   Repackagers.

          472.    On September 13, 2019, the FDA’s Director for Drug Evaluation and Research, Dr.

   Janet Woodcock, issued a statement warning that some ranitidine medicines may contain

   NDMA.196


   195
       FDA, FDA Updates and Press Announcements https://www.fda.gov/drugs/drug-safety-and-
   availability/fda-updates-and-press-announcements-ndma-zantac-ranitidine (last accessed June 19,
   2020); European Medicines Agency, EMA to review ranitidine medicines following detection of
   NDMA (Sept. 13, 2019), https://www.ema.europa.eu/en/news/ema-review-ranitidine-medicines-
   following-detection-ndma (last accessed June 19, 2020).
   196
      https://www.fda.gov/news-events/press-announcements/statement-alerting-patients-and-
   health-care-professionals-ndma-found-samples-ranitidine (last accessed June 19, 2020).


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          473.   On September 24, 2019, Generic Manufacturer Defendant Novartis voluntarily

   recalled all of its Ranitidine-Containing Products due to concerns of a “nitrosamine impurity, N-

   nitrosodimethylamine (NDMA), which was found in the recalled medicine.”197

          474.   On September 26, 2019, Generic Manufacturer Apotex and Retailers such as

   Walgreens, Walmart, and Rite Aid voluntarily recalled all of their Ranitidine-Containing Products

   and removed them from shelves.198 Apotex issued a statement, noting that “Apotex has learned

   from the U.S. Food and Drug Administration and other Global regulators that some ranitidine

   medicines including brand and generic formulations of ranitidine regardless of the manufacturer,

   contain a nitrosamine impurity called N-nitrosodimethylamine (NDMA)[.]”199

          475.   On September 28, 2019, CVS stated that it would stop selling Zantac and its CVS-

   repackaged ranitidine out of concern that they might contain a carcinogen.




   197
       U.S. Food & Drug Administration, FDA announces voluntary recall of Sandoz ranitidine
   capsules following detection of an impurity (Sept. 24, 2019), https://www.fda.gov/news-
   events/press-announcements/fda-announces-voluntary-recall-sandoz-ranitidine-capsules-
   following-detection-impurity (last accessed June 19, 2020).
   198
      FDA Updates and Press Announcements, https://www.fda.gov/drugs/drug-safety-and-
   availability/fda-updates-and-press-announcements-ndma-zantac-ranitidine (last accessed June 21,
   2020).
   199
       U.S. Food & Drug Administration, Apotex Corp. Issues Voluntary Nationwide Recall of
   Ranitidine Tablets 75mg and 150mg (All pack sizes and Formats) due to the potential for Detection
   of an Amount of Unexpected Impurity,N-nitrosodimethylamine (NDMA) Impurity in the product
   (Sept. 25, 2019), https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/apotex-
   corp-issues-voluntary-nationwide-recall-ranitidine-tablets-75mg-and-150mg-all-pack-sizes-and
   (last accessed June 19, 2020).


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               476.   On October 2, 2019, the FDA ordered manufacturers of ranitidine to test their

   products and recommended using an LC-HRMS testing protocol, which “does not use elevated

   temperature.”200

               477.   On October 8, 2019, Brand-Name Manufacturer Defendant GSK voluntarily

   recalled all Ranitidine-Containing Products internationally.201 As part of the recall, GSK publicly

   acknowledged that unacceptable levels of NDMA were discovered in Zantac and noted that “GSK

   is continuing with investigations into the potential source of the NDMA.”202

               478.   On October 18 and 23, 2019, Brand-Name Manufacturer Defendant Sanofi and

   Generic Manufacturer Dr. Reddy’s voluntarily recalled all of their Ranitidine-Containing

   Products.203

               479.   On October 28, 2019, Generic Manufacturer Defendants Perrigo, Novitium, and

   Lannet voluntarily recalled all their Ranitidine-Containing Products.204



   200
      FDA, FDA Updates and Press Announcements. https://www.fda.gov/drugs/drug-safety-and-
   availability/fda-updates-and-press-announcements-ndma-zantac-ranitidine (last accessed June 19,
   2020).
   201
       Medicines and Healthcare products Regulatory Agency, Press Release, Zantac-MHRA drug
   alert issued as GlaxoSmithKline recalls all unexpired stock (Oct. 8, 2019),
   https://www.gov.uk/government/news/zantac-mhra-drug-alert-issued-as-glaxosmithkline-recalls-
   all-unexpired-stock (last accessed June 19, 2020).
   202
       Justin George Varghese, GSK recalls popular heartburn drug Zantac globally after cancer
   scare, REUTERS (Oct. 8, 2019), https://www.reuters.com/article/us-gsk-heartburn-zantac/gsk-
   recalls-popular-heartburn-drug-zantac-globally-after-cancer-scare-idUSKBN1WN1SL        (last
   accessed June 19, 2020).
   203
      FDA, FDA Updates and Press Announcements, https://www.fda.gov/drugs/drug-safety-and-
   availability/fda-updates-and-press-announcements-ndma-zantac-ranitidine (last accessed June 19,
   2020).
   204
         Id.


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          480.    In its recall notice, Generic Manufacturer Defendant Perrigo stated, “[a]fter

   regulatory bodies announced that ranitidine may potentially contain NDMA, Perrigo promptly

   began testing of its externally sourced ranitidine API (active pharmaceutical ingredient) and

   ranitidine-based products. On October 8, 2019, Perrigo halted shipments of the product based

   upon preliminary results. Based on the totality of data gathered to date, Perrigo has made the

   decision to conduct this voluntary recall.”205

          481.    Generic Manufacturer Defendant Lannett also acknowledged the presence of

   NDMA in the active pharmaceutical ingredient it used to manufacture ranitidine in its recall notice:

   “Lannett was notified by FDA of the potential presence of NDMA on September 17, 2019 and

   immediately commenced testing of the Active Pharmaceutical Ingredient (API) and drug product.

   The analysis confirmed the presence of NDMA.”206

          482.    In each instance, the Brand-Name and Generic Manufacturer Defendants or

   retailers chose to recall or stop the sale of all Ranitidine-Containing Products because the problem

   was so pervasive none could be safely sold.

          483.    On November 1, 2019, the FDA announced the results of recent testing, finding

   “unacceptable levels” of NDMA in Ranitidine-Containing Products, and requested that drug




   205
       U.S. Food & Drug Administration, Perrigo Company plc Issues Voluntary Worldwide Recall
   of Ranitidine Due to Possible Presence of Impurity, N-nitrosodimethylamine (NDMA) Impurity
   in the Product (Oct. 23, 2019), https://www.fda.gov/safety/recalls-market-withdrawals-safety-
   alerts/perrigo-company-plc-issues-voluntary-worldwide-recall-ranitidine-due-possible-presence-
   impurity-n (last accessed June 21, 2020).
   206
       FDA, Lannett Issues Voluntary Nationwide Recall. https://www.fda.gov/safety/recalls-
   market-withdrawals-safety-alerts/lannett-issues-voluntary-nationwide-recall-ranitidine-syrup-
   ranitidine-oral-solution-usp-15mgml-due (last accessed June 19, 2020).


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   makers begin to voluntarily recall their Ranitidine-Containing Products if the FDA or

   manufacturers discovered NDMA levels above the acceptable limits.207

          484.    Between November 1, 2019 and February 27, 2020, the following Generic

   Manufacturers and Repackagers recalled their products from the market, citing NDMA concerns:

   Aurobindo, Amneal, American Health Packaging, GSMC, Precision Dose, Glenmark, Appco, and

   Denton Pharma.208

          485.    On January 2, 2020, research laboratory, Emery, submitted a Citizen Petition to the

   FDA, showing that NDMA accumulates in ranitidine at unsafe rates when exposed to label-

   compliant temperature ranges that would occur during normal transport and storage conditions.

          486.    Emery’s Citizen Petition outlined its substantial concern that ranitidine is a time-

   and temperature-sensitive pharmaceutical product that develops NDMA when exposed to heat, a

   common occurrence during shipping, handling, and storage. In addition to warning about this

   condition, Emery requested agency directives to manufacturers and distributors to ship ranitidine

   in temperature-controlled vehicles.

          487.    In response,209 on April 1, 2020, the FDA recounted that a recall is an “effective

   methods [sic.] of removing or correcting defective FDA-regulated products . . . particularly when




   207
       U.S. Food & Drug Administration, Laboratory Tests | Ranitidine, Laboratory analysis of
   ranitidine      and      nizatidine      products,      https://www.fda.gov/drugs/drug-safety-and-
   availability/laboratory-tests-ranitidine (last accessed June 15, 2019).
   208
       FDA, FDA Updates and Press Announcements, https://www.fda.gov/drugs/drug-safety-and-
   availability/fda-updates-and-press-announcements-ndma-zantac-ranitidine. (last accessed June
   19, 2020).
   209
      https://www.fda.gov/news-events/press-announcements/fda-requests-removal-all-ranitidine-
   products-zantac-market (last accessed June 19, 2020).


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   those products present a danger to health.”210         The FDA sought the voluntary consent of

   manufacturers to accept the recall “to protect the public health from products that present a risk of

   injury.”211 The FDA found that the recall of all Ranitidine-Containing Products and a public

   warning of the recall was necessary because the “product being recalled presents a serious health

   risk.”212 The FDA therefore sent Information Requests to all applicants and pending applicants of

   Ranitidine-Containing Products “requesting a market withdrawal.”213

               488.   The FDA found its stability testing raised concerns that NDMA levels in some

   ranitidine products stored at room temperature can increase with time to unacceptable levels. In

   the same vein, FDA testing revealed NDMA levels were higher as the products approached their

   expiration dates.      The FDA’s testing eroded the agency’s confidence that any Ranitidine-

   Containing Products could remain stable through its labeled expiration date. Consequently, the

   FDA withdrew the products from the market. The FDA’s decision to withdraw the drug rendered

   moot Emery’s request for temperature-controlled shipping conditions.

               489.   The FDA’s reaction was consistent with comparable regulatory action throughout

   the world. Before the FDA acted, over 43 different countries and jurisdictions took action to

   restrict or ban Ranitidine-Containing Products.214


   210
         Id. (citing 21 CFR 7.40(a)).
   211
         Id.
   212
         Id.
   213
         Id. at 10.
   214
       Margaret Newkirk and Susan Berfield, FDA recalls are always voluntary and sometimes
   haphazard – and the agency doesn’t want more authority to protect consumers, Bloomberg
   Businessweek (Dec. 13, 2019), https://www.bloomberg.com/graphics/2019-voluntary-drug-
   recalls-zantac/ (last accessed June 19, 2020).


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          490.    The European Medicines Agency (“EMA”), the European Union’s equivalent to

   the FDA, through an Article 31 Referral, determined the sale of all ranitidine products should be

   suspended on September 19, 2019. On April 30, 2020, the Human Medicines Committee of the

   EMA “recommended the suspension of all ranitidine medicines in the EU due to the presence of

   low levels of an impurity called N-nitrosodimethylamine (NDMA).” The EMA recognizes

   NDMA as a probable human carcinogen and issued a “precautionary suspension of these

   medicines in the EU” because “NDMA has been found in several ranitidine medicines above levels

   considered acceptable, and there are unresolved questions about the source of the impurities.”215

  XIII.   Defendants’ Conduct Caused Economic Injury to Plaintiffs and TPP Class
          Members

          491.    As a direct and proximate result of Defendants’ breaches of express and implied

   warranties, wrongful acts, fraudulent misrepresentations and omissions, and negligence in

   connection with their development, design, manufacture, marketing, sale, handling, storage,

   distribution, and promotion of Ranitidine-Containing Products as detailed herein, Plaintiffs and

   TPP Class members suffered economic losses.

          492.    Plaintiffs and TPP Class members did not know that the drugs were not

   manufactured in such a manner to assure that the Ranitidine-Containing Products were of

   appropriate safety, quality, purity, identify and strength. This is evidenced by the fact that

   Defendants’ Ranitidine-Containing Products contained NDMA, a known human carcinogen.

   Plaintiffs and TPP Class members reasonably and justifiably relied on Defendants’




   215
       European Medicines Agency, Suspension of ranitidine medicines in the EU (Mar. 30, 2020),
   https://www.ema.europa.eu/en/medicines/human/referrals/ranitidine-containing-medicinal-
   products (last accessed June 15, 2020).


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   misrepresentations, omissions, concealments, and/or failure to disclose materials facts about the

   Ranitidine-Containing Products.

          493.    As a direct and proximate result of Defendants’ breach of their express and implied

   warranties to consumers that their products were consistent with the safety, quality, purity, identity,

   and strength characteristics reflected in the FDA-approved labels and/or were not adulterated

   and/or misbranded; failure to manufacture, store, warehouse, and distribute their products in

   accordance with cGMPs; failure to adequately inspect/test the drugs during the manufacturing

   process; failure to implement procedures that would reduce or eliminate NDMA levels in

   Ranitidine-Containing Products; breach of their duty to provide appropriate and accurate

   instructions regarding the proper storage and handling of Ranitidine-Containing Products; and

   breach of their duty of reasonable care and failure to exercise ordinary care in the design, research,

   development, manufacture, testing, labeling, marketing, supply, promotion, advertisement,

   packaging, warning, sale, and distribution of Ranitidine-Containing Products, Plaintiffs and TPP

   Class members suffered damages through their reimbursement for purchases of Ranitidine-

   Containing Products that were adulterated, misbranded, illegal to sell, and therefore economically

   worthless.

          494.    Had Plaintiffs and the TPP Class members known the drugs were manufactured in

   such a way that rendered them adulterated and misbranded, they would not have reimbursed for

   purchases of Ranitidine-Containing Products. Nor would they be required to reimburse for such

   products, as adulterated and misbranded products are illegal to sell and would not have been on

   the market, much less on a TPP’s formulary.

          495.    Accordingly, Plaintiffs and TPP Class members have been injured because they

   paid reimbursements for an economically worthless drug they otherwise would not have been


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   obligated to pay, and suffered out-of-pocket loss. Thus, Plaintiffs and the TPP Class members

   have suffered concrete injury as a direct and proximate result of Defendants’ wrongful conduct.

  XIV.        EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

              A.     Discovery-Rule Tolling

              496.   Within the period of any applicable statutes of limitation, Plaintiffs and members

   of the proposed TPP Class (defined below) could not have discovered through the exercise of

   reasonable diligence that Defendants were not disclosing the high levels of the carcinogen NDMA

   in their Ranitidine-Containing Products, rendering the drugs adulterated, misbranded and illegal

   to sell.

              497.   Plaintiffs and the other TPP Class members did not discover, and did not know of,

   facts that would have caused a reasonable person to suspect that Defendants did not disclose the

   high levels of NDMA contained in Ranitidine-Containing Products, including Zantac. The

   information linking ranitidine, including Zantac, to NDMA was contained exclusively in articles

   published in scientific journals and intended for the scientific audience. Defendants also sought

   to actively discredit such publications with publications of their own detailing the comparative

   safety of the drug.

              498.   Additionally, Plaintiffs and other TPP Class members did not discover, and did not

   know of, facts that would have caused a reasonable person to suspect that Defendants had not been

   complying with cGMPs with respect to their manufacturing practices and policies, as evidenced

   by the fact that Defendants’ Ranitidine-Containing Drugs contained NDMA, a known human

   carcinogen.

              499.   Plaintiffs and TPP Class members could not have reasonably discovered the true

   extent of Defendants’ deception with regard to the safety of Ranitidine-Containing Products, until


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   Valisure filed its citizen petition on September 9, 2019 disclosing the extremely high levels of

   NDMA produced by Ranitidine-Containing Products.

           500.    For these reasons, all applicable statutes of limitation have been tolled by operation

   of the discovery rule.

           B.      Fraudulent-Concealment Tolling

           501.    All applicable statutes of limitation have also been tolled by Defendants’ fraudulent

   concealment of the fact that Ranitidine-Containing Products had the capacity to degrade to NDMA

   with exposed to certain storage and containment situations.

           502.    Instead of disclosing the link between ranitidine, including Zantac, and the

   carcinogen NDMA, Defendants continued to manufacture and sell Ranitidine-Containing Products

   without disclosing this information on the drug’s label or anywhere else.

           C.      Estoppel

           503.    Defendants were under a continuous duty to disclose to Plaintiffs and the other TPP

   Class members that they were manufacturing and selling Ranitidine-Containing Products that were

   adulterated and misbranded because they contained NDMA, a known human carcinogen.

           504.    Defendants knowingly, affirmatively, and actively concealed or recklessly

   disregarded the truth about Ranitidine-Containing Products, that they were adulterated and

   misbranded because they contained NDMA, a known human carcinogen, and never updated the

   drug’s label to disclose this risk.

           505.    Based on the foregoing, Defendants are estopped from relying on any statutes of

   limitations in defense of this action.




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  XV.     TPP CLASS ALLEGATIONS

          506.    Plaintiffs bring this suit as a Class action pursuant to Rule 23(b)(2), (b)(3) and (c)(4)

   of the Federal Rules of Civil Procedure on behalf of a Nationwide TPP Class consisting of:

          All health insurance companies, third-party administrators, health
          maintenance organizations, self-funded health and welfare benefit plans,
          third party payors and any other health benefit provider, in the United States
          of America and its territories, which paid or incurred costs for prescription
          Zantac or the Generic Manufacturer Defendants’ Ranitidine-Containing
          Products for purposes other than resale since their respective approval dates.

          507.    Excluded from the TPP Class are the Defendants and their officers, directors,

   employees, predecessors-in-interest, successors-in interest, assignees, affiliates and subsidiaries;

   all governmental entities, except for government funded employee, retiree and Medicare Part D

   plans provided through private insurance companies; all pharmaceutical wholesalers or

   distributors that purchased one or more of the Defendants’ Ranitidine-Containing Products for

   purposes of resale; and PBMs.

          508.    As an alternative and/or in addition to Nationwide TPP Class, Plaintiffs bring this

   action in their individual capacities and on behalf of State Classes for all fifty states of the United

   States of America, the District of Columbia, and Puerto Rico pursuant to Federal Rules of Civil

   Procedure 23(a), 23(b)(2), 23(b)(3), and/or 23(c)(4):

          [State] TPP Class: All health insurance companies, third-party
          administrators, health maintenance organizations, self-funded health and
          welfare benefit plans, third party payors and any other health benefit
          provider, in the United States of America and its territories, which paid or
          incurred costs for prescription Zantac or the Generic Manufacturer
          Defendants’ Ranitidine-Containing Products for purposes other than resale
          since their respective approval dates.

          509.    Excluded from the State Classes are Defendants and their officers, directors,

   employees, predecessors-in-interest, successors-in interest, assignees, affiliates and subsidiaries;



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   all governmental entities, except for government funded employee, retiree and Medicare Part D

   plans provided through private insurance companies; all pharmaceutical wholesalers or

   distributors that purchased one or more of the Defendants’ Ranitidine-Containing Products for

   purposes of resale; and PBMs.

          510.    Plaintiffs reserve the right to modify or amend the definitions of State Classes,

   including to add one or more subclasses, after having the opportunity to conduct discovery.

          511.    The Nationwide TPP Class and the alternative State Classes are collectively

   referred to as the “TPP Class” or “Classes.”

          A.      Fed. R. Civ. P. 23 Requirements

          512.    Each of the proposed TPP Classes meets the requirements of Federal Rules of Civil

   Procedure 23(a), (b)(2), (b)(3) and/or (c)(4).

          513.    Numerosity.      The members of each class are so numerous that joinder is

   impracticable. There are thousands of TPPs, such as Plaintiffs, across the country.

          514.    Typicality. Plaintiffs’ claims are typical of the claims of putative TPP Class

   members in that Plaintiffs’ claims arise out of the same common course of conduct that gives rise

   to the claims of the other TPP Class members. Each Plaintiff, like each TPP Class member,

   reimbursed for Ranitidine-Containing Products, manufactured or sold by Defendants, which were

   adulterated, misbranded, illegal to sell and, thus, worthless. Plaintiffs, like each TPP Class

   member, were injured through Defendants’ common course of misconduct, and Plaintiffs are

   advancing the same legal theories on behalf of themselves and the TPP Class members.

          515.    Adequacy. Plaintiffs will fairly and adequately protect the interests of the TPP

   Class members. Plaintiffs’ interests and the interests of all other members of each respective TPP

   Class are identical and not antagonistic. Plaintiffs intend to vigorously prosecute this case and will


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   fairly and adequately protect the TPP Class members’ interests. Plaintiffs have retained counsel

   who are competent and experienced in litigating class actions, including litigation of this kind.

          516.    Commonality and Predominance. There are numerous questions of law and fact

   common to the TPP Class, and these common questions predominate over any issues affecting

   only individual TPP Class members. Questions common to the TPP Classes include, but are not

   limited to the following:

                  a.      Whether Defendants knew or should have known that Ranitidine-
                          Containing Products were manufactured in such a way that they contained
                          unacceptable levels of NDMA which rendered their drugs adulterated,
                          and/or misbranded, and therefore economically worthless;

                  b.      Whether Defendants’ marketing, advertising, or promotion of Ranitidine-
                          Containing Products misrepresented the safety of Ranitidine-Containing
                          Products, or failed to disclose that their Ranitidine-Containing Products
                          were manufactured in such a way that they contained high levels of the
                          carcinogen NDMA, which rendered their drugs adulterated, misbranded,
                          and therefore economically worthless;

                  c.      Whether Defendants breached express warranties;

                  d.      Whether Defendants breached implied warranties;

                  e.      Whether Defendants have been unjustly enriched;

                  f.      Whether Defendants’ conduct violated the Racketeering and Corrupt
                          Organizations Act, 18 U.S.C. §1962(c)-(d);

                  g.      Whether Defendants’ conduct violated the Magnuson-Moss Warranty Act,
                          15 U.S.C. §§2301, et seq.;

                  h.      Whether Plaintiffs and the TPP Class members are entitled to recover
                          damages and the appropriate measure of those damages;

                  i.      The appropriate measure of disgorgement; and

                  j.      The type and format of injunctive relief that is appropriate.

          517.    Superiority. A class action is superior to any other available means for the fair and

   efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered


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   in the management of this class action. The quintessential purpose of the class action mechanism

   is to permit litigation against wrongdoers even when damages to an individual plaintiff may not

   have the resources to mount such a litigation. Here, the economic losses suffered by Plaintiffs and

   the TPP Class are relatively small compared to the burden and expense required to individually

   litigate their claims against Defendant, and thus, individual litigation to redress Defendant’s

   wrongful conduct would be impracticable. Individual litigation by each TPP Class member would

   also strain the court system, create the potential for inconsistent or contradictory judgments, and

   increase the delay and expense to all parties and the court system. By contrast, the class action

   device presents far fewer management difficulties and provides the benefits of a single

   adjudication, economies of scale, and comprehensive supervision by a single court.

          518.    Plaintiffs reserve the right to seek certification under Rule 23(c)(4) of common

   questions related to Defendants’ knowledge, conduct, products, and duties.

                                        CAUSES OF ACTION

                                          COUNT 1
            VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                                 ORGANIZATIONS ACT,
                                    18 U.S.C. §1962(c)-(d)
                 (On Behalf of the TPP Class Against the RICO Defendants)

          519.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

          520.    Plaintiffs bring this Count on behalf of the TPP Class against Defendants Sanofi

   BI, Pfizer, and GSK (for purpose of this Count, these Defendants are collectively referred to as

   “RICO Defendants”).




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          521.    Plaintiffs and other TPP Class members are “persons” within the meaning of 18

   U.S.C. §1961(3), and each is a “person injured in his or her business or property” by reason of the

   Defendants’ violation of RICO within the meaning of 18 U.S.C. §1964(c).

          522.    Plaintiffs and other TPP Class members have been injured in their property by

   reason of these violations in that they have made millions of dollars in payments for Zantac that

   they otherwise would not have made had the RICO Defendants not engaged in their pattern of

   racketeering activities. Plaintiffs and the TPP Class members suffered direct, consequential and

   concrete financial loss flowing from the injury of their property by having paid for Zantac, which

   was adulterated and misbranded, illegal to sell and economically worthless, and thereby suffered

   out-of-pocket losses. But for the predicate acts committed or caused to be committed by RICO

   Defendants, Plaintiffs and the TPP Class members would not have suffered their RICO injuries.

          523.    At all relevant times, each RICO Defendant has been a “person” within the meaning

   of 18 U.S.C. §1961(3) because each was capable of holding “a legal or beneficial interest in

   property.”

          524.    The RICO Defendants conduct their business—both legitimate and illegitimate—

   by and through various affiliates and subsidiaries, each of which is a separate legal entity.

   Boehringer Ingelheim operates by and through Boehringer Ingelheim International GmbH,

   Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer Ingelheim Corporation, and Boehringer

   Ingelheim USA Corporation, among others. Sanofi operates by and through Sanofi S.A., Sanofi-

   Aventis U.S. LLC and Sanofi US Services Inc., and Chattem, Inc., among others. GSK operates

   by and through GlaxoSmithKline plc, GlaxoSmithKline LLC, and GlaxoSmithKline (America)

   Inc., among others. Pfizer also operated by and through various affiliates and subsidiaries at all




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   relevant times. Defendants have also formed joint ventures and other agreements between and

   among each other at various points in time during the scheme as detailed herein.

          A.      The Zantac RICO Enterprise

          525.    Section 1962(c) makes it “unlawful for any person employed by or associated with

   any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

   conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

   pattern of racketeering activity.” 18 U.S.C. §1962(c).

          526.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

   1962(c), among other provisions. See 18 U.S.C. §1962(d).

          527.    Zantac, the trade name for ranitidine, was for years the world’s top selling drug and

   the first to top $1 billion in annual sales. The unprecedented success of Zantac was not an accident.

   It was the direct result of aggressive marketing by the RICO Defendants and others that pushed

   Zantac as safe and effective for consumers. In their quest to reach ever new heights of sales and

   profits, the RICO Defendants recklessly continued to push Zantac as safe and effective knowing

   the NDMA risks associated with ranitidine.

          528.    Instead of pulling Zantac from the shelves or warning the public and regulators

   about its safety risks, the RICO Defendants hid the truth. To do so, each RICO Defendant was

   employed by or associated with, and conducted or participated in the affairs of, one or several

   RICO enterprises (defined below and referred to collectively as the “Zantac RICO Enterprise”),

   whose purpose was to conceal or downplay the safety risks of Zantac. The motivation was simple:

   to increase Defendants’ revenues and profits and minimize their losses from the manufacture and

   sale of Zantac. As a direct and proximate result of their fraudulent scheme and common course of

   conduct, the RICO Defendants were able to extract billions of dollars from Plaintiffs and the TPP


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   Class. Until recently Zantac remained on retail and pharmacy shelves in the United States. The

   RICO Defendants’ decades-long scheme violated Sections 1962(c) and (d) of the RICO statute.

          529.    At all relevant times, the RICO Defendants, along with other individuals and

   entities, including unknown third parties involved in the formulation, manufacture, and sale of

   Zantac, operated an association-in-fact enterprise, which was formed for the purpose of selling

   Zantac throughout the U.S. and through which enterprise(s) they conducted a pattern of

   racketeering activity under 18 U.S.C. §1961(4). The enterprise is referred to herein as the “Zantac

   RICO Enterprise.”

          530.    At all relevant times, the Zantac RICO Enterprise constituted a single “enterprise”

   or multiple enterprises within the meaning of 18 U.S.C. §1961(4), as legal entities, as well as

   individuals and legal entities associated-in-fact for the common purpose of engaging in RICO

   Defendants’ unlawful profit-making scheme.

          531.    The association-in-fact Zantac RICO Enterprise consisted of at least the following

   entities and individuals, and likely others:

                  a.      Sanofi S.A. is a French multinational pharmaceutical company
                          headquartered in Paris and listed on the NASDAQ. As of June 8, 2020, it
                          had a market capitalization of $63.7 billion. The other Sanofi Defendants
                          are not publicly traded and thus have no SEC reporting obligations, but they
                          do have reporting obligations, protections and responsibilities unique to
                          their respective home states.

                  b.      BI is a German multinational company and one of the world’s largest
                          pharmaceutical companies and the largest private one. BI operates with 146
                          affiliates and is owned by the Boehringer, Liebrecht, and von Baumbach
                          families.

                  c.      GlaxoSmithKline plc is a British multinational pharmaceutical company
                          headquartered in the United Kingdom and listed on the New York Stock
                          Exchange. As of June 8, 2020, it had a market capitalization of $105 billion.
                          The other GSK Defendants are not publicly traded and thus have no SEC
                          reporting obligations, but do have reporting obligations, protections and
                          responsibilities unique to their respective home states.

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                  d.     Pfizer is an American multinational pharmaceutical company
                         headquartered in New York City and listed on the New York Stock
                         Exchange. As of June 8, 2020, it had a market capitalization of $203 billion.
                         Other Pfizer entities or divisions, such as Warner-Lambert Consumer
                         Healthcare, are not publicly traded and thus have no SEC reporting
                         obligations but do have reporting obligations, protections and
                         responsibilities unique to their respective home states.

          532.    At all relevant times, the Zantac RICO Enterprise: (a) had an existence separate

   and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

   racketeering in which the RICO Defendants engaged; and (c) was an ongoing and continuing

   organization consisting of legal entities, including the Sanofi Defendants, the BI Defendants, the

   GSK Defendants, and Pfizer, and/or other entities and individuals associated for the common

   purpose of formulating, manufacturing, distributing, testing, and selling Zantac to Plaintiffs and

   the TPP Class by concealing safety risks and deriving profits and revenues therefrom.

          533.    Each member of the Zantac RICO Enterprise shared in the bounty generated by the

   enterprise, i.e., by sharing the benefit derived from increased sales revenue generated by the

   scheme to defraud TPP Class members nationwide. If any member of the Zantac RICO Enterprise

   had publicly revealed the safety risks, all would lose their revenues and profits from Zantac. At

   various points in time, the RICO Defendants entered into joint ventures and/or other agreements

   concerning the rights to Zantac including for, example, the partnership between GSK and Warner-

   Lambert resulting in Warner-Lambert Consumer Healthcare; Pfizer’s acquisition of Warner

   Lambert; BI’s acquisition of the rights to OTC Zantac; and Sanofi’s acquisition of the rights to

   OTC Zantac.

          534.    The Zantac RICO Enterprise engaged in, and its activities affected, interstate and

   foreign commerce, because it involved commercial activities across both state and national




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   boundaries, such as the marketing, promotion, advertisement, distribution, and sale of Zantac

   throughout the country and beyond, and the receipt of monies from the sale of the same.

          535.    Within the Zantac RICO Enterprise, there was a common communication network

   by which co-conspirators shared information on a regular basis. The enterprise used this common

   communication network for the purpose of formulating, manufacturing, marketing, distributing,

   and selling Zantac nationwide.

          536.    Each participant in the Zantac RICO Enterprise had a systematic linkage to others

   through corporate ties, contractual relationships, financial ties, and continuing coordination of

   activities. Through the Zantac RICO Enterprise, the RICO Defendants functioned as a continuing

   unit with the purpose of furthering the illegal scheme and their common purposes of increasing

   their profits and revenues, as well as minimizing their losses.

          537.    The RICO Defendants participated in the operation and management of the Zantac

   RICO Enterprise by directing its affairs, as described herein. While the RICO Defendants

   participated in, and are members of, the enterprise, they have a separate existence from the

   enterprise, including distinct legal statuses, different offices and roles, bank accounts, officers,

   directors, employees, individual personhood, reporting requirements, and financial statements.

          538.    Each of the RICO Defendants exerted substantial control over the Zantac RICO

   Enterprise, and participated in, operated and/or directed the enterprise, by:

                  a.      concealing or downplaying safety risks from the public, TPPs, PBMs, and
                          regulators;

                  b.      misleading the public, TPPs, PBMs, and regulators as to the nature and safe
                          use of Zantac;

                  c.      formulating, manufacturing, distributing, promoting, and/or selling Zantac;




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                  d.     misrepresenting or omitting safety risks (or causing such misrepresentations
                         and omissions to be made) in promotional materials or advertisements, or
                         materials provided to TPPs and PBMs to gain access to their formularies;

                  e.     concealing or downplaying safety risks in scientific studies;

                  f.     misrepresenting or omitting (or causing such misrepresentations and
                         omissions to be made) safety risks on FDA applications and other
                         communications with regulators;

                  g.     introducing Zantac into the stream of U.S. commerce with concealed safety
                         risks;

                  h.     entering into joint ventures or agreements concerning the rights to Zantac;

                  i.     persisting in the manufacturing, distribution, and sale of Zantac even after
                         questions were raised about safety risks;

                  j.     collecting revenues and profits in connection with the sale of Zantac; and/or

                  k.     ensuring that the other RICO Defendants and unnamed co-conspirators
                         complied with the scheme or common course of conduct.

          539.    Without the RICO Defendants’ willing participation, the Zantac RICO Enterprise’s

   years-long scheme and common course of conduct would have been unsuccessful.

          540.    The RICO Defendants directed and controlled the ongoing organization necessary

   to implement the scheme at meetings and through communications of which Plaintiffs cannot fully

   know at present, because such information lies in Defendants’ and others’ hands. Similarly,

   because the Defendants often refer to themselves as a group (i.e., “Sanofi,” “Boehringer

   Ingelheim,” “GSK,” etc.), Plaintiffs cannot fully know the full extent of each individual corporate

   entity’s involvement in the wrongdoing prior to having access to discovery.

          B.      Mail and Wire Fraud

          541.    To carry out, or attempt to carry out the scheme to defraud, the RICO Defendants,

   each of whom is a person associated-in-fact with the Zantac RICO Enterprise, did knowingly

   conduct or participate, directly or indirectly, in the conduct of the affairs of the Zantac RICO


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   Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C. §§1961(1),

   1961(5) and 1962(c), and which employed the use of the mail and wire facilities, in violation of

   18 U.S.C. §1341 (mail fraud) and §1343 (wire fraud).

          542.    Specifically, as alleged herein, the RICO Defendants have committed, conspired to

   commit, and/or aided and abetted in the commission of, at least two predicate acts of racketeering

   activity (i.e., violations of 18 U.S.C. §§1341 and 1343). The multiple acts of racketeering activity

   that the RICO Defendants committed, or aided or abetted in the commission of, were related to

   each other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of

   racketeering activity.” The racketeering activity was made possible by the RICO Defendants’

   regular use of the facilities, services, distribution channels, and employees of the RICO Defendants

   in the Zantac RICO Enterprise. The RICO Defendants participated in the scheme to defraud by

   using e-mail, mail, telephone, facsimile, TV, radio, and the Internet to transmit mailings and wires

   in interstate or foreign commerce.

          543.    The RICO Defendants used, directed the use of, and/or caused to be used, thousands

   of interstate mail and wire communications in service of their scheme through virtually uniform

   misrepresentations, concealments and material omissions.

          544.    In devising and executing the illegal scheme, the RICO Defendants devised and

   knowingly carried out a material scheme and/or artifice to defraud Plaintiffs and the TPP Class or

   to obtain money from them by means of materially false or fraudulent pretenses, representations,

   promises, or omissions of material facts. For the purpose of executing the illegal scheme, the

   RICO Defendants committed these racketeering acts, which number in the thousands, intentionally

   and knowingly with the specific intent to advance the illegal scheme.




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          545.    The RICO Defendants’ predicate acts of racketeering (18 U.S.C. §1961(1)) include,

   but are not limited to:

                  a.         Mail Fraud: The RICO Defendants violated 18 U.S.C. §1341 by sending or
                             receiving, or by causing to be sent and/or received, materials via U.S. mail
                             or commercial interstate carriers for the purpose of executing their unlawful
                             scheme to manufacture, market, and sell Zantac by concealing or
                             downplaying its safety risks.

                  b.         Wire Fraud: The RICO Defendants violated 18 U.S.C. §1343 by
                             transmitting and/or receiving, or by causing to be transmitted and/or
                             received, materials by wire for the purpose of executing the unlawful
                             scheme to defraud and obtain money by concealing or downplaying the
                             safety risks of Zantac.

          546.    The RICO Defendants’ use of the mails and wires include, but are not limited to,

   the transmission, delivery, or shipment of the following, which were foreseeably caused to be sent

   as a result of the RICO Defendants’ illegal scheme:

                  a.         Zantac tablets, capsules, injections, syrup, and/or granules;

                  b.         False or misleading websites;

                  c.         False or misleading industry publications and/or studies;

                  d.         False or misleading sales and marketing materials, including websites, ads,
                             and brochures concealing the true nature of Zantac, such as the multi-media
                             “Captain Zantac” campaign;

                  e.         False or misleading product packaging and labels;

                  f.         False or misleading AMCP dossiers, monographs, or TPP/PBM marketing
                             materials;

                  g.         False or misleading        FDA     applications   and    other   government
                             communications;

                  h.         False or misleading communications intended to lull the public and
                             regulators from discovering the true nature of Zantac;

                  i.         Documents and communications that facilitated the scheme, including but
                             not limited to invoices, shipping records, reports, and correspondence;

                  j.         Millions of dollars in compensation to company executives;

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                  k.     Deposits of proceeds; and/or

                  l.     Other documents and things.

           547.   The RICO Defendants (or their agents), for the purpose of executing the illegal

   scheme, transmitted (or caused to be transmitted) in interstate commerce by means of wire

   communications, certain writings, signs, signals and sounds, including the items described above

   and the following discussed below.

           548.   The RICO Defendants used the internet and other electronic facilities to carry out

   the scheme and conceal the ongoing fraudulent activities. Specifically, the RICO Defendants

   omitted safety risks of Zantac on websites, YouTube, Facebook, Twitter, and other online

   advertising, all of which were intended to mislead the public and regulators.

    From                 To                  Date                  Description

    Sanofi subsidiary,   Twitter, San        September 3, 2019     Twitter feed: “The Captain
    Chattem Inc.,        Francisco,                                likes his wings 4-alarm spicy.”
    Chattenooga,         California
    Tennessee
    Sanofi subsidiary,   YouTube, San        July 3, 2019          Online Video Ad: “S. O. Neal:
    Chattem Inc.,        Mateo,                                    No Mess Fast Relief Heart Burn
    Chattenooga,         California                                Night”
    Tennessee
    Sanofi subsidiary,   YouTube, San        March 14, 2019        Zantac TV Commercial,
    Chattem Inc.,        Mateo,                                    “Family Taco Night”
    Chattenooga,         California
    Tennessee
    GSK, United          US Healthcare       Throughout 2018       Zantac 150 Tablets 500’s
    Kingdom              Professionals                             product description for US
                         via GSK Direct                            Healthcare professionals online
                         website
    Boehringer           YouTube, San        March 7, 2017         Online Video Ad: “Releases
    Ingelheim            Mateo,                                    Cooling Sensation in Mouth
    Pharmaceuticals,     California                                and Throat”
    Inc., Ridgefield,
    Connecticut
    Boehringer           Sanofi US,          February 24, 2017     Transfer of domain ownership
    Ingelheim            Bridgewater,                              of “RethinkPPIs.com” website
    Pharmaceuticals,     New Jersey                                claiming that non-prescription

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    From                 To                 Date                  Description

    Inc., Ridgefield,                                             Zantac has “no long-term safety
    Connecticut                                                   concerns.”
    Boehringer           PR Newswire,       September 9, 2013     Press release re: launch of
    Ingelheim            New York, New                            “Captain Zantac™” 360-degree
    Pharmaceuticals,     York                                     brand equity campaign with
    Inc., Ridgefield,                                             national TV ads, print, online,
    Connecticut                                                   and retail advertising
    Pfizer, New York,    Boehringer        October 13, 2006       Agreements and related
    New York             Ingelheim                                correspondence re: BI
                         Pharmaceuticals,                         acquisition of OTC rights to
                         Inc., Ridgefield,                        Zantac from Pfizer
                         Connecticut
           549.   The RICO Defendants (or their agents), for the purpose of executing the illegal

   scheme, sent and/or received (or caused to be sent and/or received) by mail or by private or

   interstate carrier, shipments of Zantac drugs, and related documents by mail or a private carrier

   affecting interstate commerce, including the items described above and the following examples:

    From                To                Date                  Description

    Boehringer          ESPN              March 2, 2015         Print Ad: “CAPTAIN Zantac IN
    Ingelheim           Magazine                                HEARTBURN RESCUE: Stop!
    Pharmaceuticals,                                            That heartburn pill can take 24
    Inc., Ridgefield,                                           hours to work! Zantac is different!
    Connecticut                                                 Zantac rushes relief in as little as
                                                                30 minutes. Zantac. No pill
                                                                relieves heartburn faster!”
    GlaxoSmithKline,    U.S. Food &     September 4, 2009       Zantac FDA Label
    Research Triangle   Drug
    Park, North         Administration,
    Carolina            Silver Spring,
                        Maryland
    Pfizer Consumer     Madison         November 2, 2003        Print Ad: “Zantac 75 relieves
    Healthcare,         Wisconsin                               heartburn fast, right when you
    Richmond,           State Journal                           need it. Prilosec OTC doesn’t.”
    Virginia
    U.S. Patent &       Warner-           February 2, 1996      Trademark statement of use
    Trademark           Lambert                                 processing complete
    Office,             Company
    Alexandria,
    Virginia

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          550.    The RICO Defendants also communicated by U.S. mail, by interstate facsimile, and

   by interstate electronic mail with various other affiliates, regional offices, divisions, dealerships

   and other third-party entities in furtherance of the scheme.

          551.    The mail and wire transmissions described herein were made in furtherance of the

   RICO Defendants’ scheme and common course of conduct to sell Zantac, which Defendants knew

   or recklessly disregarded as forming NDMA in the body.

          552.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

   facilities have been deliberately hidden and cannot be alleged without access to Defendants’ books

   and records. However, Plaintiffs have described the types of, and in some instances, occasions on

   which the predicate acts of mail and/or wire fraud occurred.           They include thousands of

   communications to perpetuate and maintain the scheme, including the things and documents

   described in the preceding paragraphs.

          553.    The RICO Defendants have not undertaken the practices described herein in

   isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. §1962(d), the

   RICO Defendants conspired to violate 18 U.S.C. §1962(c), as described herein. Various other

   persons, firms and corporations, including third-party entities and individuals not currently named

   as defendants, have participated as co-conspirators with the RICO Defendants in these offenses

   and have performed acts in furtherance of the conspiracy to increase or maintain revenues, increase

   market share, and/or minimize losses for the RICO Defendants and their unnamed co-conspirators

   throughout the illegal scheme and common course of conduct.

          554.    The RICO Defendants had knowledge of the fraud and aided and abetted others in

   the violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C.

   §§1341 and 1343 offenses.


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          555.    To achieve their common goals, the RICO Defendants hid or downplayed the

   dangers of Zantac and obfuscated its true nature even after regulators and others raised concerns.

   The RICO Defendants suppressed and/or ignored warnings from third parties, whistleblowers, and

   governmental entities about the safety risks of Zantac.

          556.    The RICO Defendants and each member of the conspiracy, with knowledge and

   intent, have agreed to the overall objectives of the conspiracy and participated in the common

   course of conduct to commit acts of fraud in formulating, manufacturing, distributing, marketing,

   and/or selling Zantac.

          557.    Indeed, for the conspiracy to succeed each of the RICO Defendants and their co-

   conspirators had to agree to implement and use the similar devices and fraudulent tactics—

   specifically concealing or downplaying the safety risks of Zantac’s NDMA.

          558.    The RICO Defendants knew and intended that the public and regulators would rely

   on their material omissions. The RICO Defendants knew and intended that Plaintiffs and the TPP

   Class would incur costs as a result. In fact, Plaintiffs, along with the TPPs, the public, and others

   across the country, relied upon the concealment of material facts caused by them. Plaintiffs’

   reliance is made obvious by the fact that they reimbursed for drugs that were not safe for use and

   never should have been introduced into the U.S. stream of commerce as made plain by the fact

   that they have been pulled from the shelves now.

          559.    Unbeknownst to Plaintiffs and the TPP Class, the RICO Defendants engaged in a

   pattern of related and continuous predicate acts for many years. The predicate acts constituted a

   variety of unlawful activities, each conducted with the common purpose of obtaining significant

   monies and revenues from Plaintiffs and TPP Class members based on the concealment of the

   truth, while providing Zantac drugs that were worth significantly less than the purchase price paid.


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   The predicate acts also had the same or similar results, participants, victims, and methods of

   commission. The predicate acts were related and not isolated events.

          560.    The predicate acts all had the purpose of generating significant revenue and profits

   for the RICO Defendants (and minimizing their losses) at the expense of Plaintiffs and TPP Class

   members. The predicate acts were committed or caused to be committed by the RICO Defendants

   through their participation in the Zantac RICO Enterprise and in furtherance of the scheme, and

   were interrelated in that they involved obtaining Plaintiffs’ and TPP Class members’ funds and

   avoiding the expenses and loss of revenues associated with recalling the drugs.

          561.    During the formulation, manufacture, marketing, and sale of Zantac, the RICO

   Defendants came across and/or shared information about the risk that ranitidine was being

   manufactured in such a way that it was becoming contaminated with NDMA, a known human

   carcinogen. Nevertheless, the RICO Defendants shared and/or disseminated information that

   misrepresented Zantac as safe while concealing its risks.

          562.    By reason of, and as a result of the conduct of the RICO Defendants, and in

   particular, their pattern of racketeering activity, Plaintiffs and TPP Class members have been

   injured in their business and/or property in multiple ways, including but not limited to:

                  a.      Reimbursements for the purchase price of Zantac;

                  b.      Other out-of-pocket expenses.

          563.    The RICO Defendants’ violations of 18 U.S.C. §1962(c) and (d) have directly and

   proximately caused injuries and damages to Plaintiffs and TPP Class members. Plaintiffs and TPP

   Class members are entitled to bring this action for three times their actual damages, as well as

   injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. §1964(c).




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                                          COUNT 2
                          BREACH OF EXPRESS WARRANTIES
      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)
             564.   Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

             565.   This cause of action is alleged on behalf of TPP Class members against Defendant

   GSK and Generic Manufacturer Defendants (described herein as “Defendants”), and to the extent

   applicable law permits non-consumers reimbursing for consumer purchases to assert this cause of

   action.

             566.   Defendants are, and at all relevant times were, “merchants” and/or “sellers” with

   respect to Ranitidine-Containing Products.

             567.   TPP Class members are, and at all relevant times were, “buyers” or “purchasers”

   of Ranitidine-Containing Products.

             568.   In connection with their sale of Ranitidine-Containing Products, by and through

   statements in labels, publications, package inserts, and other written materials intended for TPPs

   and the general public, Defendants made certain express affirmations of fact and/or promises

   relating to the Ranitidine-Containing Products to Plaintiffs and the TPP Class members, as alleged

   herein, including that such drugs were safe for human consumption and fit to be used for their

   intended purpose. These express affirmations of fact and/or promises include incomplete warnings

   and instructions that purport, but fail, to include the complete array of risks associated with use of

   and/or exposure to Ranitidine-Containing Products.




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          569.    Each Defendant expressly warranted that its Ranitidine-Containing Products were

   fit for their ordinary use, i.e., as an FDA-approved generic pharmaceutical product and that such

   drugs were safe for human consumption and fit to be used for their intended purpose.

          570.    Each Defendant sold Ranitidine-Containing Products that they expressly warranted

   were compliant with cGMPs and/or not adulterated and/or misbranded.

          571.    Defendants advertised, labeled, marketed, and promoted Ranitidine-Containing

   Products with such express affirmations of fact and/or promises in such a way as to induce their

   purchase or use by through reimbursement or payment for some of the purchase price by Plaintiffs

   and TPP Class members, thereby making an express warranty that Ranitidine-Containing Products

   would conform to the representations.

          572.    Defendants affirmations of fact and/or promises about Ranitidine-Containing

   Products, as set forth herein, constituted affirmations of fact or promises made by the seller to the

   buyer, which related to the goods and became part of the basis of the bargain, thus creating an

   express warranty that the goods would conform to the representations.

          573.    Despite the express warranties Defendants created with respect to Ranitidine-

   Drugs, Defendants’ Ranitidine-Containing Products did not conform to Defendants’ express

   warranties in that such drugs were defective, dangerous, and unfit for use, did not contain labels

   representing the true and adequate nature of the risks associated with their use, and were not

   merchantable or safe for their intended, ordinary, and foreseeable use and purpose. Specifically,

   Defendants breached the express warranties in the following ways:

                  (i)     Defendants represented through their labeling, advertising, and marketing
                  materials that Ranitidine-Containing Products were manufactured, stored, and
                  distributed in such a way that would assure the identity, strength, quality, and purity
                  of the Ranitidine-Containing Products.



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                 (ii)   Defendants represented through their labeling, advertising, and marketing
                 materials that they were complying with cGMPs to assure proper design,
                 monitoring, and control of the manufacturing processes, quality assurance
                 measures and at their facilities used in the manufacture of their Ranitidine-
                 Containing Products.

          574.   Each Defendant’s Ranitidine-Containing Drug did not conform to each

   Defendant’s express representations and warranties because the product was not manufactured in

   compliance with cGMPs and was adulterated and misbranded which is evidenced by the fact that

   it contained NDMA, a known human carcinogen.

          575.   At all times relevant, all fifty States and the District of Columbia and Puerto Rico

   have codified and adopted the provisions of the Uniform Commercial Code governing the implied

   warranty of merchantability and fitness for ordinary purpose: Ala. Code §7-2-313; Alaska Stat.

   §45.02.313; Ariz. Rev. Stat. Ann. §47-2313; Ark. Code. Ann. §4-2-313; Cal. Com. Code §2313;

   Colo. Rev. Stat. §4-2-313; Conn. Gen. Stat. Ann. §42a-2-313; 6 Del. Code. §2-313; D.C. Code.

   §28:2-313; Fla. Stat. Ann. §672.313; Ga. Code. Ann. §11-2-313; Haw. Rev. Stat. §490:2-313;

   Idaho Code §28-2-313; 810 Ill. Comp. Stat. Ann. 5/2-313; Ind. Code Ann. §26-1-2-313; Kan.

   Stat. Ann. §84-2-313; Ky. Rev. Stat. Ann. §355.2-313; 11 Me. Rev. Stat. Ann. §2-313; Md. Code.

   Ann. §2-313; Mass. Gen. Law Ch. 106 §2-313; Mich. Comp. Laws Ann. §440.2313; Minn. Stat.

   Ann. §336.2-313; Miss. Code Ann. §75-2-313; Mo. Rev. Stat. §400.2-313; Mont. Code Ann.

   §30-2-313; Nev. Rev. Stat. U.C.C. §104.2313; N.H. Rev. Ann. §382-A:2-313; N.J. Stat. Ann.

   §12A:2-313; N.M. Stat. Ann. §55-2-313; N.Y. U.C.C. Law §2-313; N.C. Gen. Stat. Ann. §25-

   2-313; N.D. Stat. §41-02-313; Ohio Rev. Code Ann. §1302.26; Okla. Stat. tit. 12A §2-313; Or.

   Rev. Stat. §72.3130; 13 Pa. C.S. §2313; P.R. Laws. Ann. Tit. 31, §3841, et seq.; R.I. Gen. Laws

   §6A-2-313; S.C. Code Ann. §36-2-313; S.D. Stat. §57A-2-313; Tenn. Code Ann. §47-2-313;

   Tex. Bus. & Com. Code Ann. §2-313; Utah Code Ann. §70A-2-313; Va. Code §8.2-313; Vt.


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   Stat. Ann. 9A §2-313; W. Va. Code §46-2-313; Wash. Rev. Code §62A 2-313; Wis. Stat. Ann.

   §402.313 and Wyo. Stat. §34.1-2-313.

          576.    Each Defendant breached its express warranties with respect to its Ranitidine-

   Containing Products as they were not of merchantable quality, were not fit for their ordinary

   purpose, did not comply with cGMPs and were adulterated, misbranded and illegal to sell.

          577.    As a direct and proximate result of each Defendant’s breach of implied warranty,

   Plaintiffs and other TPP Class members have been injured and suffered damages, in that the

   Ranitidine-Containing Products they made payments or reimbursements for were so inherently

   flawed, unfit, or unmerchantable as to have no intrinsic market value.

                                          COUNT 3
                          BREACH OF IMPLIED WARRANTIES
      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)

          578.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

          579.    This cause of action is alleged on behalf of the TPP Class against Defendant GSK

   and the Generic Manufacturer Defendants (described herein as “Defendants”), and to the extent

   applicable law permits non-consumers to assert this cause of action.

          580.    At all times relevant, all fifty States and the District of Columbia and Puerto Rico

   have codified and adopted the provisions of the Uniform Commercial Code governing the implied

   warranty of merchantability and fitness for ordinary purpose: Ala. Code §7-2-314; Alaska Stat.

   §45.02.314; Ariz. Rev. Stat. Ann. §47-2314; Ark. Code. Ann. §4-2-314; Cal. Com. Code §2314;

   Colo. Rev. Stat. §4-2-314; Conn. Gen. Stat. Ann. §42a-2-314; 6 Del. Code. §2-314; D.C. Code.

   §28:2-314; Fla. Stat. Ann. §672.314; Ga. Code. Ann. §11-2-314; Haw. Rev. Stat. §490:2-314;



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   Idaho Code §28-2-314; 810 Ill. Comp. Stat. Ann. 5/2-314; Kan. Stat. Ann. §84-2-314; Ky. Rev.

   Stat. Ann. §355.2-314; La. Civ. Code Ann. Art. §2520; 11 Me. Rev. Stat. Ann. §2-314; Md.

   Code. Ann. §2-314; Mass. Gen. Law Ch. 106 §2-314; Mich. Comp. Laws Ann. §440.2314; Minn.

   Stat. Ann. §336.2-314; Miss. Code Ann. §75-2-314; Mo. Rev. Stat. §400.2-314; Mont. Code

   Ann. §30-2-314; Nev. Rev. Stat. U.C.C. §104.2314; N.H. Rev. Ann. §382-A:2-314; N.J. Stat.

   Ann. §12A:2-314; N.M. Stat. Ann. §55-2-314; N.Y. U.C.C. Law §2-314; N.C. Gen. Stat. Ann.

   §25-2-314; N.D. Stat. §41-02-314; Ohio Rev. Code Ann. §1302.27; Okla. Stat. tit. 12A §2-314;

   Or. Rev. Stat. §72.3140; 13 Pa. C.S. §2314; P.R. Laws. Ann. Tit. 31, §3841, et seq.; R.I. Gen.

   Laws §6A-2-314; S.C. Code Ann. §36-2-314; S.D. Stat. §57A-2-314; Tenn. Code Ann. §47-2-

   314; Tex. Bus. & Com. Code Ann. §2-314; Utah Code Ann. §70A-2-314; Va. Code §8.2-314;

   Vt. Stat. Ann. 9A §2-314; W. Va. Code §46-2-314; Wash. Rev. Code §62A 2-314; Wis. Stat.

   Ann. §402.314 and Wyo. Stat. §34.1-2-314.

          581.    Each Defendant was a merchant within the meaning of the above statutes.

          582.    Each Defendant’s Ranitidine-Containing Products constituted “goods” or the

   equivalent within the meaning of the above statutes.

          583.    Each Defendant was obligated to provide Plaintiffs and other TPP Class members

   reasonably fit Ranitidine-Containing Products for the purpose for which the product was sold, and

   to conform to the standards of the trade in which Defendants are involved such that the product

   was of fit and merchantable quality.

          584.    Each Defendant knew or should have known that its Ranitidine-Containing

   Products were being manufactured and sold for the intended purpose of human consumption and

   impliedly warranted that same was of merchantable quality and fit for that purpose.




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          585.    Each Defendant breached its implied warranty because each Defendant’s

   Ranitidine-Containing Products were not of merchantable quality, nor fit for the product’s ordinary

   purpose, and did not conform to the standards generally applicable to such goods. Rather,

   Defendants’ Ranitidine-Containing Products were of a substandard quality, adulterated and/or

   misbranded as evidenced by the fact that they contained NDMA, a known human carcinogen.

          586.    As a direct and proximate result of each Defendant’s breach of implied warranty,

   Plaintiffs and other TPP Class members have been injured and suffered damages, in that

   Defendants’ Ranitidine-Containing Products that Plaintiffs and the TPP Class members made

   payments or reimbursements for were so inherently flawed, unfit, or unmerchantable as to have

   significantly diminished or no intrinsic market value.

          587.    As a result of Defendants’ breaches of implied warranties of merchantability, as

   alleged herein, Plaintiffs and the TPP Class members seek an order awarding compensatory and

   punitive damages, costs, attorneys’ fees, and any other just and proper relief available under the

   law.

                                          COUNT 4
          VIOLATIONS OF THE MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. §2301,
                                               et seq.
          (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                             Defendants)

          588.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

          589.    This cause of action is pleaded on behalf of all Plaintiffs and the TPP Class against

   Defendant GSK and the Generic Manufacturer Defendants (described herein as “Defendants”),

   and to the extent applicable law permits non-consumers to assert this cause of action.




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          590.    Plaintiffs and members of the TPP Class are “consumers” within the meaning of 15

   U.S.C. §2301(3).

          591.    Each Defendant is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

   §2301(4) and (5), respectively.

          592.    The Ranitidine-Containing Products paid or reimbursed for by Plaintiffs and

   members of the TPP Class are “consumer products” within the meaning of 15 U.S.C §2301(1).

          593.    15 U.S.C. §2310(d)(1) provides a cause of action for any consumer who is damaged

   by the failure of a supplier or warrantor to comply with a written or implied warranty.

          594.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds $25.00

   in value. In addition, the amount in controversy meets or exceeds $50,000 in value (exclusive of

   interest and/or costs) on the basis of all claims to be determined in this lawsuit.

          595.    At all relevant times, the Defendants expressly represented and warranted to the

   purchasers of their products, by and through statements in labels, publications, package inserts,

   and other written materials intended for Plaintiffs and the general public, that Ranitidine-

   Containing Products were safe for human consumption and fit to be used for their intended

   purpose. The Defendants advertised, labeled, marketed, promoted and sold Ranitidine-Containing

   Products, representing the quality to Plaintiffs, TPP Class members and the public in such a way

   as to induce their purchase or use, thereby making an express warranty that Ranitidine-Containing

   Products would conform to the Defendants’ representations.

          596.    Defendants represented to Plaintiffs and members of the TPP Class via media,

   advertising, packaging, labeling, and promotions that:

                  a.      Ranitidine-Containing Products were manufactured in such a way that they
                          could assure the safety, efficacy, purity, identity and quality for lifetime of



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                         the product, when in fact, they contain unsafe levels of NDMA – far
                         exceeding the 96 ng limit – and which increase as the product ages; and

                  b.     Ranitidine-Containing Products were safe for their intended use when, in
                         fact, Defendants knew or should have known they were unsafe for their
                         intended purpose.

          597.    The representations about Ranitidine-Containing Products, as alleged herein,

   contained or constituted affirmations of fact or promises made by the seller to the buyer, which

   related to the goods and became part of the basis of the bargain, creating an express warranty that

   the goods would conform to the representations.

          598.    Defendants breached these express warranties because, among other things,

   Ranitidine-Containing Products were defective, dangerous, were not merchantable or safe for their

   intended use, were not manufactured in compliance with cGMPs, and were adulterated and/or

   misbranded.

          599.    Under state law, a warranty that goods shall be merchantable is implied in every

   contract for the sale of goods by a merchant that deals in such goods. Before Plaintiffs’ and TPP

   Class members’ payment or reimbursement for Defendants’ Ranitidine-Containing Products, the

   Defendants impliedly warranted to Plaintiffs and the TPP Class, that Ranitidine-Containing

   Products were of merchantable quality, safe and fit for their intended use, manufactured in

   compliance with cGMPs , and were not adulterated or misbranded.

          600.    Plaintiffs and the TPP Class were the intended third-party beneficiaries of the

   implied warranties made by Defendants to purchasers of their Ranitidine-Containing Products.

          601.    Plaintiffs and the TPP Class have had sufficient direct dealings with Defendants or

   their agents (including distributors, and dealers) to establish privity of contract between

   Defendants, on the one hand, and Plaintiffs and each member of the TPP Class, on the other hand.



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          602.    Defendants breached their implied warranty to Plaintiffs and the TPP Class in that

   Ranitidine-Containing Products were not of merchantable quality, safe, nor fit for their intended

   use. Ranitidine-Containing Products have dangerous propensities in that they have a propensity

   to degrade into NDMA, a known human carcinogen.

          603.    As a direct and proximate result of Defendants’ breach of the written and implied

   warranties, Plaintiffs and members of the TPP Class have suffered damages. Plaintiffs would not

   have been obligated to reimburse for the purchase of Ranitidine-Containing Products and suffered

   economic injury.

          604.    No Defendant has acted upon the opportunity to cure its failure to uphold its express

   and implied warranties concerning the Ranitidine-Containing Products.

          605.    As a result of Defendants’ breaches of express and implied warranties, as alleged

   herein, Plaintiffs and the TPP Class members seek an order awarding compensatory and punitive

   damages, attorneys’ fees and expenses pursuant to 15 U.S.C. §2310(d)(2), and any other legal

   equitable relief available under the law.

                                          COUNT 5
                                           FRAUD
                 (Affirmative Misrepresentation, Omission, and Concealment)
      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)

          606.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

          607.    Plaintiffs bring this cause of action on behalf of themselves and the members of the

   TPP Class under the common law of fraud against Defendant GSK, and the Generic Manufacturer

   Defendants (described herein as “Defendants”).




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           608.   Defendants falsely or misleading represented to Plaintiffs and members of the TPP

   Class, and PBMs via media, dossiers, advertising, marketing, websites, social media, packaging,

   labeling, and promotions that:

                  a.      Ranitidine-Containing Products were manufactured in such a way that they
                          could assure the safety, efficacy, purity, identity and quality for lifetime of
                          the product, when in fact, they contain NDMA, a known human carcinogen
                          – and which increases in concentration as the product ages;

                  b.      Ranitidine-Containing Products were safe for their intended use when, in
                          fact, Defendants knew or should have known they were unsafe for their
                          intended purpose.

           609.   Defendants’ statements were false or misleading at the time they were made. Due

   to the unsafe levels of NDMA they contain, Defendants’ Ranitidine-Containing Products were

   adulterated, misbranded, unsafe for their intended purpose, and not manufactured in compliance

   with cGMPs. In fact, Ranitidine-Containing Products are so adulterated and unsafe for their

   intended purpose that the FDA was compelled to order the immediate withdrawl of all Ranitidine-

   Containing Products on April 1, 2020.

           610.   Defendants also omitted, concealed, and failed to disclose material facts regarding

   the Ranitidine-Containing Products – most importantly, the fact that they were manufactured in

   such a way that they could not assure that their Ranitidine-Containing Products were of appropriate

   identity, strength, quality, and purity. This was evidenced by the fact that Defendants’ Ranitidine-

   Containing Products contained unacceptable levels of NDMA, a known human carcinogen, which

   rendered them unfit for human consumption.

           611.   Defendants had a duty to disclose the fact that Ranitidine-Containing Products

   contained elevated levels of NDMA that rendered them unsafe for human consumption because

   they:



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                   a.      had exclusive and/or far superior knowledge and access to the facts
                           regarding the defects associated with the Ranitidine-Containing Products
                           than Plaintiffs and members of the TPP Class, and Defendants knew the
                           facts regarding defects associated with the Ranitidine-Containing Products
                           were not known to, or reasonably discoverable by, Plaintiffs and members
                           of the TPP Class;

                   b.      intentionally concealed the foregoing from Plaintiffs and members of the
                           TPP Class; and

                   c.      knew that the defects associated with the Ranitidine-Containing Products
                           were facts basic to the transaction that Plaintiffs and TPP Class members
                           would reasonably expect to be disclosed, and knew that Plaintiffs or the TPP
                           Class would pay or reimburse for the Ranitidine-Containing Products under
                           the mistaken belief that they were safe for human consumption, and
                           manufactured in such a way to assure that they were of appropriate identity,
                           strength, quality, and purity.

           612.    These misrepresented, omitted, concealed, and undisclosed facts were material

   because Defendants knew, or reasonably should have known, that their misrepresentations were

   would induce and/or require Plaintiffs and the TPP Class to pay for some or all of the cost of

   Defendants’ Ranitidine-Containing Products.

           613.    To the extent applicable, Defendants intended their misrepresentations and

   omissions to induce and/or require Plaintiffs and other TPP Class members to reimburse for

   purchases of Defendants’ Ranitidine-Containing Products.

           614.    Defendants misrepresented, omitted, actively concealed, and/or failed to disclose

   these material facts, in whole or in part, to protect their profits and to avoid recalls that would hurt

   their brands’ images and cost the Defendants money. In doing so, Defendants acted in bad faith

   at the expense of Plaintiffs and members of the TPP Class.

           615.    A reasonable TPP would not have expected that the Ranitidine-Containing Products

   would be manufactured in such a noncompliant manner that the prescription drugs contained




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   elevated levels of NDMA, a known human carcinogen, which rendered them misbranded,

   adulterated, illegal to sell and therefore economically worthless.

          616.    Moreover, Plaintiffs and members of the TPP Class did not, and could not, unravel

   the deception on their own. Plaintiffs and members of the TPP Class were unaware of these

   misrepresented, omitted, concealed, and undisclosed material facts and reasonably and justifiably

   relied on them. If they had known the truth, Plaintiffs and members of the TPP Class would not

   have paid or reimbursed for Defendants’ Ranitidine-Containing Products.

          617.    As a direct and proximate result of Defendants’ misrepresentation, concealment,

   omission, and/or failure to disclose material facts, Plaintiffs and the members of the TPP Class

   suffered damages through their payment or reimbursement for Defendants’ Ranitidine-Containing

   Products that are adulterated and misbranded because they contain NDMA, a known human

   carcinogen. Had Defendants not misrepresented, omitted, concealed, and/or failed to disclose

   material facts as alleged herein, Plaintiffs would not have paid or reimbursed for Defendants’

   Ranitidine-Containing Products.

          618.    As a result of Defendants’ fraudulent conduct, Plaintiffs and members of the TPP

   Class have been injured because they paid or reimbursed for Defendants’ Ranitidine-Containing

   Products for which they otherwise would not have been obligated to pay, and suffered out-of-

   pocket loss for these reimbursements.

          619.    Defendants’ acts were done knowingly, willfully, maliciously, oppressively,

   deliberately, with intent to defraud, in reckless disregard of Plaintiffs’ and the TPP Class members’

   rights and well-being, and with the aim of enriching Defendants. Defendants’ conduct, which

   exhibits the highest degree of reprehensibility, being intentional, continuous, placing others at risk

   of death and injury, and affecting public safety, warrants an assessment of punitive damages in an


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   amount sufficient to deter such conduct in the future, which amount is to be determined according

   to proof.

                                    COUNT 6
                    NEGLIGENT MISREPRESENTATION AND OMISSION

      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)

          620.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

          621.    This cause of action is alleged on behalf of TPP Class members against Defendant

   GSK and the Generic Manufacturer Defendants (described herein as “Defendants”), and to the

   extent applicable law permits non-consumers to assert this cause of action.

          622.    Each Defendant had or undertook a duty to accurately and truthfully represent the

   quality, nature, and characteristics of its Ranitidine-Containing Products.

          623.    Each Defendant failed to exercise ordinary care in making representations (or in

   failing to disclose facts) concerning the quality, nature, and characteristics of its Ranitidine-

   Containing Products.

          624.    Each Defendant negligently misrepresented or omitted facts regarding the quality,

   nature, and characteristics of its Ranitidine-Containing Products.

          625.    Each Defendant’s statements were false at the time the misrepresentations were

   made (or at the time omissions were made).

          626.    Each Defendant knew, or reasonably should have known, that its representations

   alleged herein were materially false or misleading, or that omission of material facts rendered such

   representations false or misleading. Each Defendant also knew, or had reason to know, that its




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   misrepresentations and omissions would induce and/or require TPP Class members to make

   payments or reimburse for Defendants’ Ranitidine-Containing Products.

          627.    As a direct and proximate result of each Defendant’s acts and omissions described

   herein, Plaintiffs and other TPP Class members have suffered harm, and will continue to do so.

          628.    Each Defendant’s misrepresentations or omissions were material and a substantial

   factor in Plaintiffs’ and other TPP Class members to reimburse or make payments for Ranitidine-

   Containing Products.

          629.    Each Defendant intended its misrepresentations or omissions to induce and/or

   require Plaintiffs and the TPP Class to pay or reimburse for Defendants’ Ranitidine-Containing

   Products or had reckless disregard for whether they would do so.

          630.    But for these misrepresentations (or omissions), Plaintiffs and other TPP Class

   members would not have paid or reimbursed for purchase of Defendants’ Ranitidine-Containing

   Products.

          631.    Plaintiffs and other TPP Class members were justified in relying on Defendants’

   misrepresentations or omissions. The same or substantively identical misrepresentations were

   communicated, and/or the same or substantively identical omissions were not communicated, to

   each TPP Class Member.

          632.    Plaintiffs and other TPP Class members were damaged by reason of each

   Defendant’s misrepresentations or omissions alleged herein.

                                          COUNT 7
               VIOLATION OF STATE CONSUMER PROTECTION LAWS
      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)

          633.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

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          634.    This cause of action is alleged on behalf of TPP Class members against Defendant

   GSK and the Generic Defendants (described herein as “Defendants”), and to the extent applicable

   law permits non-consumers to assert this cause of action for the reimbursement of all or a portion

   of the cost of purchases for which Plaintiffs and TPP Class members reimbursed.

          635.    Each Defendant has violated the consumer protection statutes as follows:

                  a.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Ala. Code §8-19-1, et seq.;

                  b.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Alaska Stat. §45.50.471, et seq.;

                  c.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Arizona Rev. Stat. §44-1522, et seq.;

                  d.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Ark. Code §4-88-101, et seq.;

                  e.     Defendants have violated the California Unfair Competition Law by
                         engaging in unfair or deceptive acts or practices in violation of Cal. Bus.
                         Prof. Code §17200, et seq.;

                  f.     Defendants have violated the California Consumers Legal Remedies Act,
                         Cal. Civ. Code §§1750, et seq.;

                  g.     Defendants have violated the California False Advertising Law, Cal. Bus.
                         & Prof. Code §§17500, et seq.

                  h.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Colo. Rev. Stat. §6-1-105, et seq.;

                  i.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Conn. Gen. Stat. §42-110b, et seq.;

                  j.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of 6 Del. Code §2511, et seq.;

                  k.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of D.C. Code §28-3901, et seq.;

                  l.     Defendants have engaged in unfair competition or unfair or deceptive acts
                         or practices in violation of Fla. Stat. §501.201, et seq.;



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              m.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Ga. State 10-1-392, et seq.;

              n.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Haw. Rev. Stat. §480, et seq.;

              o.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Idaho Code §48-601, et seq.;

              p.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation 815 ILCS 505/1, et seq.;

              q.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Ind. Code Ann. §24-5-0.5.1, et seq.;

              r.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Iowa Code Ann. §714H, et seq.;

              s.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Kan. Stat. §50-623, et seq.;

              t.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Ky. Rev. Stat. §367.110, et seq.;

              u.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of La. Rev. Stat. §51:1401, et seq.;

              v.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of 5 Me. Rev. Stat. §207, et seq.;

              w.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Md. Com. Law Code §13-101, et seq.;

              x.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Mass. Gen. L. Ch. 93A, et seq.;

              y.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Mich. Stat. §445.901, et seq.;

              z.    Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Minn. Stat. §325F.67, et seq.;

              aa.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Mo. Rev. Stat. §407.0 10, et seq.;

              bb.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Mont. Code §30-14-101, et seq.;


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              cc.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Neb. Rev. Stat. §59-1601, et seq.;

              dd.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Nev. Rev. Stat. §598.0903, et seq.;

              ee.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.H. Rev. Stat. §358-A:1, et seq.;

              ff.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.J. Stat. Ann. §56:8-1, et seq.;

              gg.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.M. Stat. Ann. §57-12-1, et seq.;

              hh.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.Y. Gen. Bus. Law §349, et seq.;

              ii.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.Y. Gen. Bus. Law §350, et seq.;

              jj.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.C. Gen. Stat. §75-1.1, et seq.;

              kk.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of N.D. Cent. Code §51-15-01, et seq.;

              ll.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Okla. Stat. tit. 15 §751, et seq.;

              mm.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Or. Rev. Stat. §646.605, et seq.;

              nn.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of 73 Pa. Stat. §201-1, et seq.;

              oo.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of S.C. Code Laws §39-5-10, et seq.;

              pp.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of S.D. Code Laws §37-24-1, et seq.;

              qq.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Tenn. Code §47-18-101, et seq.;

              rr.   Defendants have engaged in unfair competition or unfair or deceptive acts
                    or practices in violation of Tex. Bus. & Com. Code §17.41, et seq.;


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                  ss.     Defendants have engaged in unfair competition or unfair or deceptive acts
                          or practices in violation of Utah Code Ann. §13-11-1, et seq.;

                  tt.     Defendants have engaged in unfair competition or unfair or deceptive acts
                          or practices in violation of Vt. Stat. Ann. Tit. 9, §2451, et seq.;

                  uu.     Defendants have engaged in unfair competition or unfair or deceptive acts
                          or practices in violation of Va. Code §59.1-196, et seq.;

                  vv.     Defendants have engaged in unfair competition or unfair or deceptive acts
                          or practices in violation of Wash. Rev. Code §19.86.010, et seq.;

                  ww.     Defendants have engaged in unfair competition or unfair or deceptive acts
                          or practices in violation of Wis. Stat. §100.20, et seq.;

                  xx.     Defendants have engaged in unfair competition or unfair or deceptive acts
                          or practices in violation of Wyo. Stat. §40-12-100, et seq.; and

          636.    Each Defendant’s conduct constitutes trade or commerce or other actionable

   activity within the meaning of the above statutes.

          637.    Each Plaintiff and other TPP Class Member is a consumer or persons aggrieved by

   Defendants’ misconduct within the meaning of the above statutes.

          638.    Specifically by knowingly and intentionally misrepresenting, omitting, concealing,

   and failing to disclose material facts regarding Ranitidine-Containing Products, including that such

   drugs were adulterated, misbranded, defective, and not fit to be used for their intended purpose, as

   detailed above, Defendants engaged in one or more unfair or deceptive business practices prohibited

   by the above statutes, including:

                  a.      representing that the Ranitidine-Containing Products have characteristics,
                          uses, benefits, and qualities which they do not have;

                  b.      representing that the Ranitidine-Containing Products are of a particular
                          standard, quality, and grade when they are not;

                  c.      advertising the Ranitidine-Containing Products with the intent not to sell
                          them as advertised;

                  d.      using exaggeration and/or failing to state the material facts concerning the
                          Ranitidine-Containing Products in a manner that tended to deceive;

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                  e.      acting in a manner that resulted in a gross disparity between the true value
                          of the Ranitidine-Containing Products (worthless) and the price paid; and

                  f.      engaging in any other unconscionable, false, misleading, or deceptive act or
                          practice in the conduct of trade or commerce.

          639.    Defendants’    unfair   or    deceptive   acts   or   practices,   including    their

   misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,

   had a tendency or capacity to mislead and create a false impression in Plaintiffs’ minds, and were

   likely to and, in fact, did deceive reasonable TPPs, including Plaintiffs and the TPP Class members,

   about the worthlessness of Defendants’ Ranitidine-Containing Products.

          640.    Defendants’ misrepresentations and omissions regarding the inherently worthless

   and unreasonably dangerous nature of Ranitidine-Containing Products were disseminated to

   Plaintiffs and the TPP Class members in a uniform manner.

          641.    The facts regarding Ranitidine-Containing Products that Defendants knowingly and

   intentionally misrepresented, omitted, concealed, and failed to disclose would be considered

   material by Plaintiffs and the TPP Class members, (and, in fact, were material to Plaintiffs and

   TPP Class members), who consider such facts to be important to their reimbursement decisions

   with respect to Ranitidine-Containing Products.

          642.    Plaintiffs and TPP Class members had no way of discerning that Defendants’

   representations were false and misleading, or otherwise learning the facts that Defendants had

   concealed or failed to disclose. Plaintiffs and TPP Class members did not, and could not, unravel

   Defendants’ deception on their own.

          643.    Defendants had an ongoing duty to Plaintiffs and the TPP Class members to refrain

   from unfair or deceptive practices. Specifically, Defendants owed Plaintiffs and TPP Class

   members a duty to disclose all the material facts concerning the dangers of Ranitidine-Containing


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   Products because they possessed exclusive knowledge that the drugs were being manufactured in

   such a manner as to render the Ranitidine-Containing Products adulterated and misbranded, and

   therefore illegal to sell and economically worthless.

          644.    Plaintiffs and TPP Class members were aggrieved by Defendants’ violations of the

   above statutes because they suffered ascertainable loss and actual damages as a direct and

   proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

   concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

   including that such drugs were adulterated and misbranded, and therefore illegal to sell and

   economically worthless.

          645.    Specifically, Plaintiffs and the TPP Class members reimbursed for purchases of

   Ranitidine-Containing Products in reliance on Defendants’ misrepresentations, omissions,

   concealments, and failures to disclose material facts regarding Ranitidine-Containing Products,

   implying they were not adulterated and/or misbranded, when in fact they were adulterated,

   misbranded, contained a known human carcinogen and were therefore illegal to sell. Had

   Defendants not engaged in the deceptive acts and practices alleged herein, Plaintiffs and TPP Class

   members would not have paid or reimbursed for Defendants’ Ranitidine-Containing Products (nor

   could they have so done), and, thus, they suffered out-of-pocket loss.

          646.    Defendants’ violations presented risk to the general public, and thus the unlawful

   acts and practices complained of herein affect the public interest.

                                          COUNT 8
                                  UNJUST ENRICHMENT
      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)

          647.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

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             648.   This cause of action is alleged on behalf of Plaintiffs and the TPP Class members

   against Defendant GSK and the Generic Manufacturer Defendants (referred to in this section as

   “Defendants”), and to the extent applicable law permits non-consumers to assert this cause of

   action.

             649.   Plaintiffs and TPP Class members conferred a benefit on Defendants in the form of

   payment or reimbursement of monies for worthless Ranitidine-Containing Products containing

   dangerously high levels of NDMA, which rendered the drugs misbranded and adulterated, and

   therefore unfit for their intended purpose and illegal to sell, and economically worthless.

             650.   As a result of the Defendants’ misrepresentations and omissions, Plaintiffs and TPP

   Class members were not aware of the true facts concerning the Ranitidine-Containing Products

   and did not benefit from the Defendants’ misconduct.

             651.   The Defendants readily accepted and retained these benefits from Plaintiffs and

   TPP Class members and knowingly benefitted from their unjust conduct – at Plaintiffs’ and the

   TPP Class members’ expense – by selling worthless Ranitidine-Containing Products that were

   misbranded and adulterated, and therefore unfit for their intended purpose and illegal to sell, and

   economically worthless.

             652.   It is inequitable and unconscionable for the Defendants to retain these benefits

   because they were attained by misrepresenting and fraudulently concealing the true facts

   concerning the Ranitidine-Containing Products from Plaintiffs and members of the TPP Class,

   who would not have paid or reimbursed for the medications at all, but for the Defendants’

   misrepresentations and omissions.        Additionally, the Defendants’ distribution and sale of

   Ranitidine-Containing Products in the United States was illegal because they were adulterated,

   misbranded, and unfit for human consumption.


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          653.    Plaintiffs and other TPP Class members are entitled to seek and do seek restitution

   from Defendants as well as an order from this Court requiring disgorgement of all profits, benefits,

   and other compensation obtained by Defendants by virtue of its wrongful conduct.

                                          COUNT 9
                                       NEGLIGENCE
      (On Behalf of the TPP Class Against Defendant GSK and the Generic Manufacturer
                                         Defendants)

          654.    Plaintiffs incorporate the preceding allegations in paragraphs 1 through 519 as

   though fully set forth herein.

          655.    This cause of action is alleged on behalf of Plaintiffs and the TPP Class members

   against Defendant GSK and the Generic Manufacturer Defendants, and to the extent applicable

   law permits non-consumers to assert this cause of action.

          656.    Defendants directly caused Ranitidine-Containing Products to be sold, distributed,

   marketed, promoted, and/or reimbursed by Plaintiffs and members of the TPP Class.

          657.    At all relevant times, Defendants had a duty to exercise reasonable care in the

   design, research, manufacture, labeling, testing, marketing, advertisement, supply, promotion,

   packaging, warning, sale, storage, handling, and distribution of Ranitidine-Containing Products,

   including the duty to take all reasonable steps necessary to manufacture, promote, and/or sell a

   product that was not adulterated and/or misbranded.

          658.    At all relevant times, Defendants had a duty to exercise reasonable care in the

   marketing, advertisement, and sale of Ranitidine-Containing Products. Defendants’ duty of care

   owed to Plaintiffs, TPP Class members, (and their PBMs) included providing accurate, true, and

   correct information concerning the risks of using Ranitidine-Containing Products and appropriate,




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   complete, and accurate warnings concerning the potential adverse effects of Ranitidine-Containing

   Products – in particular, their ability to transform into the carcinogenic compound, NDMA.

              659.   At all relevant times, Defendants knew – or in the exercise of reasonable care,

   should have known – of the hazards and dangers associated with the manufacture of Ranitidine-

   Containing Products. Specifically, Defendants knew or should have known of the potential for the

   Ranitidine-Containing Products to degrade into NDMA during the manufacture, transport and

   storage of Ranitidine-Containing Products, which rendered the drugs adulterated and misbranded

   and therefore economically worthless.

              660.   As such, Defendants breached their duty of reasonable care and failed to exercise

   ordinary care in the design, research, development, manufacture, testing, labeling, marketing,

   supply, promotion, advertisement, packaging, warning, sale, and distribution of Ranitidine-

   Containing Products, in that Defendants manufactured and produced defective Ranitidine-

   Containing Products, which carry the potential to transform into the carcinogenic compound

   NDMA; knew or had reason to know of the defects inherent in their product and knew or had

   reason to know that drugs containing NDMA were adulterated, misbranded and therefore illegal

   to sell.

              661.   Outside of the labeling context, Defendants were negligent in their promotion of

   Ranitidine-Containing Products by failing to disclose material risk information as part of their

   promotion and marketing of Ranitidine-Containing Products through the mediums of internet,

   television, print advertisements, etc. Nothing prevented Defendants from presenting the truth

   concerning the risks associated with use of Ranitidine-Containing Products in their promotional

   efforts. Indeed, Defendants had a duty to disclose the truth regarding those risks, outside of the

   context of labeling.


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          662.    Despite their ability and ample means to investigate, study, and test their products

   and provide adequate warnings, Defendants failed to do so. Instead, Defendants wrongfully

   concealed information and made further false and/or misleading statements concerning the safety

   and use of Ranitidine-Containing Products

          663.    Defendants’ acts of negligence included:

                  a.     Manufacturing, producing, formulating, creating, developing, designing,
                         selling, and/or distributing Ranitidine-Containing Products without
                         thorough and adequate pre- and post-market testing;

                  b.     Manufacturing, producing, promoting, formulating, creating, developing,
                         designing, selling, and/or distributing Ranitidine-Containing Products
                         while negligently and/or intentionally concealing and failing to disclose the
                         results of trials, tests, and studies of Ranitidine-Containing Products;

                  c.     Failing to design and manufacture Ranitidine-Containing Products so as to
                         ensure they were of proper identity, strength, quality, and purity;

                  d.     Representing that their Ranitidine-Containing Products were safe for their
                         intended use when, in fact, Defendants knew or should have known the
                         products were not safe for their intended purpose because they were
                         manufactured in such a way that Defendants could not assure that their
                         Ranitidine-Containing Products were not adulterated and/or misbranded
                         (and were in fact adulterated and misbranded, as evidenced by the fact that
                         they contained NDMA, a known human carcinogen); and

                  e.     Continuing the manufacture and sale of Ranitidine-Containing Products
                         despite having the knowledge that they could not assure that their
                         Ranitidine-Containing Products were not adulterated and/or misbranded, as
                         evidenced by the fact that the Ranitidine-Containing Products they did
                         manufacture contained NDMA, a known human carcinogen.

          664.    Defendants knew – or in the exercise of reasonable care, should have known – that

   it was foreseeable that TPPs such as Plaintiffs and members of the TPP Class would suffer

   economic injuries through the payment or reimbursement for Defendants’ Ranitidine-Containing

   Products as a result of Defendants’ failure to exercise ordinary care in the manufacturing,

   marketing, labeling, distribution, and sale of Ranitidine-Containing Products.



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          665.    But for Defendants’ negligent acts, Plaintiffs and members of the TPP Class would

   not have made payments or reimbursements for Defendants’ Ranitidine-Containing Products.

          666.    Manufacturer Defendants owed a duty to Plaintiffs and members of the TPP Class

   to ensure that their Ranitidine-Containing Products sold in the United States complied with current

   cGMPs in order to ensure they met safety, quality, purity, identity, and strength standards in

   violation of 21 U.S.C. §351(a)(2)(B) and the following parallel state statutes:

                 Alabama Code §§20-1-24 and -27(1);

                 Alaska Statutes §17.20.290(a)(1);

                 Arizona Statutes §§32-1965(1), (2) and -1966(3);

                 Arkansas Code §20-56-215(1);

                 California Health and Safety Code §§111295 and 111400;

                 Colorado Statutes §§25-5-403(1)(a),(b) and -414(1)(c);

                 Title 16, Delaware Code §§3302 and 3303(2);

                 District of Columbia Code §48-702(2);

                 Florida Statutes §§499.005(1) and .006(3);

                 Georgia Code §26-3-3(1);

                 Hawaii Revised Statutes §§328-6(1) and -14(1)(B)(ii);

                 Idaho Code §37-115(a);

                 Chapter 410, Illinois Statutes §§620/3.1 and /14(a)(2)(B);

                 Iowa Code §§126.3(1) and .9(1)(c);

                 Kentucky Statutes §217.175(1);

                 Maryland Code, Health–General §§21-216(c)(5)(2) and -256(1);



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                 Massachusetts General Laws chapter 94 §§186 and 190;

                 Minnesota Statutes §§151.34(1) and .35(1);

                 Missouri Statutes §196.015(1);

                 Montana Code §§§50-31-305(3) and -501(1);

                 Nebraska Revised Statutes §§71-2461(2) and -2481;

                 Nevada Statutes §585.520(1);

                 New Hampshire Revised Statutes §§146:1(I) and :4(V);

                 New Mexico Statutes §§26-1-3(A) and -10(A);

                 New York Education Law §6811;

                 North Dakota Century Code §§19-02.1-02(1) and .1-13(3);

                 Ohio Code §3715.52(A)(1);

                 Oklahoma Statutes title 63 §1-1402(a);

                 Title 35, Pennsylvania Statutes §780-113(a)(1);

                 Title 21, Rhode Island General Laws §21-3-3(1);

                 South Carolina Code §§39-23-30(a)(2)(B) and -80(A)(1);

                 South Dakota Code §§39-15-3 and -10;

                 Title 18, Vermont Statutes §4052(1);

                 Virginia Code §54.1-3457(1);

                 West Virginia Code §§16-7-1 and -2(a)(3); and

                 Wyoming Statutes §§35-7-111(a)(i)–(iv), (vi) and -116.

          667.    21 C.F.R. §211.142(b) states that the cGMPs required that warehousing of drug

   products shall be performed to provide for “[s]torage of drug products under appropriate conditions



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   of temperature, humidity, and light so that the identity, strength, quality, and purity of the drug

   products are not affected.” In other words, Defendants had a duty and were obligated to properly

   store, handle, and warehouse Ranitidine-Containing Products.

          668.    Testing conducted by the FDA, which led to the agency’s withdrawal of Ranitidine-

   Containing Products, confirms that improper storage of Ranitidine-Containing Products has

   resulted in extremely high levels of NDMA. The FDA has also concluded that NDMA can

   increase in Ranitidine-Containing Products even under normal storage conditions, and NDMA has

   been found to increase significantly in samples stored at higher temperatures, including

   temperatures the product may be exposed to during distribution and handling by consumers.

   FDA’s testing also showed that as Ranitidine-Containing Products age the level of NDMA in the

   product increases.

          669.    The FDA concluded that these defects raised the level of NDMA in Ranitidine-

   Containing Products above the acceptable daily intake limit to the point that the drugs had to be

   withdrawn from the market.

          670.    As such, Defendants owed these duties to Plaintiffs and members of the TPP Class

   under 21 C.F.R. §211.142(b) and the following parallel state statutes:

                 Alabama Code §§20-1-20(13) and -27(1);

                 Alaska Statutes §§17.20.090(1), (10) and .290(a)(1);

                 Arizona Statutes §§32-1965(1), (2) and -1967(1), (12);

                 Arkansas Code §§20-56-211(1), (10) and -215(1);

                 California Health and Safety Code §§111295, 11330, and 111440;

                 Colorado Statutes §§25-5-403(1)(a), (b) and -415(1)(a), (j);

                 Title 16, Delaware Code §§3302 and 3308(3);


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             District of Columbia Code §48-702(2);

             Florida Statutes §§499.005(1) and .007(1), (10);

             Georgia Code §§26-3-3(1) and -8(a)(1), (10);

             Hawaii Revised Statutes §§328-6(1) and -15(1), (10);

             Idaho Code §§37-115(a) and -127(a), (j);

             Chapter 410, Illinois Statutes §§620/3.1 and /15(a), (j);

             Iowa Code §§126.3(1) and .10(1)(a), (j);

             Kentucky Statutes §§217.065(1), (10) and 217.175(1);

             Maryland Code, Health–General §§21-217(b)(1), (6) and -256(1);

             Massachusetts General Laws chapter 94 §§187 and 190;

             Minnesota Statutes §§151.34(1) and .36(1);

             Missouri Statutes §§196.100(1) and .015(1);

             Montana Code §§50-31-306(1)(a), (l) and -501(1);

             Nebraska Revised Statutes §§71-2470(1) and -2481;

             Nevada Statutes §§585.410, .470, and .520(1);

             New Hampshire Revised Statutes §§146:1(I) and :6(I), (X);

             New Mexico Statutes §§26-1-3(A) and -11(A)(1), (G);

             New York Education Law §§6811 and 6815;

             North Dakota Century Code §§19-02.1-02(1) and .1-14(1), (11);

             Ohio Code §§3715.52(A)(1) and 3715.64(A)(1), (11);

             Oklahoma Statutes title 63 §§1-1402(a) and 1-1409(a), (j);

             Title 35, Pennsylvania Statutes §§780-108(1), (10) and 780-113(a)(1);



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                 Title 21, Rhode Island General Laws §§21-3-3(1) and -15(a)(1), (10);

                 South Carolina Code §§39-23-40(a), (j) and -80(A)(1);

                 South Dakota Code §§39-15-5 and -10;

                 Title 18, Vermont Statutes §§4052(1) and 4064(1), (10);

                 Virginia Code §§54.1-3457(1) and -3462(1), (8);

                 West Virginia Code §16-7-1; and

                 Wyoming Statutes §§35-7-111(a)(i)–(iv), (vi) and -116.

          671.    Manufacturer Defendants have failed to comply with federal cGMPs and federal

   adulteration standards as well as the below parallel state statutes:

                 Alabama Code §§20-1-24 and -27(1);

                 Alaska Statutes §17.20.290(a)(1);

                 Arizona Statutes §§32-1965(1), (2) and -1966(3);

                 Arkansas Code §20-56-215(1);

                 California Health and Safety Code §§111295 and 111400;

                 Colorado Statutes §§25-5-403(1)(a),(b) and -414(1)(c);

                 Title 16, Delaware Code §§3302 and 3303(2);

                 District of Columbia Code §48-702(2);

                 Florida Statutes §§499.005(1) and .006(3);

                 Georgia Code §26-3-3(1);

                 Hawaii Revised Statutes §§328-6(1) and -14(1)(B)(ii);

                 Idaho Code §37-115(a);

                 Chapter 410, Illinois Statutes §§620/3.1 and /14(a)(2)(B);



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             Iowa Code §§126.3(1) and .9(1)(c);

             Kentucky Statutes §217.175(1);

             Maryland Code, Health–General §§21-216(c)(5)(2) and -256(1);

             Massachusetts General Laws chapter 94 §§186 and 190;

             Minnesota Statutes §§151.34(1) and .35(1);

             Missouri Statutes §196.015(1);

             Montana Code §§§50-31-305(3) and -501(1);

             Nebraska Revised Statutes §§71-2461(2) and -2481;

             Nevada Statutes §585.520(1);

             New Hampshire Revised Statutes §§146:1(I) and :4(V);

             New Mexico Statutes §§26-1-3(A) and -10(A);

             New York Education Law §6811;

             North Dakota Century Code §§19-02.1-02(1) and .1-13(3);

             Ohio Code §3715.52(A)(1);

             Oklahoma Statutes title 63 §1-1402(a);

             Title 35, Pennsylvania Statutes §780-113(a)(1);

             Title 21, Rhode Island General Laws §21-3-3(1);

             South Carolina Code §§39-23-30(a)(2)(B) and -80(A)(1);

             South Dakota Code §§39-15-3 and -10;

             Title 18, Vermont Statutes §4052(1);

             Virginia Code §54.1-3457(1);

             West Virginia Code §§16-7-1 and -2(a)(3); and



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                 Wyoming Statutes §§35-7-111(a)(i)–(iv), (vi) and -116.

          672.    As a result of Defendants’ failures to do so, Defendants’ own actions and inactions

   created a foreseeable risk of harm to Plaintiffs and members of the TPP Class.

          673.    Plaintiffs and members of the TPP Class, as entities reimbursing for purchases of

   Ranitidine-Containing Products, are within the class which 21 U.S.C. §351(a)(2)(B) and 21 C.F.R.

   §211.142(b) (and the related state statutes) were designed to protect, and the harm to Plaintiffs and

   members of the TPP Class is of the nature these statutes were designed to prevent.

          674.    Defendants’ negligence was a substantial factor in causing Plaintiffs’ and TPP

   Class members’ economic injuries. Had Defendants disclosed and not concealed the risks

   associated with the use of Ranitidine-Containing Products, Plaintiffs and members of the TPP

   Class would not have made payments or reimbursements for Defendants’ Ranitidine-Containing

   Products, and therefore would have avoided economic injury.

          675.    As a direct and proximate result of each Defendant’s negligent conduct, Plaintiffs

   and members of the TPP Class have been injured. They paid or reimbursed for Ranitidine-

   Containing Products that were adulterated and misbranded, and therefore illegal to sell and

   economically worthless as a result of Defendants’ misrepresentation, omission, and concealment

   of, and/or failure to timely disclose, the safety and quality issues associated with Ranitidine-

   Containing Products caused by Defendants’ conduct.           Had Defendants not engaged in the

   deceptive acts and practices alleged herein, Plaintiffs and the TPP Class members would not have

   made payments or reimbursements for Defendants’ Ranitidine-Containing Products.

          676.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiffs and

   members of the TPP Class have been injured because they made payments or reimbursements for




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   a drug for which they otherwise would not have paid or reimbursed, and suffered out-of-pocket

   loss.

           677.   Plaintiffs seek compensatory damages on behalf of themselves and the TPP Class,

   all attorneys’ fees, costs, interest, and such further relief as the Court deems proper.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray that the Court grant the following relief:

           A.     Determine that this action may be maintained as a class action pursuant to Federal

   Rule of Civil Procedure 23(a), (b)(2), (b)(3), and/or (c)(4), direct that reasonable notice of this

   action be given to the classes, appoint Plaintiffs as named representatives of the classes, and

   appoint Plaintiffs’ counsel as class counsel;

           B.     Enter judgment against Defendants and in favor of Plaintiffs and the classes;

           C.     Award damages (including actual, nominal, presumed, statutory, punitive, and

   treble damages as provided by law) and restitution to the classes in an amount to be determined at

   trial, plus interest, in accordance with law;

           D.     Order disgorgement of Defendants’ profits;

           E.     Order any and all appropriate preliminary and/or final injunctive or equitable relief

   against the against the conduct of Defendants described herein;

           F.     Award Plaintiffs and the TPP Class members their costs of suit, including

   reasonable attorneys’ fees as provided by law;

           G.     Award such further and additional relief as is necessary to redress the harm caused

   by Defendants’ unlawful conduct and as the Court may deem just and proper under the

   circumstances; and

           H.      Award any other relief that is deemed just and proper.


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                                            JURY DEMAND

         Plaintiffs demand trial by jury.




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      Dated: June 22, 2020                          Respectfully submitted,

     /s/ Tracy A. Finken                            By: /s/ Robert C. Gilbert
     Tracy A. Finken                                Robert C. Gilbert, FBN 561861
     Email: tfinken@anapolweiss.com                 Email: gilbert@kolawyers.com
     ANAPOL WEISS                                   KOPELOWITZ OSTROW FERGUSON
     One Logan Square                               WEISELBERG GILBERT
     130 North 18th Street, Suite 1600              2800 Ponce de Leon Boulevard, Suite 1100
     Philadelphia, PA 19103                         Coral Gables, FL 33134
     Tel: (215) 735-1130                            Tel: (305) 384-7270


     /s/ Michael L. McGlamry                        /s/ Adam Pulaski
     Michael L. McGlamry                            Adam Pulaski
     Email: efile@pmkm.com                          Email: adam@pulaskilawfirm.com
     POPE McGLAMRY, P.C.                            PULASKI KHERKHER, PLLC
     3391 Peachtree Road NE, Suite 300              2925 Richmond Avenue, Suite 1725
     Atlanta, GA 30326                              Houston, TX 77098
     Tel: (404) 523-7706                            Tel: (713) 664-4555


                                   Plaintiffs’ Co-Lead Counsel



     Rosemarie R. Bogden                            /s/ Mark J. Dearman
     Email: Rosemarie.bogdan@1800law1010.com        Mark J. Dearman, FBN 0982407
     MARTIN, HARDING & MAZZOTTI                     Email: mdearman@rgrdlaw.com
     1222 Troy-Schenectady Road                     ROBBINS GELLER RUDMAN & DOWD
     Niskayuna, NY 12309                            120 East Palmetto Park Road, Suite 500
     Tel: (518) 862-1200                            Boca Raton, FL 33432
                                                    Tel: (561) 750-3000


     Elizabeth A. Fegan                             Marlene J. Goldenberg
     Email: beth@feganscott.com                     Email: mjgoldenberg@goldenberglaw.com
     FEGAN SCOTT, LLC                               GOLDENBERG LAW, PLLC
     1456 Sycamore Rd.                              800 LaSalle Avenue, Suite 2150
     Yorkville, IL 60560                            Minneapolis, MN 55402
     Tel: (312) 741-1019                            Tel: (855) 333-4662
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     Ashley Keller                               Frederick Longer
     Email: ack@kellerlenkner.com                Email: flonger@lfsblaw.com
     KELLER | LENKNER                            LEVIN SEDRAN & BERMAN
     150 N. Riverside Plaza, Suite 4270          510 Walnut Street, Suite 500
     Chicago, IL 60606                           Philadelphia, PA 19106
     Tel: (312) 741-5222                         Tel: (215) 592-1500


     Roopal P. Luhana                            Francisco R. Maderal, FBN 0041481
     Email: luhana@chaffinluhana.com             Email: frank@colson.com
     CHAFFIN LUHANA LLP                          COLSON HICKS EIDSON
     600 Third Avenue, 12th Floor                255 Alhambra Circle, Penthouse
     New York, NY 10016                          Coral Gables, FL 33134
     Tel: (888) 480-1123                         Tel: (305) 476-7400


     Ricardo M. Martinez-Cid, FBN 383988         Lauren S. Miller
     Email: RMartinez-Cid@Podhurst.com           Email: lmiller@corywatson.com
     PODHURST ORSECK, P.A.                       CORY WATSON, P.C.
     SunTrust International Center               2131 Magnolia Ave S
     One S.E. 3rd Avenue, Suite 3200             Birmingham, AL 35205
     Miami, FL 33130                             Tel: (205) 271-7168
     Tel: (305) 358-2800


     Melanie H. Muhlstock                        Daniel A. Nigh, FBN 30905
     Email: mmuhlstock@yourlawyer.com            Email: dnigh@levinlaw.com
     PARKER WAICHMAN LLP                         LEVIN PAPANTONIO THOMAS
     9 Evelyn Road                               MITCHELL RAFFERTY & PROCTOR, P.A.
     Port Washington, NY 11050                   316 South Baylen Street, Suite 600
     Tel: (516) 723-4629                         Pensacola, FL 32502
                                                 Tel: (888) 435-7001


     Carmen S. Scott                             Mikal C. Watts
     Email: cscott@motleyrice.com                Email: mcwatts@wattsguerra.com
     MOTLEY RICE LLC                             WATTS GUERRA LLP
     28 Bridgeside Blvd.                         4 Dominion Drive
     Mount Pleasant, SC 29464                    Building 3, Suite 100
     Tel: (843) 216-9160                         San Antonio, TX 78257
                                                 Tel: (800) 294-0055




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     Sarah N. Westcot, FBN 1018272                  Conlee S. Whiteley
     Email: swestcot@bursor.com                     Email: c.whiteley@kanner-law.com
     BURSOR & FISHER, P.A.                          KANNER & WHITELEY, L.L.C.
     2665 S. Bayshore Drive, Suite 220              701 Camp Street
     Miami, FL 33133                                New Orleans, LA 70130
     Tel: (305) 330-5512                            Tel: (504) 524-5777


     Frank Woodson
     Email: Frank.Woodson@BeasleyAllen.com
     BEASLEY ALLEN LAW FIRM
     234 Commerce St
     Montgomery, AL 36103
     Tel: (334) 269-2343

                                   Plaintiffs’ Steering Committee
                        Plaintiffs’ Law and Briefing Committee Co-Chairs
                                     Plaintiffs’ Liaison Counsel


     Paige Boldt                                    Je Yon Jung
     Email: pboldt@wattsguerra.com                  Email: JJung@maylightfootlaw.com
     WATTS GUERRA LLP                               MAY LIGHTFOOT PLLC
     1815 Windsong Circle                           2579 N. Avalon Avenue
     Keller, TX 76248                               Orange, CA 92867
     Tel: (210) 447-1534                            Tel: (202) 506-3591

     Adam W. Krause                                 Nicola Larmond-Harvey, FBN 0105312
     Email: adam@krauseandkinsman.com               Email: nicola@saunderslawyers.com
     KRAUSE AND KINSMAN, LLC                        SAUNDERS & WALKER, P.A.
     4717 Grand Avenue, Suite 300                   3491 Gandy Boulevard North, Suite 200
     Kansas City, MO 64112                          Pinellas Park, FL 33781
     Tel: (816) 760-2700                            Tel: (727) 579-4500

     Bradford B. Lear
     Email: Lear@learwerts.com
     LEAR WERTS LLP
     103 Ripley Street
     Columbia, MO 65203
     Tel: (573) 875-1992

                          Plaintiffs’ Leadership Development Committee




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                                 CERTIFICATE OF SERVICE

             I hereby certify that on June 22, 2020, I electronically filed the foregoing document

      with the Clerk of the Court using CM/ECF and that the foregoing document is being served

      on all counsel of record or parties registered to receive CM/ECF Electronic Filings.



                                    /s/ Robert C. Gilbert
                                    Robert C. Gilbert




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